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                         EXHIBIT A
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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK
          ------------------------------------------------------------------x
          ANDREW DELANEY,

                                    Plaintiff,                                     Index No.

                           -against-                                               SUMMONS

          HC2, INC.,
          STEPHANOS ZANNIKOS,
          MICHAEL JOHN ESKER NACCHIO,
          and
          TOYOTA MOTOR NORTH AMERICA, INC.,

                                     Defendants.
          ------------------------------------------------------------------x

          To the above-named defendants:

                  YOU ARE HEREBY SUMMONED to answer the Complaint and to serve a copy of your
          answer, or, if the Complaint is not filed with this Summons, to serve a Notice of Appearance on
          the plaintiff’s attorney within 20 days after service of this Summons, exclusive of the day of
          service, or within 30 days after service is complete if this Summons is not personally served on
          you within the State of New York.

                 YOU ARE HEREBY NOTIFIED THAT should you fail to answer, a judgment will be
          entered against you by default for the relief demanded in the Complaint.

          DATED:           New York, New York                           /s/Andrew Delaney
                           June 4, 2024                                 Andrew Delaney
                                                                        Plaintiff
                                                                        Sen.Gil Puyat Avenue
                                                                        Makati Central Post Office 1057
                                                                        Brgy. San Antonio
                                                                        Makati 1250
                                                                        Republic of the Philippines
                                                                        63‐94‐2677‐8826
                                                                        srview1@gmail.com
          To:

          Defendants’ addresses:

          HC2, Inc.
          360 Lexington Avenue Ste. 1100
          New York, New York 10017

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          Stephanos Zannikos
          360 Lexington Avenue Ste. 1100
          New York, New York 10017

          Michael John Esker Nacchio
          Mondelez International, Inc.
          100 Deforest Avenue
          East Hanover, New Jersey 07936-2813

          Toyota Motor North America, Inc.
          CT Corporation System
          28 Liberty Street
          New York, New York 10005


          Venue: Plaintiff designates New York County as the place of trial. The basis of this designation
          is defendant HC2’s residence in New York County.




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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK
          ------------------------------------------------------------------x
          ANDREW DELANEY,

                                    Plaintiff,                                     Index No.

                           -against-                                               COMPLAINT

          HC2, INC.,                                                               JURY TRIAL DEMANDED
          STEPHANOS ZANNIKOS,
          MICHAEL JOHN ESKER NACCHIO,
          and
          TOYOTA MOTOR NORTH AMERICA, INC.,

                                     Defendants.
          ------------------------------------------------------------------x

                   Complaining of the defendants plaintiff Andrew Delaney (“Delaney”) alleges as follows:

                                                 PRELIMINARY STATEMENT

                   This is an action brought pursuant to Judiciary Law § 487 and other laws against the

          defendants based upon the deceit and/or consent to deceit of the defendants with the intent of the

          defendants to deceive the courts resulting in the plaintiff incurring monetary damages.

                                                              PARTIES

                   1.      The plaintiff Delaney resides in the Republic of the Philippines and has his

          address at Sen. Gil Puyat Avenue, Makati Central No. 1057, Brgy. San Antonio, Makati City

          1250, the Philippines. Delaney is HC2, Inc.’s (“HC2”) and Toyota Motor North America, Inc.’s

          (“Toyota”) former employee.

                   2.      The defendant HC2 is a District of Columbia corporation with its principal place

          of business at 360 Lexington Avenue Ste. 1100, New York, New York 10017. HC2 is Toyota’s

          agent.




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                 3.      Upon information and belief, the defendant Stephanos Zannikos (“Zannikos”) is

          an attorney duly licensed to practice law in the State of New York, and maintains an office for

          the practice of law at 360 Lexington Avenue Ste. 1100, New York, New York 10017. Zannikos

          is HC2’s general counsel.

                 4.      Upon information and belief, the defendant Michael John Esker Nacchio, Esq.

          (“Nacchio”) is an attorney duly licensed to practice law in the State of New York, and maintains

          an office for the practice of law at Mondelez International, Inc., 100 Deforest Avenue, East

          Hanover, New Jersey 07936-2813. Nacchio was HC2’s outside counsel.

                 5.      The defendant Toyota is a California corporation with its principal place of

          business at 6565 Headquarters Drive, Plano, Texas 75024. Toyota is registered with the New

          York Secretary of State. Its registered agent is CT Corporation System, 28 Liberty Street, New

          York, New York 10005.

                 6.      Douglas A. Goldstein, Esq. (“Goldstein”), Spector & Ehrenworth, P.C., Kasowitz

          Benson Torres LLP (“Kasowitz”), Ronald R. Rossi, Esq., Gregory M. Messer, Esq. (“Messer”),

          Gary F. Herbst, Esq. (“Herbst”), and Lamonica Herbst & Maniscalco LLP (“Lamonica”) are

          unnamed co-conspirators in this action.

                                           JURISDICTION AND VENUE

                 7.      This Court has jurisdiction over the defendants pursuant to N.Y. C.P.L.R. § 301

          and § 302.

                 8.      N.Y. C.P.L.R. § 302(a)(2) further authorizes the exercise of personal jurisdiction

          over Toyota which committed tortious acts within New York either in person or by an agent.

                 9.      Venue is proper in New York County pursuant to N.Y. C.P.L.R. § 503 because

          HC2 and Zannikos maintain offices at 360 Lexington Avenue Ste. 1100, New York, New York



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          10017, in New York County, and Toyota does business in New York County, and because a

          portion of the events giving rise to this action occurred in New York County.

                                                                FACTS

                   10.      On December 23, 2020, Delaney filed for chapter 7 in the United States

          Bankruptcy Court for the Eastern District of New York. In Re Andrew John Delaney, Case No.

          20-44372 (Bankr. E.D.N.Y. 2020).

                   11.      Delaney has standing to bring this lawsuit in his own capacity because it is post-

          petition and he is only claiming damages for the defendants’ acts which accrued after January 1,

          2021.1

                   12.      After Delaney filed for bankruptcy, the defendants 1) committed tortious acts

          against Delaney, 2) lied to the chapter 7 trustee Messer and his lawyers Lamonica and Herbst

          about Delaney, 3) falsely and continuously accused Delaney of “extortion” (a crime in New

          York State, where there is no civil extortion) after a federal district court had already ruled “it is

          not an extortion” (see footnote 1 below), 4) filed a fraudulent proof of claim for $1,180,152.67

          (Exhibit A), 5) breached the stipulation and agreement between HC2 and Delaney and the

          August 1, 2021 bankruptcy court order by continuing to appear in the case and oppose Delaney



          1
            On April 20, 2020, the defendants filed a fraudulent lawsuit against Delaney in the United States District Court for
          the Southern District of New York (the “Southern District”) seeking a temporary restraining order (“TRO”) and
          preliminary injunction (“PI”) based on two baseless claims for breach of contract and faithless service doctrine.
          HC2, Inc. v. Delaney, 20-cv-3178 (S.D.N.Y. April 20, 2020) (Liman, J.). The defendants brought the case based on
          jurisdictional fraud. There was no claim for “extortion”, which is a crime in New York where there is no civil
          extortion.
          On April 20, 2020, Judge Liman denied HC2’s TRO application. On May 27, 2020, Judge Liman further denied
          HC2’s PI motion ruling that it had no chance of success on the merits and “It [Delaney’s lawyer’s letter to Toyota] is
          a routine demand letter and it's not extortion.”
          See Frank G. Runyeon, “WilmerHale, Toyota Agency Posted Sealed Info, Loses Gag Bid,” Law360, May 27, 2020.
          https://www.law360.com/articles/1277147/print?section=commercialcontracts
          But that did not stop the defendants from lying about the contents of the Toyota letter and ignoring Judge Liman and
          from continuing to lie about Delaney and to accuse him in his bankruptcy case of “extortion” in the relevant period
          2021-2024.


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          after HC2 had been ordered withdrawn from the case with prejudice, 6) violated N.Y. Jud. Law §

          487 through their deceit and collusion, and 7) violated the new N.Y. Labor Law § 740 which

          amendments took effect on January 26, 2022.

                  13.     On January 5, 2021, Delaney publicly accused the defendants of jurisdictional

          fraud in an article which appeared in Law360 “Ex-WilmerHale Temp Says Agency ‘Cooked’

          Case Jurisdiction.”2

                  14.     On February 18, 2021, Delaney accused the defendants of procuring perjury and

          instructing witnesses to lie under oath for Toyota. 3

                  15.     On March 12, 2021, Delaney filed a motion to voluntarily dismiss his chapter 7

          case. The trustee initially verbally agreed with Delaney to the dismissal – until the defendants

          got to him with their lies, corruption, and deceit.

                  16.     The defendants did not want for Delaney to dismiss the chapter 7 case at all costs.

          Right after Delaney filed the motion to dismiss, the defendants began aggressively contacting the

          trustee and his lawyers, lying to them and to the bankruptcy court about Delaney, and attempting

          to destroy Delaney personally and professionally. The defendants lied to Messer and his lawyers

          about Delaney’s assets to make them think there was a “pot of gold”, including that he “owned

          four pieces of real estate” and had “four undisclosed financial accounts”.

                  17.     On March 16, 2021, four days after Delaney’s motion to dismiss was filed, the

          defendants employed an unethical lawyer, Goldstein, to file a notice of appearance and to make




          2
           Frank G. Runyeon, “Ex-WilmerHale Temp Says Agency ‘Cooked’ Case Jurisdiction,” Law360, Jan. 5, 2021.
          https://www.law360.com/articles/1341932/ex-wilmerhale-temp-says-agency-cooked-case-jurisdiction

          3
           Frank G. Runyeon, “Ex-WilmerHale Temp Says White House Atty Lied For Toyota,” Law360, Feb. 18, 2021.
          https://www.law360.com/articles/1349517/ex-wilmerhale-temp-says-white-house-atty-lied-for-toyota


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          false and utterly fraudulent filings in Delaney’s bankruptcy case. As shown by HC2’s redacted

          billing records, Goldstein’s dishonest acts were all coordinated by the defendants.

                  18.      From March 16-18, 2021, and at other times through the present, the defendants

          sent false information to the trustee and his lawyers about Delaney and even drafted and

          reviewed the trustee’s and his lawyers’ documents in Delaney’s bankruptcy case. This was

          illegal, since the trustee is supposed to be independent and also owes a duty to the debtor. 4

                  19.      On March 18, 2021, in a 424B5 filing, Toyota disclosed that the company had

          reported anti-bribery violations related to a Thai subsidiary to the United States Securities and

          Exchange Commission and the United States Department of Justice (the “DOJ”). 5

                  20.      On March 25, 2021, in a state court case, Nacchio wrote in a sworn affirmation:

          “Finally, the lawyer who was assisting Delaney in carrying out his scheme to extort a significant

          payment from the Corporate Client, is the same lawyer who signed and caused to be filed the

          State Court Complaint.” Delaney v. HC2 Inc. d/b/a/ Hire Counsel, Case No. 651740/2021 (Sup

          Ct, New York County, 2021) (Tisch, J.) (Tisch Doc. No. 9) The defendants were continuing to

          accuse Delaney of extortion even after Judge Liman had ruled otherwise in an open hearing 10

          months before on May 27, 2020. Tisch Document #9 at 3.

                  21.      On March 26, 2021, the defendants had Goldstein file fraudulent objections to

          Delaney’s motion to dismiss the bankruptcy case. Mazer-Marino ECF No. 27. But worse, the

          defendants falsely informed Messer and his lawyers that Delaney owned four pieces of

          undisclosed real estate and also had a judgment against him (from Judge Liman) for extortion.


          4
            “The Role of the Bankruptcy Trustee in Bankruptcy Legal Proceedings,” Justicia (“The bankruptcy trustee is
          required to treat a debtor fairly and honestly but does not represent or advocate for them.”).
          https://www.justia.com/bankruptcy/bankruptcy-procedures/the-role-of-the-bankruptcy-trustee/
          5
           “Toyota says it reported Thai bribery probe to U.S. SEC and DoJ,” Reuters, Mar. 19, 2021.
          https://uk.news.yahoo.com/finance/news/toyota-says-reported-thai-bribery-002800432.html


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          The now-public billing records show that Messer, Lamonica, and Herbst were given this false

          information by the defendants. See Exhibit B hereto (Mazer-Marino ECF No. 61-5). As a result

          of the defendants’ lies about Delaney, on the same day, March 26, 2021, Messer wrote in

          opposition to Delaney’s motion to dismiss the bankruptcy case: “The Trustee’s investigation also

          found: (i) four (4) distinct real property ownership records associated with the Debtor…. The

          Debtor also does not have only $44,434 in credit card debt as stated on his Motion to Dismiss,

          but also has a judgment against him for an additional $67,458.91 6.” (Mazer-Marino ECF No.

          22 at 4) (emphasis added) HC2’s billing records show that it was the defendants who

          communicated this false and defamatory information to Messer and his lawyers.

                     22.      On March 26, 2021, based on the defendants’ lies and deceit, the trustee wrote:

          “Upon information and belief, the Debtor is appealing a judgment entered against him for

          extorting his prior employer.” (Mazer-Marino ECF No. 22 at 3) (emphasis added) That was

          exactly the opposite of Judge Liman’s ruling. Chapter 7 was enacted by Congress to help

          debtors such as Delaney. But the defendants and their crooked lawyers were abusing it to cause

          damages to Delaney through their lies and deceit.

                     23.      On March 26, 2021, Zannikos filed the “Certification Of Stephanos Zannikos In

          Support Of HC2, Inc. d/b/a Hire Counsel’s Motion For Extension Of Time For HC2, Inc., d/b/a

          Hire Counsel To Object To Discharge Pursuant To Fed. R. Bankr. P. 4004(B) And To Challenge

          Whether Certain Debts Are Dischargeable Pursuant To Fed. R. Bankr. P. 4007(C)” in which he

          again7 repeatedly perjured himself:

                     Stephanos Zannikos, of full age, certifies as follows:…

          6
              This was an effective admission that HC2’s $1,180,152.67 proof of claim was false.
          7
           In addition to the Southern District jurisdictional fraud, which was in a false verified complaint attested to by
          Zannikos under penalty of perjury.


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                  5. On March 17, 2020, the Law Firm Customer [Wilmer Hale] decided to suspend the
                  Project in view of the COVID-19 pandemic while it considered the possibility of moving
                  to a remote review. The Law Firm Customer [Wilmer Hale] and its Corporate Client
                  [Toyota] decided not to conduct the remainder of the review.

                  6. HC2 never terminated the Employment Agreement or took any other action to
                  terminate Delaney’s employment by HC2.8 Nonetheless, Delaney sent multiple emails on
                  March 17 and 18, 2020 to the Law Firm Customer [Wilmer Hale] and the Corporate
                  Client [Toyota] falsely claiming that he had been wrongfully terminated for expressing
                  concerns about COVID-19.

                  7. Delaney engaged counsel to demand $450,000 from the Corporate Client [Toyota],
                  but his attorney ceased representing him a few days after making this demand and
                  Delaney immediately engaged new counsel. On April 13, 2020, Delaney’s new counsel
                  emailed a letter to the Corporate Client’s [Toyota] Chief Executive Officer [Akio
                  Toyoda] and Board of Directors, reiterating his demand for a payment and threatening
                  litigation and disclosure of the Corporate Client’s [Toyota] privileged and confidential
                  information if his demand was not met by April 14, 2020.

                  8. The Corporate Client [Toyota] did not capitulate to Delaney’s demands or threats. On
                  April 15, 2020, a day after Delaney’s deadline passed, Delaney’s lawyer signed and filed
                  a state court complaint, which alleges and acknowledges that the John Doe plaintiff,
                  identified therein as Delaney, gained the confidential and privileged knowledge and
                  information disclosed therein during the course of a document review project for the
                  Corporate Client [Toyota]….

                  22. I hereby declare under penalties of perjury that I have read the foregoing
                  Certification, and that the allegations contained therein are true and correct to the best of
                  my knowledge.

          Mazer-Marino ECF No. 27-1 (emphasis added) Delaney’s actual letter to Toyota is attached

          hereto as Exhibit C. Judge Liman had already ruled: “It is a routine demand letter and it’s not an

          extortion.” However, the defendants continued to lie about the contents of the demand letter

          (including falsely adding a demand for money of $450,000, which specific demand for money is

          a requirement for extortion) to make Delaney appear like a criminal while themselves ignoring

          the ruling of a federal judge and, worse, then telling the trustee and his lawyers that Judge Liman



          8
           See Zannikos’ e-mail dated March 30, 2020 where he clearly admits a year earlier to having “terminated” Delaney.
          Exhibit D hereto.

                                                                  7


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          had issued a judgment against Delaney for extortion. This is clear and unequivocal deceit and

          fraud on the court.

                  24.       On April 6, 2021, HC2 filed an utterly fraudulent proof of claim for

          $1,180,152.67 so that they could interfere in Delaney’s bankruptcy case and harass him. See

          Exhibit A hereto. Goldstein explained to the bankruptcy court that this was for supposed

          attorneys fees and costs from the Southern District case. HC2 submitted bills in support of the

          claim, which was mostly $1 million for HC2’s former counsel Kasowitz, which had lost the TRO

          and PI. See Exhibit B hereto (Mazer-Marino ECF No. 61-5). ECF No. 61-5 clearly shows that

          the whole basis for the $1,180,152.67 proof of claim was HC2’s legal costs (mostly Kasowitz’s)

          for the TRO and PI both of which applications it lost. Of course, Judge Liman did not ever order

          Delaney to pay legal fees for HC2’s failed applications. There was no possible legal theory

          under which the winner (Delaney) could have been ordered to pay the loser’s (HC2’s) attorneys

          fees and costs per ECF No. 61-5 (Exhibit B hereto). It was a total and complete lie to the

          bankruptcy court. However, the defendants wanted to file this fraudulent claim in order to

          inflate Delaney’s low debt, only $44,000, by 97% to be over $1.2 million.9 HC2 falsely claimed

          to the bankruptcy court that it was Delaney’s “creditor” when it knew that it was not. Its filing of

          this false proof of claim was a criminal act and the defendants were part of a criminal conspiracy

          in this regard.

                  25.       On April 8, 2021, the defendants had Goldstein appear at the hearing on

          Delaney’s motion to dismiss which was denied due to their dishonesty. At the hearing, Delaney




          9
            On information and belief, Messer, Lamonica, and Herbst were working in concert with the defendants to present
          this false proof of claim, which is a crime. Messer, Lamonica, and Herbst went along with this fraud and falsely
          claimed that it was the trustee who “settled” the HC2 proof of claim on September 1, 2021 after it had already been
          withdrawn a month earlier which had nothing to do with him.


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          said: “But now they’ve put in their proof of claim that I owe them $1.2 million. For what? For

          attorneys fees that they spent on a case they brought against that the judge tossed?” The trustee

          then stated based on the defendants’ lies: “The Trustee has found property under Andrew

          Delaney in Westchester County.” After lying about Delaney’s four bank accounts, fake creditor

          HC2’s Goldstein said: “MR. GOLDSTEIN: Yes. Thank you, Your Honor. And I would just add

          to the Trustee's presentation that an additional grounds for denial of the motion is lack of bad

          faith. It's not just the existence of these assets; it's the fact that the Debtor has failed to disclose

          them.” Regarding the jurisdictional fraud in the Southern District, Goldstsein said: “You know,

          lack of subject matter jurisdiction in that other lawsuit is really irrelevant for today.” He tried to

          sweep the defendants’ jurisdictional fraud under the rug.

                     26.     On May 20, 2021, the defendants filed an ex parte motion to issue subpoenas

          duces tecum to four financial institutions where they falsely claimed Delaney had accounts.

          (Mazer-Marino ECF No. 51) In its motion, HC2 lied that: “The Debtor did not disclose in his

          bankruptcy schedules or Statement of Financial Affairs the existence of any assets, liabilities,

          closed accounts, depositories for securities or other relationships with any of the Financial

          Institutions.” But Delaney did not have accounts with those “Financial Institutions” so that this

          was another lie.

                     27.     On May 26, 2021, it was reported that Toyota was under grand jury investigation

          in Texas by the DOJ10 for violating the Foreign Corrupt Practices Act of 1977, 15 U.S.C. ch. 2B

          § 78a et seq.11


          10
            At the same time, Wilmer Hale hired the DOJ FCPA chief investigating Toyota, Christopher Cestaro, to be a
          partner in its firm which was representing Toyota. See David Thomas, “WilmerHale taps Justice Department's
          FCPA chief for white collar group,” Reuters, May 1, 2021.
          https://www.reuters.com/legal/government/wilmerhale-taps-justice-departments-fcpa-chief-white-collar-group-
          2021-05-28/

          11
               Frank G. Runyeon, “DOJ Takes Toyota Thai Bribery Probe To Texas Grand Jury,” Law360, May 26, 2021.

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                  28.      On June 4, 2021, the defendants had HC2 file a fraudulent adversary case, which

          it withdrew shortly thereafter with prejudice knowing that it was a blatant fraud on the court.

          (Mazer-Marino ECF No. 54) In HC2’s Complaint Objecting to Discharge of the Debtor (Mazer-

          Marino ECF No. 1) in the adversary case (Adversary Case No. 1-21-01047), Goldstein lied

          repeatedly about Delaney:

                  7. Delaney is an individual whose street address is currently 330-340 Baychester Ave.
                  Bronx, New York 1047512….

                  12. HC2 never terminated the Employment Agreement or took any other action to
                  terminate Delaney’s employment by HC2.13 Nonetheless, Delaney sent multiple e-mails
                  on March 17 and 18, 2020 to the Law Firm Customer [Wilmer Hale] and the Corporate
                  Client [Toyota] falsely claiming that he had been wrongfully terminated for expressing
                  concerns about COVID-19.

                  13. Delaney engaged counsel to demand $450,000 from the Corporate Client [Toyota],
                  but his attorney ceased representing him a few days after making this demand and
                  Delaney immediately engaged new counsel. On April 13, 2020, Delaney’s new counsel
                  e-mailed a letter to the Corporate Client’s [Toyota] Chief Executive Officer [Akio
                  Toyoda] and Board of Directors, reiterating his demand for a payment and threatening
                  litigation and disclosure of the Corporate Client’s [Toyota] privileged and confidential
                  information if his demand was not met by April 14, 2020….

                  97. On March 18, 2021, the Clerk of this Court filed a Notice of Discovery of Assets and
                  set a bar date of June 16, 2021 for creditors to file proofs of claims. See Doc. 20.

                  98. On April 6, 2021, HC2 filed a proof of claim for $1,180,152.67 (the “HC2 Proof of
                  Claim”). See Claim Register, Claim 2….

                  115. On the Petition Date, Delaney had one or more accounts for securities, cash or other
                  valuables with one or more of the Financial Institutions that held securities, cash or other
                  valuables.




          https://www.law360.com/articles/1388032/doj-takes-toyota-thai-bribery-probe-to-texas-grand-jury
          12
            According to www.vocabulary.com, “street address” is defined as “the address where a person or organization can
          be found.” Delaney resides and is domiciled in the Philippines. The address here is for a Staples Store in the Bronx
          where Delaney never resided.
          13
            This is another lie. Zannikos admitted to terminating Delaney in his March 30, 2020 e-mail. See Exhibit D
          hereto.

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                 116. Delaney was required to disclose in his bankruptcy schedules or his Statement of
                 Financial Affairs, and at the Meeting of Creditors, the existence of one or more accounts
                 for securities, cash or other valuables with one or more of the Financial Institutions.

                 117. Delaney did not disclose in his original or amended bankruptcy schedules or
                 Statement of Financial Affairs, or at the Meeting of Creditors, the existence of any assets,
                 liabilities, open or closed accounts, depositories for securities or other relationships with
                 any of the Financial Institutions….

                 WHEREFORE, HC2 respectfully requests that this Court enter a judgment against
                 Delaney: A. For denial of a discharge pursuant to Code Sections 727(a)(2) and/or (a)(4)
                 and Bankruptcy Rule 4004….

          All of the defendants’ above-quoted statements above were lies and a fraud on the court. Worse,

          the defendants lied about the orders from a federal judge, Judge Liman, and continued to lie

          about the contents of the Toyota demand letter so as to be able to falsely accuse Delaney, a

          lawyer, of extortion. The attorney defendants unethically and deceitfully lied about authority to

          the courts. The defendants just “made up” the contents of Judge Liman’s order to be the

          opposite of what it was, i.e. that he entered a judgment against Delaney for extortion, as well as

          the contents of the Toyota demand letter, falsely claiming that Delaney demanded “$450,000”

          and “threatening litigation and disclosure of the Corporate Client’s [Toyota] privileged and

          confidential information.” The problem is that no such contents are contained in what Judge

          Liman called “a routine demand letter”. The defendants just lied over and over again in order to

          win.

                 29.     On June 16, 2021, after lying in order to get the court to issue the subpoenas in

          the first place, HC2 served subpoenas duces tecum on Bank of America, E-Trade, Charles

          Schwab, and Wells Fargo. Mazer-Marino ECF Nos. 57-60. But none of the defendants was

          Delaney’s creditor. Moreover, Delaney did not have accounts at any of these banks, except for

          Wells Fargo, which was an attorney IOLTA account and not his “asset” as the defendants falsely




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          and fraudulently represented to the trustee and the bankruptcy court to discredit Delaney and

          prevent him from dismissing his bankruptcy case.

                 30.     On June 16, 2021, in an affidavit in opposition to Delaney’s motion to expunge

          HC2’s false $1,180,152.67 proof of claim (Docket No. 61-2), Zannikos again lied to the court:

                 14. Subsequently, Delaney engaged counsel to demand $450,000 directly from the
                 Corporate Client [Toyota]. (See Ex. E; see also HC2 Inc. v. Andrew Delaney, 20-cv-
                 03178-LJL, Dkt. No. 1, annexed to Amended Proof of Claim, Ex. 2 (“S.D.N.Y Compl.”).
                 The letter, though dated April 7, 2020, was emailed directly to the Corporate Client
                 [Toyota] on April 13, 2020. In it, Delaney’s lawyer threatened to commence legal action
                 and publicly disclose such confidential and privileged information about the Corporate
                 Client [Toyota] that Delaney had obtained during the Project if Delaney’s demand was
                 not met by the next day. (S.D.N.Y Compl. ¶ 6). The Corporate Client [Toyota] did not
                 pay Delaney’s $450,000 demand. (Id. ¶ 7). Instead, on April 14, 2020 the Law Firm
                 Customer [Wilmer Hale] sent an email to Delaney’s counsel warning him not to contact
                 the Corporate Client [Toyota] again and objecting to Delaney’s threat to disclose the
                 Corporate Client’s [Toyota] privileged and confidential information. (Id.).

                 24. Delaney’s objection to HC2’s proof of claim should be overruled.

          Mazer-Marino ECF No. 61-2. Zannikos once again lied about the contents of the Toyota

          demand letter and ignored Judge Liman’s May 27, 2020 ruling this time in support of HC2’s

          fraudulent proof of claim.

                 31.     On June 16, 2021, in support of their fraudulent proof of claim, the defendants

          produced billing records which showed the defendants providing false information to the trustee

          and drafting his filings in the bankruptcy case:

                 03/16/21 DAG ... e-mail message to G. Messer with introduction, discuss undisclosed
                 information;

                 03/ 17 /21 ALL Continued preparation of the Opposition to Debtor’s Motion to Dismiss
                 … my t/c/w G. Messer; telephone conference with G. Messer re: introduction, pending
                 lawsuits, status of bankruptcy case, next steps

                 03/18/2 DAG…. receive and review G. Messer's opposition to motion to dismiss, motion
                 for extension of time to object to discharge; e-mail message to trustee's attorneys re: error
                 in their affidavit of service.



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          Mazer-Marino ECF No.61.

                   32.   On June 24, 2021, in connection with the HC2’s bogus adversary case, Delaney

          filed discovery requests to HC2 and deposition notices for Joan Davison (“Davison”), Zannikos,

          and Brian Hartstein (“Hartstein”) including regarding the jurisdictional fraud in the Southern

          District.

                   33.   But the defendants’ three witnesses refused to appear for depositions because they

          knew that they had lied to the courts.

                   34.   On July 12, 2021, a panicked Goldstein filed the emergency “Letter Requesting

          Conference Pursuant to E.D.N.Y. LBR 7007-1 Filed by Douglas A Goldstein on behalf of HC2,

          Inc.” seeking an urgent hearing to quash the depositions of Davison, Zannikos, and Hartstein

          and/or to limit the question so that Delaney could not ask about the Southern District

          jurisdictional fraud. Mazer-Marino ECF No. 72.

                   35.   On July 13, 2021, Delaney opposed the Goldstein letter. Mazer-Marino ECF

          No.73.

                   36.   On July 15, 2021, Judge Mazer-Marino denied Goldstein’s attempt to stop or limit

          the depositions and ordered the three HC2 witnesses to appear for the depositions noticed by

          Delaney.

                   37.   On July 19, 2021, four days later, HC2 suddenly filed a motion to withdraw its

          proof of claim. See Exhibit E hereto (Mazer-Marino ECF Nos. 75-76). In its motion, HC2

          wrote: “1. By its Motion to Withdraw, HC2 seeks the withdrawal of its proof of claim, filed as

          Claim 2…. 9. After the June 24, 2021 hearing, Delaney propounded written discovery requests

          on HC2 and requested the depositions of certain HC2 personnel…. 11. After the July 15, 2021

          conference, HC2 determined that it no longer wishes to prosecute Claim 2 or the Cross-Motion,



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          or defend against the Objection, or otherwise seek allowance of a pre-petition claim against

          Delaney or the bankruptcy estate…. 22…. HC2 does not intend to use the withdrawal of Claim 2

          for any improper or tactical purpose, such as, for example, the pursuit of Claim 2 in another

          forum, and HC2 does not seek to escape this Court’s jurisdiction over it. As a result, HC2’s

          request for the withdrawal of Claim 2 does not involve any ‘vexatiousness’ on HC2’s part…. fn.

          2 In several filings made with this Court, Delaney has argued that HC2 is not a creditor. If this

          Court grants the Motion to Withdraw, Delaney no longer will need to argue that HC2 is not a

          creditor.” Mazer-Marino ECF No. 76.

                 38.     In reliance on HC2’s stipulations and representations to the bankruptcy court,

          Delaney entered a “Letter of Consent and No Objection to Motions Documents Nos. 76 and 77.”

          Mazer-Marino ECF No. 78. However, after they got what they wanted, it soon became clear that

          the defendants had lied to the court about their “intentions” when HC2 and Goldstein continued

          to appear and to oppose Delaney in the bankruptcy case.

                 39.     On August 1, 2021, Judge Mazer-Marino ordered “1. Claim 2 of HC2 is hereby

          withdrawn, with prejudice to HC2s right to file another proof of claim in this bankruptcy case. 2.

          Discovery concerning Claim 2 and concerning the objection filed by the Debtor against Claim 2

          in this case is hereby terminated.” Mazer-Marino ECF No. 83.

                 40.     On August 2, 2021, the defendants withdrew the HC2 proof of claim and

          corrected the claims register for Delaney’s case: “Description: (2-1) Per Order Dated 8/1/2021,

          Claim 2 of HC2 is hereby withdrawn, with prejudice to HC2s right to file another proof of claim

          in this bankruptcy case.”

                 41.     On November 24, 2021, Delaney filed a motion to voluntarily dismiss the

          bankruptcy case. Mazer-Marino ECF No. 121.



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                 42.       On December 6, 2021, despite withdrawing from the case with prejudice, the

          defendants continued to have HC2 file the “Objection and Joinder Filed by Douglas A Goldstein

          on behalf of HC2, Inc. (RE: related document(s)121 Motion to Dismiss Case filed by Debtor

          Andrew John Delaney.” Mazer-Marino ECF No. 125.

                 43.       On December 14, 2021, Goldstein appeared at the hearing and successfully

          opposed Delaney’s motion. He told Judge Mazer-Marino: “MR. GOLDSTEIN: Thank you,

          Your Honor. This is Douglas Goldstein. HC2 does not change its position on the motion either.

          Thank you.” Delaney said to the court: “So my -- in addition to which, Mr. Herbst repeated the

          false statement from hired counsel (sic) for HC2 that I had appealed to the Second Circuit a

          judgment for extorting my final -- my former employer which was HC2. Now that was a flat out

          falsehood. I had appealed the denial of my counterclaims, which were just settled by the Court's

          order 23 in September.”

                 44.       On January 26, 2022, the amendments to N.Y. Labor Law § 740 took effect.

          These have been ruled to be not retroactive, so that the claims in this action are by definition

          post-petition.

                 45.       Starting in March 2022 to the present, Delaney engaged in the protected activity

          of complaining to the government about HC2’s failing to furnish him with a copy of the

          Summary Plan Description in violation of the Employee Retirement Income Security Act of

          1974 (“ERISA”) and the labor laws and ignored his letters to the company about when he would

          receive a payment of $2,000 or other amount to which the Social Security Administration

          informed him he was entitled.

                 46.       On July 21, 2022, in retaliation for the plaintiff’s complaints, the defendants had

          Goldstein appear again, despite HC2’s exiting the bankruptcy case with prejudice, to attend and



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          speak at the bankruptcy hearing in order to successfully oppose Delaney’s voluntary dismissal of

          the bankruptcy case.

                 47.     On April 12, 2023, also in retaliation, in a Florida defamation case brought by

          Delaney’s former lawyer Christopher T. Beres, Esq. in which Zannikos is one of the defendants,

          Toyota’s law firm Wilmer, Cutler, Pickering, Hale and Dorr LLP (“Wilmer Hale”), which is

          acting in concert with the defendants pursuant to a three-way joint litigation agreement,

          continued to accuse Delaney of extortion: “The statement asserted in Paragraph 24 of the

          Complaint - that ‘plaintiff’s John Doe client . . . ‘is appealing a judgment entered against him for

          extorting his prior employer’’- does not reference Plaintiff. (Compl. ¶ 24). It concerns Delaney,

          and describes an action Delaney was taking - appealing a judgment. The average person reading

          this statement would not conclude that it implicated Plaintiff.” Beres v. Toyota Motor

          Corporation et al, Case No. 502023CA001936XXXXMB (Fla. 15th Cir. Ct. March 3, 2023)

          Doc. #25. Thus, three years after Judge Liman’s decision, the defendants’ unnamed co-

          conspirator Toyota law firm Wilmer Hale is still claiming that Delaney was appealing a

          judgment entered against him by Judge Liman for extortion.

                 48.     On May 3, 2023, in the same case, in further retaliation, the defendants’ former

          law firm Kasowitz, also an unnamed co-conspirator in this case, continued to accuse Delaney of

          extortion: “Plaintiff places much emphasis in his Complaint on the use of the term ‘extort’ as the

          core of his falsity assertions with respect to the alleged defamatory statements. How the term

          ‘extort’ is used could easily be a matter of opinion….” Scott Doc. #48.

                                             FIRST CLAIM FOR RELIEF
                                          (Violations of N.Y. Jud. Law § 487)

                 49.     Delaney realleges and incorporates herein by reference each and every foregoing

          paragraph of this complaint as if fully set forth herein.

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                  50.      N.Y. Jud. Law § 487 provides, in pertinent part, as follows: “An attorney or

          counselor who…. [i]s guilty of any deceit or collusion, or consents to any deceit or collusion,

          with intent to deceive the court or any party … [i]s guilty of a misdemeanor, and in addition to

          punishment prescribed thereby by the penal law, he forfeits to the injured party treble damages,

          to be recovered in a civil action.”

                  51.      As set forth above, the defendants engaged in an intentional pattern of collusion,

          wrongdoing, and deceit with the intent to deceive both Delaney and multiple New York state and

          federal courts, including the New York County Supreme Court, the United States Bankruptcy

          Court for the Eastern District of New York, the United States District Court for the Southern

          District of New York, and the United States Court of Appeals for the Second Circuit.

                  52.      This claim is against Zannikos and Nacchio and their employers for their

          egregious, recurring, concerted, and systematic fraud and deceit and collusion aimed at

          misleading Messer, Lamonica, and Herbst 14 and the New York federal and state courts.

                  53.      Zannikos and Nacchio repeatedly lied, misquoted the law, authority, and

          judgments, and committed perjury in the courts.

                  54.      Specifically, from 2021-2024, Zannikos and Nacchio ignored Judge Liman’s clear

          order read out in open court on May 27, 2020 that the there was no extortion, lied about the

          contents of Delaney’s April 7, 2020 demand letter to Akio Toyoda, chairman of Toyota Motor

          Corporation, filed a false and fraudulent proof of claim in Delaney’s chapter 7 case, lied to

          Delaney’s chapter 7 trustee and the trustee’s lawyers that Judge Liman had issued a judgment

          against Delaney for extortion, and instructed Goldstein to continue to appear at hearings in




          14
            Messer, Lamonica, and Herbst have never denied Delaney’s claim that the defendants’ statements and information
          to them were lies.

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          Delaney’s bankruptcy case even after HC2 had been ordered to withdraw from the case with

          prejudice on August 1, 2021.

                 55.     There is no civil extortion under New York law. Extortion is a crime in New

          York. Thus, Zannikos and Nacchio also lied about the laws of New York State to multiple courts

          and to the trustee, a representative of the DOJ. Also, to accuse a lawyer of extortion would cause

          him irreparable damage, as Zannikos and Nacchio well knew when they did so repeatedly.

                 56.     The attorney defendants conspired with each other and with HC2, Toyota, and

          several non-parties in the commission of those frauds. In the process, they violated not only

          common law anti-fraud prohibitions but also Judiciary Law § 487 (which provides statutory

          damages to redress fraud or collusion by attorneys) and knowingly and fraudulently presented a

          false claim for proof against the estate of a debtor in violation of 18 U.S.C. § 152(4).

                 57.     As a result of these violations of Judiciary Law §487, Delaney has been damaged

          in his business and property.

                 58.     Zannikos and Nacchio engaged in this conduct and made these statements in their

          capacities as attorneys for HC2 and as the agents of Toyota. HC2 and Toyota are liable for

          Zannikos’ and Nacchio’s violations of Judiciary Law §487 under the law of agency, and the

          doctrine of respondeat superior.

                 59.     By reason of the foregoing defendants violated Judiciary Law § 487.

                 60.     The plaintiff is entitled to an award of treble damages of the counsel fees he

          incurred.

                                          SECOND CLAIM FOR RELIEF
                                  (Civil Conspiracy to Violate N.Y. Jud. Law § 487)

                 61.     Delaney realleges and incorporates herein by reference each and every foregoing

          paragraph of this complaint as if fully set forth herein.

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                 62.     As set forth herein, the defendants conspired with each other and with other non-

          parties to violate Judiciary Law §487 by engaging in an intentional pattern of collusion, perjury,

          and wrongdoing with the intent to deceive Judge Liman, Judge Mazer-Marino, Judge Alexander

          M. Tisch, Judge Richard G. Latin, Judge Reid P. Scott II (Florida), the New York Appellate

          Division First Judicial Department, the New York Court of Appeals, and the Judges of the

          United States Court of Appeals for the Second Circuit..

                 63.     As a result of the defendants’ conspiracy to violate Judiciary Law § 487, Delaney

          has been damaged in his business and property.

                 64.     HC2 and Toyota are liable for Zannikos’ and Nacchio’s roles in this conspiracy

          under the law of agency, and the doctrine of respondeat superior.

                                            THIRD CLAIM FOR RELIEF
                                      (Negligent Infliction of Emotional Distress)

                 65.     Delaney realleges and incorporates herein by reference each and every foregoing

          paragraph of this complaint as if fully set forth herein.

                 66.     Under the New York Bar Civility Standards, Zannikos and Nacchio owed

          Delaney a duty of care “to not mislead” (IX) and also had ethical duties to Delaney as a self-

          represented party pursuant to DR 7-104(A)(2). See also DR 1-102(A)(4) (forbidding “conduct

          involving dishonesty, fraud, deceit, or misrepresentation”); DR 7-102(A)(5) (forbidding a lawyer

          from “[k]nowingly mak[ing] a false statement of law or fact” in representing a client).

                 67.     The defendants repeatedly lied to the courts and falsely accused Delaney of

          extortion, even after a federal judge determined otherwise, and fraudulently interfered in his

          bankruptcy case, filed a false and fraudulent proof of claim, and prevented Delaney from

          voluntarily dismissing his bankruptcy case even after they had withdrawn from the case with

          prejudice.

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                 68.     Zannikos and Nacchio flagrantly breached their duty to Delaney especially as a

          self-represented party.

                 69.     The defendants’ breach of their professional duties was at least negligent and was

          the direct cause of Delaney’s injuries.

                 70.     The defendants’ conduct caused Delaney severe emotional distress and mental

          trauma.

                 71.     From 2021-2024, Delaney has suffered severe emotional distress and disability.

                 72.     As a direct and proximate result of the defendants’ conduct, the plaintiff suffered

          humiliation, severe emotional distress, and mental and physical pain and anguish, amounting to

          damages to be proved at trial.

                 73.     The plaintiff is entitled to an award of damages including counseling, lost wages,

          loss of enjoyment of life activities, embarrassment, and loss of reputation.

                 74.     HC2 and Toyota are liable to the plaintiff under the doctrine of respondeat

          superior.

                                            FOURTH CLAIM FOR RELIEF
                                           (Breach of Contract and Stipulation)

                 75.     Delaney realleges and incorporates herein by reference each and every foregoing

          paragraph of this complaint as if fully set forth herein.

                 76.     After Judge Mazer-Marino’s denial of HC2’s emergency motion to quash or limit

          Delaney’s depositions of HC2’s management, the defendants had Goldstein e-mail Delaney to

          reach an agreement with him not oppose their motion to withdraw their proof of claim in

          exchange for their exiting the case with prejudice. Delaney agreed and issued a letter to the court

          of consent and no objection to HC2’s withdrawal with prejudice.




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                  77.      But after the hearing at which Delaney appeared and consented at which Judge

          Mazer-Marino signed the order, and after falsely representing to the bankruptcy court and to

          Delaney that it had no ulterior motive, on December 6, 2021 and December 14, 2021, Goldstein

          continued to appear in the case and successfully opposed Delaney’s voluntary dismissal of the

          bankruptcy case. Delaney had a right to voluntarily dismiss the case pursuant to 11 U.S.C.

          707(a).15

                  78.      On July 21, 2022, in specific retaliation for Delaney’s complaint to the

          government about HC2’s violations of ERISA and other laws, Goldstein appeared at a hearing

          and opposed Delaney’s motions.

                  79.      The defendants violated the settlement agreement between the parties and also the

          August 1, 2021 order for it to exit the bankruptcy case with prejudice. The defendants also lied

          repeatedly in HC2’s motion in support of the withdrawal of their proof of claim with prejudice.

                  80.      The defendants were working in concert and are liable to the plaintiff for

          damages.

                                                FIFTH CLAIM FOR RELIEF
                                             (Violation of N.Y. Labor Law § 740)

                  81.      Delaney realleges and incorporates herein by reference each and every foregoing

          paragraph of this complaint as if fully set forth herein.

                  82.      On January 26, 2022, the amended N.Y. Labor Law § 740 took effect and

          included “former employees” in the definition of employees. 16



          15
            See Shane P. Walsh, Can a Consumer Debtor Voluntarily Dismiss Own Chapter 7 Case?, 8 St. John’s Bankr.
          Research Libr. No. 26 (2016) at 1 (“A chapter 7 consumer debtor has the right to voluntarily dismiss his own chapter
          7 case, however, that right is not absolute.”).
          https://scholarship.law.stjohns.edu/cgi/viewcontent.cgi?article=1152&context=bankruptcy_research_library

          16
            Brian S. Cousin, Game-Changing Expansion of New York Whistleblower Protection: Will Your Company Be
          Ready When This Whistle Blows?, N.Y.L.J., Feb. 4, 2022.

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                  83.      Delaney is bringing this claim against the defendants HC2 and Toyota as their

          former employee for their retaliatory actions against him after January 26, 2022.

                  84.      Delaney is a former employee of HC2 and Toyota and is therefore a member of a

          protected class under N.Y. Labor Law § 740.

                  85.      The new law clearly includes “former employees” and “natural persons employed

          as independent contractors.” § 740(1)(a)

                  86.      Starting in March 2022, Delaney engaged in the protected activity of complaining

          to the government about HC2’s violation of the law regarding its pension and stock ownership

          plans by failing to furnish him with a copy of the Summary Plan Description in violation of the

          Employee Retirement Income Security Act of 1974 (“ERISA”) and the labor laws.

                  87.      The plaintiff is a former employee who reasonably believed that HC2’s and

          Toyota’s failure to comply with the laws, rules, and/or regulations of ERISA presented a

          substantial and specific danger to the public health and safety.

                  88.      The defendants’ violations of the law are a danger to the public health and safety

          for older Americans17 such as Delaney, who depend on employer plans and need to know their

          rights and contents.

                  89.      HC2 and Toyota retaliated against Delaney by repeatedly refusing to send him a

          copy of the Summary Plan Description.




          https://www.foxrothschild.com/publications/game-changing-expansion-of-new-york-whistleblower-protection-will-
          your-company-be-ready-when-this-whistle-blows
          17
            The Cambridge Dictionary defines “senior” as “an older person, usually over the age of 60 or 65, esp. one who is
          no longer employed.”

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                 90.     On July 21, 2022, HC2 and Toyota further retaliated against Delaney for engaging

          in a protected activity by having Goldstein interfere in and appear at a hearing to successfully

          oppose Delaney’s voluntary dismissal of his bankruptcy case.

                 91.     On April 12, 2023, HC2 and Toyota further retaliated against Delaney by having

          or conspiring with Wilmer Hale to continue to falsely accuse Delaney of extortion.

                 92.     On May 3, 2023, HC2 and Toyota further retaliated against Delaney by having or

          conspiring with Kasowitz to falsely accuse Delaney of extortion and to write: “How the term

          ‘extort’ is used could easily be a matter of opinion.”

                 93.     The defendants’ acts of trying to prevent Delaney from voluntarily dismissing his

          bankruptcy case and their false and repeated accusations against him of “extortion” and having a

          “judgment against him for extortion” were actions that would adversely impact a former

          employee’s current or future employment, especially as a lawyer. § 740(1)(e).

                 94.     At the instructions of the government, the plaintiff notified his employers of their

          violations but they refused to respond or comply.

                 95.     The plaintiff provided HC2 and Toyota a reasonable opportunity to correct the

          practice.

                 96.     HC2’s and Toyota’s acts referenced in paragraphs 89-92 above, false accusations

          against him of extortion and appealing a judgment against him for extortion, and refusal to

          comply with his rights under ERISA and the labor laws were adverse employment actions and

          also actions that impacted a former employee’s current or future employment.

                 97.     Since HC2’s and Toyota’s retaliatory acts commenced on July 21, 2022, the

          plaintiff has been unemployed and unable to find work.




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                 98.     The defendants are liable to injunctive relief, compensation for lost wages and

          benefits, money damages in the form of front pay in lieu of reinstatement, civil penalties not to

          exceed $10,000, and since the employers’ actions were willful, malicious, or wanton, uncapped

          punitive damages, and reasonable costs and attorneys’ fees associated with bringing this action.

                                               PRAYER FOR RELIEF

                 WHEREFORE, the plaintiff demands a judgment against the defendants in an amount to

          be proven at trial, costs and disbursements, together with any other relief the Court finds to be

          just and proper.

                                                   JURY DEMAND

                 The plaintiff demands a trial by jury of all issues triable by jury in this action

          Dated: June 4, 2024                                   /s/Andrew Delaney
                                                                Andrew Delaney
                                                                Plaintiff
                                                                Sen.Gil Puyat Avenue
                                                                Makati Central Post Office 1057
                                                                Brgy. San Antonio
                                                                Makati 1250
                                                                Republic of the Philippines
                                                                63‐94‐2677‐8826
                                                                srview1@gmail.com




                                                           24


                                                       26 of 26
FILED: NEW YORK COUNTY CLERK 06/04/2024 02:24 PM                                                                                                               INDEX NO. 155158/2024
                                                                                                                                                                       Exhibit A
NYSCEF DOC. NO.Case
                2   1:24-cv-05211-LJL                                       Document 1-1                       Filed 07/10/24                     Page 28 of NYSCEF:
                                                                                                                                                   RECEIVED  190     06/04/2024




          Creditor:    (9948151)                                                       ClaimNo: 2                                         Status:
          HC2,Inc.                                                                     OriginalFiledDate:04/06/2021                       Filedby:AT
          clo Spector& Ehrenworth,P.C.                                                 OriginalEnteredDate:04106/2021                     Enteredby:DouglasAGoldstein
          30ColumbiaTumpike,Suite202                                                                                                      Modiñed:08/02/2021
          FlorhamPark,NJ07932
           Amountclaimed:51180152.67
          History:
          Details             2-1   04/06/2021Claim#2 filed by HC2,Inc.,Amountclaimed:$1180152.67 (Goldstein,Douglas)
          Description:(2-1)PerOrderDated8/1/2021,Claim2 of HC2is herebywithdrawn,withprejudiceto HC2srightto file anotherproofof claimin this bankruptcycase
          Remarks:
FILED: NEWCase
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                                                                                    Exhibit B
NYSCEF DOC. NO.Case
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                                  EXHIBIT I




                                                 9
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                                    KASOWITZ BENSON TORRES LLP
                                              1633 BROADWAY
                                        NEW YORK, NEW YORK 10019-6799               FED. ID. XX-XXXXXXX
                                                 212-506-1700
                                          FACS!MlLE: 212-506-1800




             HC2, Inc. d/b/a Hire Counsel
             Joan Davison
             225 West Washington Street
             Chicago, IL 60606




             INVOICE NO.: 2003905                               July 14,     2020


             RE: Hire Counsel v. Delaney
                                                                                                          ..




             FOR PROFESSIONAL SERVICES rendered
             through the month of April 2020
             as reflected on the attached printout.



             Fees                                                       $413,647.00

             Less 10% Discount                                           (41,364.70)

             Total Fees                                                 $372,282.30

             Disbursements                                                   2,981.12

             TOTAL AMOUNT DUE                                           $375,263.42




             5401
             12302201
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                                       KASOWITZ BENSON TORRES LLP
                                              1633 BROADWAY
                                         NEW YORK, NY 10019-6799


                                         Federal I.D. # XX-XXXXXXX




                                                                           APRIL 30, 2020


          12302201
          HC2, Inc. d/b/a Hire Counsel
          Hire Counsel v. Delaney


          DATE       ATTORNEY OR ASSISTANT                                                    HOURS



          04/13/20   MARC E. KASOWITZ                                                          1. 00
                     Work re Delaney employment matter; t/c JD; t/cs
                     PB, RR.

          04/13/20   RONALD R. ROSSI                                                           1. 20
                     Preliminary review of Delaney matter materials;
                     t/c w PB; t/c                             ; -



          04/13/20 PAUL BURGO                                                                  2.10
                   T/c w/
                                 t/c   w/ M. Kasowitz;    t/cs   w/ R.   Rossi


          04/13/20   ANDREW MUIR                                                               5.00
                     Review materials from P. Burgo and R. Rossi;
                     call with R. Rossi re


          04/14/20   MARC E. KASOWITZ                                                           .30
                     Work re strategy.

          04/14/20   RONALD R. ROSSI                                                           6.90
                     Attention to draft pleadings; numerous
                     teleconferences w/           ••••••••••
                                                  ,  case status and
                     strategy; review and direct legal research and
                     drafting of supporting papers.

          04/14/20   GAVIN D. SCHRYVER                                                         2.30
                     T/c with PB and BRt·r·e~:l:l:l:l:l:l:l:l~.lrlellview
                              ; review I
                               ; email BR re strategy.
FILED: NEW Case
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          HC2, Inc. d/b/a Hire Counsel                                               Apr 30, 2020        PAGE      2
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          INVOICE NO.: 2003905

         04/14/20    PAUL BURGO                                                                              .50
                     Corr.      w/              ;   t/c w/ B. Rutcofsky and G.
                     Schryver        re


          04/14/20    KALITAMARA L. MOODY                                                                   6.10
                      Conference call with RRR re pleadings;
                      conference call with RRR and A. Muir re - ;
                      draft and revise pleadings per RRR; research re
                              !!!J!!lllllll!ll~ per RR; review 111111111111
                                   per RRR.

          04/14/20    ANDREW MUIR                                                                         10.60
                      Call with R. Rossi re,
                      continue researching I
                                                    111111111 1111111,~-' begin
                      drafting pleadings.

          04/14/20    GINO C. BARBERA                                                                        .50
                      Review 1111111111111111111111 with R. Rossi.

          04/15/20   RONALD R. ROSSI                                                                       5.70
                     Attention to draft pleadings; numerous
                     teleconferences w/ AM, KM to discuss ~
                     1111111111111111111111; review and direct legal
                     research and drafting of pleadings.
         04/15/20    GAVIN D.        SCHRYVER                                                              2.80
                     T/c with        BR re           ;   t/c
                     re                                                    ;   t/c     with
                     t/c     with    RR and BR re
                                      : t/cs and emails        with   JB re



          04/15/20   PAUL BURGO
                     T/c w/         ••I,    review 1111111111111111111111
                                                                                                            .80


          04/15/20   KALITAMARA L. MOODY                                                                  10.10
                     Draft and revise               ; research re
                     1111111111111111. . per RRR; conference call with
                     RRR, AM, MS and ML re            ; review and
                     analyze pleadings per AM.

          04/15/20   ANDREW MUIR                                                                          13.70
                     Continue to draft pleadings; call with
                     litigation team re strategy and legal claims
                      for pleadings; conduct research re 1111111111
                     1111111111111111. . and coordinate additional
                     research and drafting by team members.
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         HC2, Inc. d/b/a Hire Counsel                               Apr 30,   2020      PAGE      3
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         04/15/20   MAXWELL SANDGRUND                                                     6.60
                    Hire Counsel/Delaney: draft and review of • • •
                    •111111111111~ with R. Rossi, A. Muir and K.
                    Moody regarding •11111111111111111111111111•
                    participated in telephone conference with A.
                    Muir and K. Moody regarding "!~~~111111111111:


                    ..
                    review of documents and emails for
                    draft of email memorandum regarding . . .
                       ~~~~~~------~-;
                    conducted and reviewed legal research regarding



         04/15/20   JACOB BENSON                                                          7.20
                    Discuss matter with G. Schryver; review

                    research   issues/caselaw   re

                    correspond re gggggkith G. Schryver; e-mail
                    memo re -    to G. Schryver.
         04/16/20   DANIEL R. BENSON                                                      6.50
                    Work re pleadings re               .


         04/16/20   MARC E. KASOWITZ                                                       .50
                    Work re pleadings,     strategy.

         04/16/20   RONALD R. ROSSI                                                       5.80
                    Review and revise pleadings; numerous
                    discussions with MEK, DB, AM and KM to discuss
                    •111111111111111111111111~.; review and direct
                    legal research and drafting pleadings.

         04/16/20   GAVIN D. SCHRYVER                                                     1. 30
                    T/c with BR re •111111•      emails with JB re


        04/16/20    KALITAMARA L. MOODY                                                 11. 20
                    Draft and revise pleadings; draft and revise
                    filing documents per RRR; draft and revise
                    pleadings; additional research re - ·

        04/16/20    ANDREW MUIR                                                         14.40
                    Review comments and revisions to pleadings from
                    D. Benson and attention to incorporating same;
                    review papers to be filed; calls with K. Mooney
                    re
                            ; continue to draft pleadings.
FILED: NEWCase
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         HC2, Inc. d/b/a Hire Counsel                            Apr 30, 2020        PAGE     4
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         04/16/20   MAXWELL SANDGRUND                                                 11.10
                    Review of court rules; reviewed legal research
                    regarding                                ; draft of
                    proposed order; draft of declaration of R.
                    Rossi; draft and review of email correspondence
                    with                          regarding filings;
                    participated in telephone conference with ~
                    illllllliilllllllllllllllllilllllllll~; review and
                    revise pleadings in preparation for filing.

         04/16/20   JACOB BENSON                                                       6.70
                    Research on
                                research   on

                    research   on
                                      ; emails and memo to G.
                    Schryver and B. Rutcofsky re all of the above.

         04/16/20   GINO C. BARBERA                                                     .40
                    Review rules and procedure with K. Moody.

         04/17/20   DANIEL R. BENSON                                                   4.70
                    Work re pleadings; tc's, emails RR re same.

         04/17/20   MARC E. KASOWITZ                                                    .50
                    Work re 111111111111111111111111111111111111111.
         04/17/20   RONALD R. ROSSI                                                    7.70
                    Attention to pleadings; numerous
                    teleconferences w/
                                                          ; review and
                    direct legal research and drafting of
                    supporting papers; t/c w • • • • • 1111111111111
                    lllilllllllt, discuss same with MEK; tic with AS-G
                     re motion.

         04/17/20   GAVIN D. SCHRYVER                                                  4.50
                    T/c with BR re 11111111.1111111111•.; t/c with BR
                    and client team re ~; review complaint;
                    revise               ; review


         04/17/20   ANN M. ST. PETER-GRIFFITH                                          7.00
                    Conference with R. Rossi; review~~====~-
                          11111111111111111; reach out to
                          , begin working on and researching
                    Motion; draft demand letters.
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         HC2, Inc. d/b/a Hire Counsel                                              Apr 30,       2020   PAGE      5
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         04/17/20   KALITAMARA L. MOODY                                                                   8.90
                    Draft and revise pleadings per RRR; conference
                    call with RRR and AM; conference call with
                    ASPG, RRR, and AM; review and analyze
                    • • • • • • • • • • per RRR; draft and revise
                    pleadings per RRR.

         04/17/20   ANDREW MUIR                                                                          12.40
                    Revise pleadings, review and analyze 11111111
                    lllllllli~; attention to pleadings.

         04/17/20   MAXWELL SANDGRUND                                                                     8.40
                    Draft and review of email correspondence with

                     participated in telephone conference' with . . . .
                    -=====rm~~~~~~.,~~~~;
                    I
                                                      draft of
                                                      draft of in
                              ; review and revise of pleadings                       llliiiiil
                     preparation of filing; review of emails in
                     preparation of timeline; review and revise
                     timeline of communications; review of Delaney
                     complaint.

         04/17/20   JACOB BENSON                                                                          4.30
                    Per G. Schryver request,
                    research on
                                                        further case law
                                                                              ••••II
                                                                              ;   review
                    docket and potentially            relevant         from

         04/17/20   GINO C. BARBERA                                                                       2.00
                    Review procedural rules and requirements with
                    K. Moody and M. Lawrence.

         04/18/20   DANIEL R. BENSON                                                                      7.60
                    Work re pleadings.

         04/18/20   MARC E. KASOWITZ                                                                      1. 70
                    Review                             , draft NY complaint,

                             ;   conf.       calls w/            ;    conf.  call
                    w/                   ;   work re status          and strategy.
         04/18/20   RONALD R. ROSSI                                                                       9.50
                    Attention to draft pleadings,
                    1111.;; numerous discussions w/ - ;       ; MEK
                    and DB, and AM, KM to discuss case status and
                    strategy.
FILED: NEWCase 1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
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             HC2, Inc. d/b/a Hire Counsel                            Apr 30,     2020      PAGE      6
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             04/18/20   ANN M. ST. PETER-GRIFFITH                                           11. 20
                        Continue drafting demand letters; research and
                        draft Motion to                           ;
                        conference call with client, R. Rossi, and M.
                        Kasowitz; call with        , R. Rossi and
                                  ; conduct research relating to the
                                            concerning

                        procedures.

         04/18/20       KALITAMARA L. MOODY                                                  9.20
                        Research re 1111111111111111... draft and revise
                        pleadings per RRR; conference call re filings
                        with AM and RRR; research re
                                              per AMt; research re . .
                                                per ASPG.

         04/18/20       ANDREW MUIR                                                         13.50
                        Revise draft
                                                      ;   call with R. Rossi
                        and revise draft pleadings.

         04/18/20       MAXWELL SANDGRUND                                                   10.50
                        Draft and review of email correspondence with

                        participated in telephone conference' with~
                        lillllllllllilllllllllllllllilllllllll. .; review of
                         record in preparation of pleadings; further
                         review and revise of pleadings; conducted and
                         reviewed legal research regarding 11•11
                        1111111111111111,; conducted and reviewed legal
                         research regarding llllllllllllllllllllllllilll•

         04/19/20       DANIEL R. BENSON                                                     5.80
                        Work re pleadings.

         04/19/20       MARC E. KASOWITZ                                                     2.20
                        Prepare for and participate in conf. call
                        w~      ; conf. call w~               ; review
                        draft pleadings; internal t/cs.

         04/19/20       RONALD R. ROSSI                                                      7.50
                        Attention to draft pleadings; numerous
                        teleconferences w/              MEK, and AM, KM
                        to discuss                         ; review and
                        direct legal research and drafting of
                        supporting papers.
FILED: NEWCase 1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
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           04/19/20    GAVIN D. SCHRYVER                                                     .30




                      -·
                                               re
                       Review caselaw
                      1111111111!!1111•;        JB~~~~~~~~~-====-II~
                                         email re  re same; revise


           04/19/20   ANN M. ST. PETER-GRIFFITH                                             9.30
                      Continue drafting and editing demand letter to
                      Delaney from HC2; attend conference call with
                      1111111, R. Rossi, M. Kasowitz, D. Benson;
                      review draft pleadings; attend to email with
                      counsel for          ;   research re


           04/19/20   KALITAMARA L. MOODY                                                   6.40
                      Draft and revise pleadings per RRR; draft and
                      revise client affidavit per RRR; research re

                      per RRR;   review and analyze draft complaint per
                      RRR.

           04/19/20   ANDREW MUIR                                                           8.60
                      Call with R. Rossi and K.Moody; revise proposed
                      order; review and revise draft pleadings in
                      order to file.

           04/19/20   MAXWELL SANDGRUND                                                     7.20
                      Draft and review of email correspondence with
                                         regarding        ;
                      participated in telephone conference with -
                                   regarding        ; review and
                      revise pleadings; conducted and reviewed legal
                      research regarding causes of action; conducted
                      and reviewed legal research.

           04/20/20   DANIEL R. BENSON                                                     3.50
                      Work re pleadings.

           04/20/20   MARC E. KASOWITZ                                                     1. 50
                      Review motion papers; review demand letter to
                      Delaney; t/cs DRB.

           04/20/20   RONALD R. ROSSI                                                      7.10
                      Attention to draft pleadings; numerous
                      teleconferences w/             ; MEK, and AM, KM
                      to discuss case status and strategy; review and
                      direct legal research and drafting of
                      supporting papers.
FILED: NEWCase
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         04/20/20   ANN M. ST. PETER-GRIFFITH                                          3.50
                    Attend to finalizing demand letter;
                    cornmunicat.ion with            ; attend to email
                    with R. Rossi, MEK and team; review 11111111
                             review latest version of pleadings;
                    attend to          email; attend to email with
                                      ; review • • • • • • • • • • • •
                    and              filing; conference with R.
                    Rossi; review  ll••lili•••      filings.
         04/20/20   KALITAMARA L. MOODY                                                9.80
                    Draft and revise pleadings per RRR; additional
                    research re             ; conference call with
                    AM.

         04/20/20   ANDREW MUIR                                                        6.50
                    Revise draft pleadings for filing.

         04/20/20   MAXWELL SANDGRUND                                                  3.40
                    Draft and review of
                                                       ; conducted
                    and reviewed legal research regarding
                    pleadings; draft of client affidavit; review of
                               to client affidavit.

         04/20/20   JACOB BENSON                                                       4.20
                    Further research on



         04/20/20   GINO C. BARBERA                                                     .50
                    Review pleadings for K. Moody.

         04/21/20   DANIEL R. BENSON                                                  2.70
                    Work re pleadings,                     .


         04/21/20   MARC E. KASOWITZ                                                  2.00
                    Work re strategy and papers; work re
                          ; conf. call w~
                          .


         04/21/20   RONALD R. ROSSI                                                   9.30
                    Attention to pleadings; numerous
                    teleconferences w/            ; MEK, and AM, KM
                    to discuss case status and strategy; review and
                    direct legal research and drafting of
                    supporting papers.
FILED: NEWCase
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         HC2, Inc. d/b/a Hire Counsel                                  Apr 30,   2020      PAGE       9
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         04/21/20   GAVIN D. SCHRYVER                                                         1. 30
                    Revise memo; t/c with BR re strategy; emails re
                    updates; emails re                ; emails with


         04/21/20   ANN M. ST. PETER-GRIFFITH                                                 9.90
                    Review               ; attend conference call
                    with                    1111111!11~. and R. Rossi;
                    review                   and draft/edit
                    pleadings; conference with R. Rossi; research

                                                              ; attend
                    to team call; conform draft order; review
                    1111111111111111111111.; attend to edits to
                    Memorandum of Law.

         04/21/20   KALITAMARA L. MOODY                                                     10.20
                    Draft and revise pleadings per RRR; research re
                    11111111; draft, revise, and finalize pleadings
                     for filing per RRR; conference call with RRR,
                    ASPG, and AM re finalizing filings.

         04/21/20   ANDREW MUIR                                                             16.10
                    Review revised pleadings containing 11111111111111
                    111111111, call with R. Rossi re same and draft
                    and revise complaint and accompanying TRO
                    documents for filing.

         04/21/20   MAXWELL SANDGRUND                                                        8.80
                    Draft and review of email correspondence with
                                       lllll!lllllllllllillll!'.; draft of
                                       ; telephone conference with
                                 team regarding filings; conducted
                    and reviewed legal research; review and revise
                    other filings; conducted and reviewed legal
                    research regarding verified complaint; prepare
                    for filings.

        04/21/20    GINO C. BARBERA                                                          1. 20
                    Review procedure with K. Moody; conference with
                    R. Rossi about ex parte TRO procedure in the
                    SONY.

        04/22/20    MARC E. KASOWITZ                                                         1. 20
                    Work re strateg11y1;11w1011r~k.1r1elilllllllr'~~~· review
                                                                   ;
                    emails; review I        .                 : work re
                    issues.
FILED: NEWCase
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         HC2, Inc. d/b/a Hire Counsel                           Apr 30, 2020        PAGE     10
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         04/22/20   RONALD R. ROSSI                                                   3.50
                    Review and finalize pleadings for filing;
                    numerous teleconferences w/ 111111111111111 MEK
                    and DB, and AM, KM to discuss case status and
                    strategy.

         04/22/20   ANN M. ST. PETER-GRIFFITH                                         8.60
                    Continue editing filings; conference call with
                    KBT          re          ; review                ;
                    attend to email with R. Rossi, the KBT Team and
                    . .; draft email to the Court; review court
                    order; draft email to                : review of
                    docket; conference with                   attend
                    to email re remittance of documents for service
                    via process server; attend to FEDEX delivery.

         04/22/20   KALITAMARA L. MOODY                                               3.40
                    Draft, revise, and finalize papers for filing
                    per RRR; conference call with RRR, ASPG, and AM
                    re finalizing filings.

         04/22/20   ANDREW MUIR                                                       2.70
                    Review revised pleadings containing 1111111111111
                    11......., call with R. Rossi re same and revise
                    documents for filing.

         04/22/20   MAXWELL SANDGRUND                                                 4.80
                    Draft and review of email correspondence with
                                                                                                   ...
                            egarding filings; review and revise
                    filings; prepare documents to be filed;
                    telephone conference with 11111111111 regarding
                    filings; review of court rules.

         04/22/20   JACOB BENSON                                                      2.50
                    Further research into 111111111111111111111 .

         04/22/20   GINO C. BARBERA                                                   1.00
                    Conference with SDNY clerks about 11111111111


         04/23/20   MARC E. KASOWITZ                                                   .30
                    Work re papers and service issues,          .


         04/23/20   ANN M. ST. PETER-GRIFFITH                                         7.40
                    Draft email to Delaney for R. Rossi re notice
                    of court order; attend to address research and
                    confirmation; attend to priority mail return
                    receipt for Service copies at Delaney Addresses
                    and travel to Post Office to facilitate U.S.
                    Mail service; attend to Overnight Service via
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                      FEDEX; conference with 1111111111111111111111111111
                     1111111111111111111•;; attend to conferences and email
                     with R. Rossi; attend to email with-KBT
                     team.

          04/23/20   MAXWELL SANDGRUND                                                      .60
                     Review complaint.

          04/23/20   GINO C. BARBERA                                                       1. 20
                     Compile all commencement papers and motion
                     papers for service for R. Rossi; contact
                     process servers to arrange for service for R.
                     Rossi.

          04/24/20   MARC E. KASOWITZ                                                      1. 00
                     Work re strategy, dealings w/court.

          04/24/20   RONALD R. ROSSI                                                       4.40
                     Meet-and-confer with Delaney's counsel;
                     attention to drafting of proposed stipulation;
                     numerous discussions with                     MEK and
                     DB, AS-G, AM and KM re same.

          04/24/20   ANN M. ST. PETER-GRIFFITH                                             5.50
                     Prepare for and attend telephonic counsel for
                     Delaney in conformity with Judge Liman's order;
                     attend to email; prepare draft email for R.
                     Rossi; prepare stipulation and order; calls
                     with R. Rossi.

          04/24/20   KALITAMARA L. MOODY                                                   2.30
                     Review relevant agreements for
                            per  RRR; draft   and revise
                              er RRR.

         04/24/20    GINO C. BARBERA                                                        .50
                     Research . . . . . . . . . . . . . . . ..
                     for A. St. Peter-Griffith and R. Rossi.

         04/25/20    ANN M. ST. PETER-GRIFFITH                                              .60
                     Conference strategizing with R. Rossi;        attend
                     to related email.

         04/26/20    MARC E. KASOWITZ                                                       .50
                     Review drafts.

         04/26/20    RONALD R. ROSSI                                                      2.40
                     Draft and revise letter to court, discuss same
                     wi         MEK and DB, AS-G, and AM.
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         04/26/20   ANN M. ST. PETER-GRIFFITH                                           .80
                    Update call with      Bt team; review draft
                    letter to judge.

         04/26/20   KALITAMARA L. MOODY                                                1. 30
                    Conference call with ASPG, RRR, and AM;
                    conference call with AM re                           ;
                    draft and revise preservation notice per RRR;
                    draft and revise insert for letter to Judge
                    Lisman per RRR.

         04/26/20   ANDREW MUIR                                                        3.90
                    Call with R. Rossi re 11111111111111111111111111~
                    and draft insert for letter to judge.

         04/27/20   MARC E. KASOWITZ                                                    .50
                    Work re letter to Judge Liman,     strategy.

         04/27/20   RONALD R. ROSSI                                                    3.10
                    Tic             re                    ; revise
                    letter to court re same; additional efforts to
                    meet-and-confer with Delaney; finalize and file
                    letter seeking hearing.

         04/27/20   ANN M. ST. PETER-GRIFFITH                                          1. 80
                    Conference with R. Rossi; review letter to
                    Court; attend to email with R. Rossi and KBT
                    team; review               ; review email from


         04/27/20   KALITAMARA L. MOODY                                                4.20
                    Research re procedures per RRR; draft and
                    revise oral argument outline per ARJM; review
                    and analyze motion per ARJM; draft and revise
                    motion per ARJM; research re 111111111111•
                    ll••liin preparation for filing per ARJM.
         04/27/20   ANDREW MUIR                                                        3.60
                    Research grounds and procedures for filing;
                    revise draft oral argument outline.

        04/27/20    MAXWELL SANDGRUND                                                 1.10
                    Draft and review of email correspondence with
                                        regarding case and strategy;
                    review of letter to court in preparation of
                    filing; review of
                    lllllllilllllllll~o court; review of court rules.

        04/28/20    MARC E. KASOWITZ                                                    .50
                    Work re strategy for hearing.
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          04/28/20   RONALD R. ROSSI                                                       1. 20
                     Prepare for hearing.

          04/28/20   ANN M. ST. PETER-GRIFFITH                                              .60
                     Attend to email and review related email;
                     review communication to Court; attend to email
                     to-
          04/28/20    KALITAMARA L. MOODY                                                  4.30
                      Oral argument hearing prep per RRR; research re
                     1111111111111 per RRR; draft and revise motion per
                      ARJM.

          04/28/20   ANDREW MUIR                                                           7.00
                     Draft and revise oral argument outJ.ine and
                     accompanying documents for use by R. Rossi at
                     oral argument; draft and revise 11111111111111..


          04/28/20   MAXWELL SANDGRUND                                                      .10
                      Draft and review of email correspondence with
                     11111111111111 team regarding lllllllilllllllllllll~.
          04/29/20   RONALD R. ROSSI                                                       4.60
                     Prepare for and attend TRO hearing; debrief
                     MEK, DB,                re same and next steps.

          04/29/20   GAVIN D. SCHRYVER                                                     1. 20
                     Review policies emails re same.

          04/29/20   ANN M. ST. PETER-GRIFFITH                                             4.70
                     Review Delaney opposition; attend to email with
                     R. Rossi; review                        ;
                     prepare for and attend hearing; draft proposed
                     order; conferences with R. Rossi; draft
                     strategy to do list.

          04/29/20   KALITAMARA L. MOODY                                                    .10
                     Review Delaney submission per RRR.

          04/29/20   ANDREW MUIR                                                           2.00
                     Analyze defendant's opposition and report to R.
                     Rossi re communications from lllllllllillllll


          04/29/20   MAXWELL SANDGRUND                                                    2.40
                     Draft and review of email correspondence with
                     . . . . . . . . . regarding·······-
                     review of defendant Delaney's written
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                    opposition; review of emails from        in
                    preparation of oral argument; review of case
                    file; draft and review of email correspondence
                    with S. Rattigan regarding case file
                    organization.

         04/30/20   RONALD R. ROSSI                                                       1. 40

                             re
                    research re        •••••lllii•••••llli•••
                    Attention to discovery schedule; review legal

                    discussions with AM re same.

         04/30/20   ANN M. ST. PETER-GRIFFITH                                             1. 40
                    Strategy conference with R. Rossi re . . and
                    next steps; attend to email from~; review~
                                   .


         04/30/20   KALITAMARA L. MOODY                                                   2.60



                                  ·········••Iii•••••
                    Draft and revise discovery plan per Judge
                    Liman; research re Rule 26(f) per ARJM; draft
                    and revise
                    and revise
         04/30/20   ANDREW MUIR                                                           4.10
                    Draft and revise                     and
                    discovery plan and draft action item report for
                    R. Rossi.

         04/30/20   MAXWELL SANDGRUND                                                     2.60
                    Draft and review of email correspondence with
                    • • • • • • • • • • •!regarding               ;
                    review and revise preservation letter; review
                    and revise case management plan; review and
                    revise discovery strategy; conducted internet
                    research regarding                    ; review
                    of court order.



                                 TOTAL HOURS                                           52 9. 20
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                                               HOURS           RATE           AMOUNT
           PARTNER
           DANIEL R. BENSON                    30.80       1,750.00        53,900.00
           PAUL BURGO                           3.40       1,075.00         3,655.00
           MARC E. KASOWITZ                    13.70       1,950.00        26,715.00
           RONALD R. ROSSI                     81.30       1,150.00        93,495.00
           GAVIN D. SCHRYVER                   13. 70        950.00        13,015.00
           ANN M. ST. PETER-GRIFFITH           72. 30        705.00        50, 971.50

           ASSOCIATE
           JACOB BENSON                        24.90          625.00       15,562.50
           KALITAMARA L. MOODY                 90.10          525.00       47,302.50
           ANDREW MUIR                        124.10          475.00       58,947.50
           MAXWELL SANDGRUND                   67. 60         675.00       45,630.00

           MANAGING ATTY
           GINO C. BARBERA                      7.30          610.00        4,453.00




                               TOTAL FEES                                $413,647.00

           PROFESSIONAL SERVICES                                            2, 476. 91
           AUTOMATED RESEARCH                                                  392.07
           DOCUMENT REPRODUCTION                                                35.38
           DOCUMENT DELIVERY                                                    76.76

                              TOTAL COSTS                                  $2' 981.12



                    TOTAL FEES AND COSTS                                 $416,628.12
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                                       KASOWITZ BENSON TORRES LLP
                                                 1633 BROADWAY                              ATLANTA
                                                                                           HOUSTON
                                             NEW YORK, NEW YORK 10019                    Los ANGELES
             MARC E. KASOWITZ                                                                MIAMI
        DIRECT DIAL: 212-506- l 7 IO              (212) 506- ! 700
                                                                                            NEWARK
        DIRECT FAX: 2 l 2-835-5010
          MKASOWITZ@KASOWITZ.COM                FAX: (212) 506-1 BOO                    SAN FRANCISCO
                                                                                        SILICON VALLEY
                                                                                        WASHINGTON DC




                                                              August 11, 2020



                 Joan Davison
                 HC2, Inc. d/b/a Hire Counsel
                 225 West Washington Street
                 Chicago, IL 60606

                                                                                                                 ...

                 Re: Hire Counsel v. Delaney


                 Dear Joan:

                           I hope you and your family are safe and well.

                      I enclose our invoice for professional services rendered
                 and disbursements incurred through May 2020. Also enclosed is a
                 detailed summary of services.
                                                                                                                 ..
                          Please let me know if you have any questions.

                          Best.

                                                              Sincerely,


                                                               ~--~~
                                                              Marc E. Kasowitz


                 Enclosures
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                                   KASOWITZ BENSON TORRES LLP
                                             1633 BROADWAY
                                        NEW YORK, NEW YORK 10019-6799           FED. ID. XX-XXXXXXX
                                               212-506-1700
                                          FACSIMILE: 212-506-1800




             HC2, Inc. d/b/a Hire Counsel
             Joan Davison
             225 West Washington Street
             Chicago, IL 60606




             INVOICE NO.: 2004998                                August 11, 2020


             RE: Hire Counsel v. Delaney



             FOR PROFESSIONAL SERVICES rendered
             through the month of May 2020
             as reflected on the attached printout.



             Fees                                                       $470,904.00

             Less 10% Discount                                           (47,090.40)

             Total Fees                                                 $423,813.60

             Disbursements                                                11,645.49

             Current Amount Due                                         $435,459.09

             Prev:i.ous Balance                                          327,454.92

             TOTAL AMOUNT DUE                                           $762, 914. 01




             5401
             12302201
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                                   KASOWITZ BENSON TORRES LLP
                                          1633 BROADWAY
                                     NEW YORK, NY 10019-6799


                                    Federal I.D. # XX-XXXXXXX




                                                                   MAY 31, 2020


        12302201
        HC2, Inc. d/b/a Hire Counsel
        Hire Counsel v. Delaney


        DATE       ATTORNEY OR ASSISTANT                                            HOURS



        05/01/20   RONALD R. ROSSI                                                    4.20
                   Attention to expedited discovery in Delaney
                   employment matter, PI hearing issues and
                   sealing issues. Numerous t/c w/ KBT team re
                   same; review and edit written discovery and
                   Court correspondence re same.

        05/01/20   ANN M. ST. PETER-GRIFFITH                                         2.70
                   Team conference call re employment matter;
                   strategy for scheduling conference; review
                   draft preservation demand letter; conference
                   with A. Muir; review and revise proposed joint
                   scheduling report and related order; review
                   proposed standard protective order and NOA.

        05/01/20   KALITAMARA L. MOODY                                               3.60
                   Conference call with RRR, ASPG, ARJM, MS, and
                   ML; conference call with ARJM and MS re
                   discovery tasks; draft and revise discovery
                   plan, protective order, and preservation notice
                   in preparation for service per ARJM.

        05/01/20   ANDREW MUIR                                                       9. ') 0
                   Calls with R. Rossi and case team regarding
                   next steps in Delaney employment matter and
                   action items for discovery; draft and revise
                   case management plan, stipulation regarding
                   expedited discovery, and begin drafting
                   proposed findings of fact.

        05/01/20   MAXWELL SANDGRUND                                                 5.10
                   Draft and review of email correspondence with
                   Hire Counsel team regarding case and strategy;
                   review and revise preservation letter;
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                    participated in multiple telephone conferences
                    with                   regarding • • • • •
                            ; review and revise case management
                    order; review of Judge Liman's rules and
                    proposed sample orders; draft of protective
                    order.

         05/02/20   ANN M. ST. PETER-GRIFFITH                                          .90
                    Conference with A. Muir; attend to email with
                    R. Rossi re: strategy for call with Delaney
                    counsel and scheduling order; review draft
                    email from         nd attend to related
                    conference.

         05/02/20   ANDREW MUIR                                                       1. 60
                    Review discovery deadline proposal from
                    opposing counsel and confer with A. St.
                    Peters-Griffith, revise discovery plan and
                    draft response to opposing counsel in
                    furtherance of meet and confer requirement.

         05/02/20   ANDREW MUIR


                                        M
                    Draft meet and confer correspondence and call
                    with A. St. Peters-Griffith re same; draft

                    •••Iii••;
                    correspondence to

                    items.
                                              re • • • • •
                                update litigation team re action
                                                                                      2.70




         05/02/20   MAXWELL SANDGRUND                                                  .30
                    Draft and review of email correspondence with
                            • • • • • regarding • • • • • • • •


         05/03/20   ANN M. ST. PETER-GRIFFITH                                         2.10
                    Meet and confer conference with R. Rotman,
                    Delaney 1 s counsel re: report of conference of
                    counsel, scheduling order for PI hearing and
                    Delaney employment case, and protective order;
                    conference with A. Muir; review revised report
                    of conference of counsel; conference with B.
                    Choi re: SONY procedure for non-unilateral
                    submission of conference of counsel; review
                    drafts of proposed orders and conference of
                    counsel.

         05/03/20   MAXWELL SANDGRUND                                                  .90

                                                  •••••Ill!!!!!!!!!
                    Draft and review of email correspondence with




                    -·
                    • • • •and
                    review  • •revise
                                • • • document
                                      regarding requests to
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         05/04/20   RONALD R. ROSSI                                                    4.30
                    Attention to Delaney employment dispute,
                    preliminary injunction briefing, expedited
                    discovery and sealing issues; t/c with AS-G 1 AM
                    and KM re same.

         05/04/20   ANN M. ST. PETER-GRIFFITH                                          5.60
                    Conferences with A. Muir; conference call with
                    A. Muir, R. Rossi and K. Moody; review and edit
                    submission to Court for Plaintiff's proposed
                    scheduling order; review Defendants proposal;
                    attend parties' joint conference that Rotman
                    did not attend; conference with 11111111111111111111
                    evaluate next steps for discovery; review
                    Judge's and Local Rules.

         05/04/20   KALITAMARA L. MOODY                                                2.40
                    Conference call with ASPG, ARJM, and~
                    111111111 re document collection; research re
                    SDNY filing protocols; review and analyze
                    documents in preparation for filing per ARJM.

         05/04/20   ANDREW MUIR                                                        6.20
                    Finalize joint discovery plan, correspond with
                    opposing counsel, attention to filing plan and
                    draft response letter re meet and confer
                    efforts.

         05/04/20   ANDREW MUIR                                                        1. 60
                    Call with               re

                    lllllJNith litigation team regarding action items
                     and briefing.

         05/04/20   MAXWELL SANDGRUND                                                   .40
                    Draft and review of email correspondence with
                                      regarding llllllilllllllllllllll
                    review of proposed case management orders.

         05/04/20   SAMUEL RATTIGAN                                                     .40
                    Work updating case docket folder w/ recent
                    filings re Proposed Scheduling Orders.

         05/05/20   RONALD R. ROSSI                                                   4.70
                    Attention to Delaney employment dispute,
                    Preliminary Injunction briefing, expedited
                    discovery and sealing issues; t/c with AS-G, AM
                    and KM re same.
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         05/05/20   ANN M. ST. PETER-GRIFFITH                                            2.10
                    Review parties' submissions in advance of
                    scheduling hearing; attend to email from - ;
                    attend to KBT team email.

         05/05/20   KALITAMARA L. MOODY                                                   .80
                    Conference call with ARJM, MS, and ML re action
                    items.

         05/05/20   ANDREW MUIR                                                          2.30
                    Call with litigation team regarding •111111111
                               and                       and research;
                    draft report re meet and confer efforts for use
                    by R. Rossi at hearing.

         05/05/20   MAXWELL SANDGRUND                                                    2.40

                             ••1!111••
                    Draft and review of email correspondence with
                                       regarding   ••11•1111111111•
                              telephone conference with . . . .
                    iiiiiiiiiilllll
                                  regarding                       ;
                    conducted and reviewed federal rules of civil
                    procedure in preparation of discovery requests;
                    review of agreements and                          in
                    preparation of discovery requests.

         05/06/20    RONALD R. ROSSI                                                    4.40
                     Prepare for and attend telephonic hearing in
                     Delaney employment dispute re PI schedule and
                     Case Management Plan, provide work direction to
                     trial team re PI hearing prep; numerous t/cs w
                    AS-G re same; t/c w              re same; t/c w
                    •1111111 re PI hearing issues.
         05/06/20   ANN M. ST. PETER-GRIFFITH                                           2.60
                    Review proposed scheduling orders; prepare for
                    and attend strategy conference call; prepare
                    for and attend telephonic status hearing with
                    Court.

         05/06/20    KALITAMARA L. MOODY                                                4.30
                     Conference cal 1 re •1111111111111111111111111111•
                    •1111111;       ocument collection preparations
                    per ARJM; conference call post-hearing with
                     RRR, ASPG, ARJM, and MS; revise discovery
                     requests per ARJM; draft and revise document
                     collection requests per ARJM; conference calls
                    with ARJM.
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         05/06/20   ANDREW MUIR                                                           6.90

                    ••ill••ll;
                    Prepare for,  attend, and follow up re • • • •
                                 review status of document
                    collection from client and draft response;
                    review and revise proposed offensive discovery.

         05/06/20   MAXWELL SANDGRUND                                                    4.30
                    Draft and review of email correspondence with
                                                 ••lllil••!!l!!!!l!!![ll
                                       reg a rd in g

                           illl•            ••••••••iiiiilll•I;
                              telephone conference with . . . .
                                  regarding
                    draft of all discovery requests; review of
                    local rules in preparation of discovery
                    requests; review of record in preparation of
                    discovery requess.

         05/07/20   RONALD R. ROSSI                                                      2.30
                    Prepare issue/evidence outline; discuss same w/
                    AS-G, provide work direction to AM re PI
                    hearing; correspond w          re same.

         05/07/20   ANN M. ST. PETER-GRIFFITH                                            3.40
                    Attend to email re: hearing on scheduling;
                    review                         ; conference
                    with R. Rossi; review and edit Requests for
                    Production, Requests for Admission, and
                    Interrogatories.

         05/07/20   KALITAMARA L. MOODY                                                  1. 70
                    Draft and revise discovery requests per ARJM.

         05/07/20   ANDREW MUIR                                                          6.00
                    Complete drafting requests for production,
                    interrogatories and requests for admission;
                    attention to document collection. .

         05/07/20   MAXWELL SANDGRUND                                                    3 .10
                    Draft and review of email correspondence with

                      ====:~'!!'~~~
                    :requests.         regarding
                               review and revise all discovery


         05/07/20   SAMUEL RATTIGAN                                                       .20
                    Update case docket folder w/ recent Protective
                    Order and Proposed Case Management Plan.

         05/08/20   RONALD R. ROSSI                                                      4.80
                    Attention to Delaney employment dispute re
                    ·········••li••il•ill••,,        expedited
                    discovery and sealing issues; t/c with AS-G, AM
                    and KM re same.
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         05/08/20   ANN M. ST. PETER-GRIFFITH                                           2.50
                    Attend to communications with           at - ;
                    review discovery drafts; review Delaney
                    discovery and attend to related email.

         05/08/20   KALITAMARA L. MOODY                                                 3.90
                    Draft and revise review protocol per ARJM;
                    draft and revise discovery requests per ARJM.

         05/08/20   ANDREW MUIR                                                         3.80
                    Revise and finalize discovery requests for
                    exchange.

         05/08/20   MAXWELL SANDGRUND                                                   4.20
                    Draft and review of email correspondence with
                                       regarding discovery requests;
                    conducted and reviewed applicable rules
                    regarding discovery requests; review of edits
                    to discovery requests; review and revise all
                    discovery requests.

         05/08/20   SAMUEL RATTIGAN                                                       .30
                    Review exhibits ISO Request for Admissions to
                    confirm requests match.

         05/09/20   RONALD R. ROSSI                                                     1. 20
                    Attention to Delany employment dispute re
                                                                         t/c
                    with AS-G, AM and KM re same.

         05/09/20   ANN M. ST. PETER-GRIFFITH                                           1. 40
                    KBT Team conference call to review discovery.

         05/09/20   KALITAMARA L. MOODY                                                 2.40
                    Conference call with RRR, ASPG, and ARJM; call
                    with ARJM; draft revise discovery responses.

         05/09/20   ANDREW MUIR                                                         5. 40
                    Call with R. Rossi and team regarding

                            ;  draft  memorandum re
                               ;  and begin drafting HC2' s responses
                    and objections    to Delaney's RFAs.

         05/10/20   RONALD R. ROSSI                                                     1. 40
                    Attention to Delany employment dispute re
                                                                   ;    t/c
                    w AS-G, AM and KM re same.
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         05/10/20   KALITAMARA L. MOODY
                    Research  re
                                   -1111111111-~---
                                    per ARJM; conference call with
                                 and ARJM re collection and
                    production; conference call with ARJM; draft
                                                                             ....               5.90




                    and revise R&Os to interrogatories per ARJM;
                    review and analyze initial document collection
                    per ARJM.

         05/10/20   ANDREWMUIR                                                                  7.90
                    Call with                  re          nd
                                           ,    report    to    R.   Rossi   re

                    from       , and continue to draft               RFA
                    responses as well as responses to
                    interrogatories.

         05/10/20   RICARDO P. MCLEAN                                                           6.50
                    Prepare electronic discovery documents for
                    attorney review as requested by associate K.
                    Moody.

         05/11/20   RONALD R. ROSSI                                                            3.30
                    Attention to Delany   employment dispute re

                                                         ; t/c with AS-G, AM
                    and KM re same.

         05/11/20   ANN M. ST. PETER-GRIFFITH                                                  2.60
                    Conference call with KBT Team re;

                    strategize for next filings; attend to
                    communication with 1111111111111111. ..

         05/11/20   KALITAMARA L. MOODY                                                        6.10
                    Review and analyze 11111111111111• in preparation
                    for production per ARJM; conference call with
                    ARJM re lllllllllilllllllllll•,; conference call
                    with ARJM; review and analyze collections per
                    ARJM.

         05/11/20   ANDREW MUIR                                                                3.90
                    Call with 1111111111111 re':::::::::::::::::::=:~
                    Confer with K. Moody re I                       ,
                     review and production; calls with R.Rossi and
                    A. St. Peters-Grifith re
                    1111111; draft responses to RFAs.
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         05/11/20   ANDREW MUIR                                                       2.10
                    Review and analyze documents collected by
                    llllllll•for privilege, confidentiality and
                    responsiveness in order to produce same in
                     response to defendant 1 s requests for
                    production.

         05/11/20   MAXWELL SANDGRUND                                                  .60
                    Draft and review of email correspondence with
                    ::::::::::::~~~regarding strategy; review of
                    :            iscovery demands.

         05/11/20   RICARDO P. MCLEAN                                                 4.30
                    Prepare electronic discovery documents for
                    attorney review as requested by associate K.
                    Moody.

         05/12/20   RONALD R. ROSSI                                                  3. 40
                    Attention to Delany employment dispute re

                                                  ; t/c with AS G, AM
                    and KM re same.

         05/12/20   ANN M. ST. PETER-GRIFFITH                                        5.40
                    Attend KBT team strategy call; review and
                    revised RFA responses; review draft letter re:
                                                ; review and edit
                    draft interrogatory answers.

         05/12/20   KALITAMARA L. MOODY                                              6.90
                    Call with ML re document review; review and
                    analyze documents in preparation for production
                    per ARJM; review correspondence re service of
                    complaint per ARJM.

         05/12/20   ANDREW MUIR                                                      5.90
                    Call with litigation team re document
                    collection and review and strategy for
                    disclosing documents and review by . .111111
                    . . . .; revise responses and objections to
                    Delaney's RF As, .

        05/12/20    ANDREW MUIR                                                      2.20
                    Complete researching and drafting 11•11
                    responses and objections to Delaney's RFAs.

        05/12/20    MAXWELL SANDGRUND                                                1. 80
                    Draft and review of email correspondence with
                                      regarding         ; telephone
                    conference with A. Muir regarding
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                    11111111111;
                               review of client documents in
                    preparation of 11111        affidavit.

         05/12/20   RICARDO P. MCLEAN                                                   3.70
                    Attend to the preparation of electronic
                    discovery documents for attorney review as
                    requested by associate K. Moody.

         05/13/20   RONALD R. ROSSI                                                     4.20
                    Attention to Delany employment dispute re

                                                     ; t/c with AS-G, AM
                    and KM re same.

         05/13/20   ANN M. ST. PETER-GRIFFITH                                           4.80
                    Review draft responses to RFPs; attend to email
                    with team re production and other discovery
                    responses; review various drafts of discovery
                    answers; review production plan; call with K.
                    Moody; review Delaney production; attend
                    conference call with KBT Team; review latest
                    draft of letter to Court re:
                    111111111111; review answer and counterclaims.
         05/13/20   KIRSTEN C. JACKSON                                                 4.50
                    Review pleadings,
                                             for Delaney employment
                    dispute matter.

         05/13/20   KALITAMARA L. MOODY                                                6.60
                    Review and analyze documents in preparation for
                    production; draft and revise production letter;
                    review and analyze Delaney's R&Os per ASPG;
                    conference call with RRR, ASPG, and ARJM.

         05/13/20   ANDREW MUIR                                                        6.50
                    Calls with               ,   and litigation team re
                                                        serve discovery
                    responses.

         05/13/20   ANDREW MUIR                                                        7.10
                    Review production of documents from Delaney and
                    begin revising draft          declaration.

         05/13/20   MAXWELL SANDGRUND                                                  5.80
                    Draft and review of email correspondence with
                                      regarding         ; review of
                    client documents in preparation of Hire Counsel
                    affidavit; review of internet research
                    regarding              and covid-19 in
                    preparation of              affidavit; draft of
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                    affidavit on behalf of 11111111111111111111111


         05/13/20   SAMUEL RATTIGAN                                                        .30
                    Review/monitor the Court's docket to confirm
                    deadlines calendared on same match internally
                    calendared deadlines and work updating case
                    Docket folder w/ recently filed Answer.

         05/13/20   RICARDO P. MCLEAN                                                     6.60
                    Assist case team with the preparation of
                    discovery documents for attorney review and
                    production as requested by associate K. Moody.

         05/14/20   MARC E. KASOWITZ                                                       .50
                    Review counterclaims, media.

         05/14/20   RONALD R. ROSSI                                                      4.90
                    Attention to Delaney employment dispute re

                                                     ; t/c with AS G, AM
                    and KM re same.

         05/14/20   ANN M. ST. PETER-GRIFFITH                                            3.70
                    Review and revise draft of          affidavit;
                    review edits to in camera review letter; attend
                    to email re:       ; begin preparing . .11111
                    KBT Team call.

         05/14/20   KIRSTEN C. JACKSON                                                   3.90
                    Review lllllllllllllllllllllpolicies; draft
                    notices of claim.

         05/14/20   KALITAMARA L. MOODY                                                  6.10
                    Review and analyze documents in preparation for
                    production per ARJM; draft and revise . .1111111
                    declaration per ARJM; conference call with RRR,
                    ASPG, .

         05/14/20   ANDREW MUIR                                                          5.70
                    Finalize ~~~-==-·d~e·c·l~a·r·a·t,ion, review
                    production set                   , confer with R.
                    Rossi and litigation team re


         05/14/20   ANDREW MUIR                                                          4.00
                    Review production of documents from Delaney and
                    begin revising draft          declaration.




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         05/14/20   MAXWELL SANDGRUND                                                                        5.20
                    Draft and review of email correspondence with
                                      regarding         ; telephone
                    conference with                   regarding
                                             ; review and revise
                    client declaration; review of client production
                    in preparation of client declaration; review of
                                      edits to client declaration.

         05/14/20   RICARDO P. MCLEAN                                                                        5.30
                    Prepare discovery documents for attorney review
                    as requested by associate K. Moody.

         05/15/20   MARC E. KASOWITZ                                                                          .30
                    Review emails.

         05/15/20   RONALD R. ROSSI                                                                          6.70
                    Attention to Delaney               employment       dispute   re

                                                                 ;    attention   to
                    completion   of
                                   ,    t/c     with     AS-G,       AM and KM re      same,
                    t/c                re     same.

         05/15/20   ANN M. ST. PETER-GRIFFITH                                                                4.30
                    Review of various drafts of 111111111
                    declaration; attend to email; review verified
                    complaint for consistency; review revisions
                    from . .; review of declaration from Delaney's
                    attorney and attachments thereto and compare to
                    llllllllilllll.;    review lllll:leclaration; .
         05/15/20   KIRSTEN C. JACKSON                                                                      2.90
                    Review and revise 1111111111111111~·

         05/15/20   KALITAMARA L. MOODY                                                                     5.10
                    Review and analyze production per ARJM; draft
                    and revise production letter; conference call
                    re                      with RRR, ASPG, ARJM.

         05/15/20   ANDREW MUIR                                                                            11.10
                    Finalize 111111111 declaration for service,
                    including coordinate revisions from
                    1111111; confer with opposing counsel re
                    declaration exchanges; call with litigation
                    team re strategy
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         05/15/20   MAXWELL SANDGRUND                                                          5.20
                    Draft and review of email correspondence with
                                      regarding          ; prepare
                                 declaration for filing; review and
                    revise declaration; review and revise letter
                    motion regarding in camera review; review of
                    Delaney document production in preparation of
                    filing; review of              document
                    production in preparation of filing.

         05/15/20   SAMUEL RATTIGAN                                                             .20
                    Work updating docket file w/ Declaration ISO of
                    Preliminary Injunction.

         05/15/20   RICARDO P. MCLEAN                                                          3.80
                    Assist case team with the preparation of
                    discovery documents for attorney review and
                    production as requested by associate K. Moody.

         05/16/20   MARC E. KASOWITZ                                                            .50
                    Review emails re                             .


         05/16/20




         05/16/20
                    ·········••ill•;;
                    RONALD R. ROSSI
                    Attention to Delaney employment dispute re

                    re same.

                    ANN M. ST. PETER-GRIFFITH
                                              revise   letter
                                              revise letter to court
                                                                     to court
                                                                                               1. 30




                                                                                                .70

                    ••••••I;
                    Draft revisions to letter to Court re: ~
                                 conference with K. Moody; attend
                    to related email.

         05/16/20   KALITAMARA L. MOODY                                                       2.90
                    Preliminary injunction briefing prep.

         05/16/20   RICARDO P. MCLEAN                                                         4.30
                    Prepare electronic discovery documents for
                    attorney review as requested by associate K.
                    Moody.

         05/17/20   MARC E. KASOWITZ                                                            .30
                    Review papers.

         05/17/20   ANN M. ST. PETER-GRIFFITH                                                 3.20
                    Revise initial disclosures; conference with R.
                    Rossi.

         05/17/20   ANDREW MUIR                                                               6.20
                    Draft initial disclosures, research

                    and research and draft             letter.




                               .                                       .
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             05/18/20    MARC E. KASOWITZ                                                       .50
                         Tic RR r e · · · · · · · · -;        review emails.

             05/18/20   RONALDR. ROSSI                                                         8.20
                        T/c w MEK re
                                               ;   draft and revise letter to
                        SDNY re
                                  ; t/c w AS-P, AM and KM re initial
                        disclosures and PI work; prepare
                        for deposition;
                                      ; review initial disclosures.

            05/18/20    ANN M. ST. PETER-GRIFFITH                                             4.90
                        Attend to email with R. Rossi and
                        review Court order re:
                        review/edit     letter response to Court; review
                                :  call with R. Rossi;  attend to email
                        with

                                    in
                                            ••I;
                                              KBT Team call; review . .
                                                   call with R. Rossi and
                                         preparation for deposition;



            05/18/20    KALITAMARA L. MOODY                                                   5.90
                        Draft and revise • • • • motion per ARJM; draft
                        and revise letter response to Rotman 5.15
                        letter per ASPG; research re
                        per ASPG; conference call with RRR, ASPG, and
                        ARJM re status and to-do list; review and
                        analyze exhibits to the declaration of lllll:>er
                        ARJM.

            05/18/20    ANDREW MUIR                                                           1.10
                        Continue to draft • • • • letter.

            05/18/20    ANDREW MUIR                                                           7.60
                        Review Court's orders regarding multiple letter
                        motions;
                                 ; revise initial disclosures and
                        strategy call with litigation team regarding
                                    ; call with
                                                   , and begin drafting
                        proposed findings of fact.

            05/18/20    MAXWELL SANDGRUND                                                     1. 80
                        Draft and review of email correspondence with

                        I-====================-eljglalr~ding filings;
                                                         ; review of defendant
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                    declarations;    review of court filings regarding


         05/18/20   SAMUEL RATTIGAN                                                                 .40
                    Monitor/review the Court's docket and work
                    updating case Docket file re




         05/18/20   RICARDO P. MCLEAN                                                               .50
                    Prepare deposition transcripts for attorney
                    review as requested by K. Moody.

         05/19/20   MARC E. KASOWITZ                                                                .50


         05/19/20   RONALD R. ROSSI                                                               7.10
                    Prepare for and defend 11111111• deposition, t/c
                    w/ trial team to discuss status and strategy;
                    t/c w/            re ~11111111111111, attention
                    to revision of          letter briefs and
                    completion of          applications.

         05/19/20   ANN M. ST. PETER-GRIFFITH                                                     6.90
                    Team call with A. Muir and K. Moody;
                                                      ;    review       proposed
                     letter motion re:                              :    KBT Team
                    call;
                    . . . .; conference to discuss                        and
                                        review
                                        ;                       motion          to
                    file under seal declaration;

                                        .


         05/19/20   KALITAMARA L. MOODY                                                           9.10
                    Call with ASPG and ARJM re 11111111.; draft and
                    revise motion to seal per ARJM; research re
                    lllllllllllllllllllllllllilllllllllllllll per ASPG;
                    sealing application; draft and revise
                    conclusions of law.

        05/19/20    ANDREW MUIR                                                                  12.70
                    Research
                                       1111       ; calls with A.
                    St. Peters-Grifith, M. Sandgrund, R. Rossi and
                    K. Moody re
                                                    ; continue to
                    draft proposed findings of fact.'
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         05/19/20   MAXWELL SANDGRUND                                                             4.10
                    Draft and review of email correspondence with
                           11111111111 regarding 111111111111111111111
                           ; telephone conference with A. Muir
                    regarding legal research; conducted and
                    reviewed legal research regarding       !!!!!!!!!!!!!!!!!!!!•
                    draft of letter to court regarding


         05/19/20   SAMUEL RATTIGAN                                                                .90
                    Update Docket filings related to Plaintiffs
                    Motion for Preliminary Injunction and
                    Opposition to same.

         05/20/20   ANN M. ST. PETER-GRIFFITH                                                    10.70
                    Review and revise letter motion to strike
                    Rotman declaration; conference with R. Rossi;
                    draft and revise proposed findings of fact and
                    conclusions of law; review court's orders;
                    attend to email to Rotman; review proposed
                              of
                    findings; of   fact•~==========~~~~.
                              review I              and R. Rossi
                    designations.

         05/20/20   KALITAMARA L. MOODY                                                           7.60
                    Draft and revise conclusions of law per ARJM;
                    draft and revise findings of fact per ARJM.

         05/20/20   ANDREW MUIR                                                                 11.80
                    Revise draft letter motion to strike the Rotman
                    affirmation; call with A. St. Peters-Griffith
                    re proposed findings of fact and continue to
                    draft proposed findings of fact, including
                    review declarations and deposition testimony,
                    and coordinate with litigation team regarding
                    action items.

         05/20/20   MAXWELL SANDGRUND                                                            8.80
                    Draft and review of email correspondence with
                                      and the
                            egarding
                    telephone conference with
                    regarding                ; review of
                    declarations in preparation of preliminary
                    injunction brief; review of deposition
                    transcripts in preparation of preliminary
                    injunction brief; review of record and court
                    docket in preparation of preliminary injunction
                    brief; draft of preliminary injunction brief.
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         05/20/20   SAMUEL RATTIGAN                                                     .90
                    Work re
                                                            ; continue
                    work updating docket file w/ filings related to
                    Plaintiffs Motion for Preliminary Injunction
                    and Opposition to same; review/monitor the
                    Court's docket and work updating case file.

         05/21/20   MARC E. KASOWITZ                                                    .30
                    Review proposed findings of fact and conclusion
                    of law re

         05/21/20   ANN M. ST. PETER-GRIFFITH                                         10.50



                    •••llliill••·········;
                    Continue reviewing and editing Proposed
                    Findings of Fact and Conclusions of Law re
                                                  review   and revise
                                                review call
                    memorandum of law; KBT team call;   and with
                                                            revise
                    Attorney Rotman for court ordered meet and
                    confer; identify transcript pages for
                    submission.

         05/21/20   KALITAMARA L. MOODY                                                8.60
                    Research and draft and revise conclusions of
                    law; draft and revise proposed findings of
                    fact; preparations for filing.

         05/21/20   ANDREW MUIR                                                        5.10
                    Draft proposed findings of fact re evidence
                    from····-.
         05/21/20   ANDREW MUIR                                                        9.90
                    Prepare for call and meet and confer with R.
                    Rotman re sealing procedures; review and revise
                    draft memorandum of law and proposed findings
                    of fact.

         05/21/20   MAXWELL SANDGRUND                                                  8.80
                    Draft and review of email correspondence with
                                       regarding legal research and
                    filings; further draft of preliminary
                    injunction brief; review of proposed
                    conclusions of law; review of proposed findings
                    of fact; review of factuaJ. record in
                    preparation of filing; review and revise of
                    proposed facts and conclusions of law; review
                    of edits to briefs.

         05/21/20   AMANDA NUNEZ                                                      3.20
                    Phone call with K. Moody; Prepare Preliminary
                    Injunction Motion exhibits.
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         HC2, Inc. d/b/a Hire Counsel                             May 31,   2020      PAGE      17
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         05/21/20   SAMUEL RATTIGAN                                                     1. 90
                    Work updating documents in case file w/
                    1111111111111111111111111111111111111111111 and work
                    monitoring the Court's docket to update Docket
                    file.

         05/22/20   MARC E. KASOWITZ                                                     .40
                    Review filings and draft motion.

         05/22/20   RONALD R. ROSSI                                                     5.30
                    Attention to Delaney employment dispute re
                    llllllllllllllllllllllilllllilllillll•., review and
                     revise PI memo of law and supporting papers;
                    discuss same with AM and AS-G.

         05/22/20   ANN M. ST. PETER-GRIFFITH                                           7.10
                    Review draft memorandum of law; remit email to
                    R. Rotman re: designation of deposition
                    transcript pages;                     ; attend
                    to email with R. Rotman, Defense counsel re:
                    parties' joint submission of deposition
                    excerpts; review notice of motion; review Rossi
                    declaration; review filing submitted by Delaney
                    and identify cited exhibits;


         05/22/20   KALITAMARA L. MOODY                                                 8.30
                    Draft and revise proposed findings of fact and
                    conclusions of law per ARJM; assist with
                    preliminary injunction filing per ARJM.

         05/22/20   ANDREW MUIR                                                         2.30
                    Complete revising draft MOL and confirming
                    record citations.

         05/22/20   ANDREW MUIR                                                         7.60
                    Draft Rossi declaration for filing and
                    attention to finalizing all other papers for
                    filing on the public docket and under seal.

        05/22/20    MAXWELL SANDGRUND                                                 10.30
                     Draft and review of email correspondence 11111
                    lllllllllllllllllllllcegarding      ; review and
                     revise of proposed facts and conclusions of
                    law; review of exhibits in preparation of
                     filing and sealing; conducted and reviewed
                    legal research                           ; draft
                    of notice of motion in preparation of filing;
                    prepare exhibits for filing.
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         05/22/20   AMANDA NUNEZ                                                      4.10
                    Preparation for Preliminary Injunction Motion
                    filing.

         05/22/20   SAMUEL RATTIGAN                                                   2.60
                    Work updating docket folder w/ recent filings
                    related to HC2's Motion for Preliminary
                    Injunction and work quality checking exhibits
                    ISO of same to confirm correct exhibits filed.

         05/22/20   RICARDO P. MCLEAN                                                  .80
                    Prepare discovery documents for court filing as
                    requested by A. Nunez.

         05/23/20   KALITAMARA L. MOODY                                               2.30
                    Draft Preliminary Injunction hearing outline
                    per ARJM.

         05/23/20   MAXWELL SANDGRUND                                                  .50
                    Draft and review of email correspondence . . . .
                    ....................lregarding oral argument
                    preparation.

         05/24/20   KALITAMARA L. MOODY                                               3.30
                    Draft case timeline for PI hearing; oral
                    argument outline drafting.

         05/24/20   ANDREW MUIR                                                       5.60
                    Draft oral argument preparation materials,
                    including chart of contract provisions and
                    revise argument outline, chronology and
                    evidence of improper disclosures.

         05/24/20   MAXWELL SANDGRUND                                                2.30
                    Draft and review of email correspondence . . . .
                               . . . . . .ll~egarding
                               ; review of
                                     ; review of
                    declaration and deposition;



        05/25/20    RONALD R. ROSSI                                                  2.70
                    Prepare for PI hearing re Delaney employment
                    dispute.

        05/25/20    KALITAMARA L. MOODY                                              3.10
                    Preliminary Injunction hearing preparations per
                    ARJM.
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         05/25/20   ANDREW MUIR                                                       2.50
                    Review authorities cited
                                                in order to update
                    R. Rossi re same in preparation for preliminary
                    injunction hearing.

         05/25/20   MAXWELL SANDGRUND                                                  .60
                    Review of email correspondence from . . . .
                    ••••••••!regarding oral argument
                    preparation; review of case summaries in
                    preparation of oral argument.

         05/26/20   MARC E. KASOWITZ                                                   .50
                    Work re oral argument and report.

         05/26/20   RONALD R. ROSSI                                                   5.60
                    Prepare for and attend PI hearing re Delaney
                    employment dispute; debrief w AS-G, MEK, ~
                    •llliil•llliil••••lli•••••••••••llre same.
                                                            same.
         05/26/20   ANN M. ST. PETER-GRIFFITH                                         3.10
                    Conference with R Rossi; attend preliminary
                    injunction hearing re Delaney employment
                    dispute; conference with K. Moody and A. Muir.

         05/26/20   ANDREW MUIR                                                       4.10
                    Review counterclaims and begin researching
                    grounds to dismiss in preparation for drafting
                    motion to dismiss; prepare materials for and
                    attend preliminary injunction hearing re
                    Delaney employment dispute.

        05/26/20    MAXWELL SANDGRUND                                                1. 20
                    Draft and review of email correspondence . . . .
                    • • • • • • • • • • • regarding oral argument;
                    review of court rules regarding oral argument;
                    review of defendant's counterclaims; review of
                    court updates.

        05/26/20    SAMUEL RATTIGAN                                                  1. 30
                    Continue work updating case Docket file w/
                    recently filed exhibits ISO of HC2's Motion for
                    Preliminary Injunction and work updating and
                    organizing all documents filed under seal.

        05/27/20    MARC E. KASOWITZ                                                   .30
                    Work re Judge Liman decision; work re
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         05/27/20   RONALD R. ROSSI                                                       1.80
                    Attend PI hearing re Delaney employment
                    dispute; numerous discussions debriefing re
                    same.

         05/27/20   ANN M. ST. PETER-GRIFFITH                                             4.10
                    Attend to email re:
                    ..11111111; draft letter to Court and assemble
                    case exhibits;                         ; attend
                    conference with Court announcing order; attend
                    to email re:              ; conference with R.
                    Rossi re:

         05/27/20   KALITAMARA L. MOODY                                                     .60
                    Draft and revise letter to the Court per ASPG.

         05/27/20   ANDREW MUIR                                                           1.10
                    Attend hearing re order on application for
                    preliminary injunction.

         05/27/20   ANDREW MUIR                                                           3.00
                    Research causes of action alleged in
                    counterclaims in preparation for motion to
                    dismiss.

         05/27/20   MAXWELL SANDGRUND                                                      .80
                    Draft and review of email correspondence ~
                    • • • • • • • • • • l r e g a r d i n g oral argument;
                    review of legal research regarding potential
                    motion to dismiss of counterclaims.

         05/28/20   RONALD R. ROSSI                                                       1. 20
                    Attention to MTD Delaney counterclaims; discuss
                    same w AM and AS-G.

         05/28/20   ANN M. ST. PETER-GRIFFITH                                             1. 40
                    Conference with R. Rotman re:

                                   ;   KBT team call re: counterclaims;


        05/28/20    ANDREW MUIR                                                           2.40
                    Attention to response to        re         ,
                    attention to ordering transcript of PI order;
                    correspond with M. Sandgrund re • • • • • • • •
                    •••lli•••••ll;     calls with A. St.
                    Peters-Griffith and R. Rossi re strategy for
                    responding to complaint; meet and confer call
                    with P. Rotman re . .11111111.
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         05/28/20   MAXWELL SANDGRUND                                                 7.80
                    Draft and review of email correspondence ~
                                      regarding               ;
                    review of                     in preparation of
                    legal research; conducted and reviewed legal
                    research regarding counterclaims in preparation
                    of motion to dismiss.

         05/29/20   RONALD R. ROSSI                                                   2.30
                    Attention to MTD.

         05/29/20   ANN M. ST. PETER~GRIFFITH                                         2.30
                    Team call re: Motion to Dismiss strategy re

                    ••••ilt;
                    Delaney's counterclaims; attend to email with
                               attend to email with R. Rossi; draft
                    response email to R. Rotman re: enlargement;
                    conference call with
                    • • • •; conference call with R. Rotman
                    concerning enlargement.

         05/29/20   KALITAMARA L. MOODY                                               1..40
                    ••t=onference call re motion to dismiss
                    Delaney's counterclaims; conference call with
                    ARJM and MS re motion to dismiss.

         05/29/20   ANDREW MUIR                                                       4.00
                    Research case law re motions to dismiss
                    Delaney's counterclaims and correspond with
                    case team re research and drafting strategy.                                   ...


         05/29/20   MAXWELL SANDGRUND                                               11. 40
                    Draft and review of email correspondence ~
                    ••••••••••lar:egarding motion to dismiss
                    Delaney's counterclaims; participated in
                    telephone conferences
                    regarding motion to dismiss; review of
                    counterclaims in preparation of motion to
                    dismiss; conducted and reviewed legal research
                    regarding counterclaims in preparation of
                    motion to dismiss; draft of motion to dismiss.

         05/29/20   SAMUEL RATTIGAN                                                    .70
                    Review/monitor the Court's Docket in order to
                    confirm internal Docket file to be updated w/
                    all filings and confirm all upcoming hearings
                    dates are on calendar.

         05/30/20   ANDREW MUIR                                                      5.30
                    Revise draft motion to dismiss and call with M.
                    Sandgrund re same.
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            05/30/20   MAXWELL SANDGRUND                                               12.20
                       Draft and review of email correspondence ~
                       lllllllllllllllllllltr:egarding motion to dismiss;
                       participated in telephone conferences with A.
                       Muir regarding motion to dismiss; conducted and
                        reviewed legal research regarding counterclaims
                        in preparation of motion to dismiss; further
                       draft of motion to dismiss.

            05/31/20   KALITAMARA L. MOODY                                              4.30
                       Draft and revise motion to dismiss Delaney's
                       counterclaims per ARJM.

            05/31/20   ANDREW MUIR                                                     11. 90
                       Research re Delaney 1 s counterclaims and revise
                       draft motion to dismiss the same.

            05/31/20   MAXWELL SANDGRUND                                               10.10
                       Draft and review of email correspondence ~
                       111111111111111111• regarding motion to dismiss
                       Delaney' counterclaims; conducted and reviewed
                       legal research regarding                  n
                       preparation of motion to dismiss; further draft
                       of motion to dismiss.



                                TOTAL HOURS                                           692.90
                                                                                                     ..
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         HC2, Inc. d/b/a Hire Counsel                            May 31,    2020         PAGE   23
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                                               HOURS          RATE             AMOUNT
           PARTNER
           KIRSTEN c. JACKSON                  11. 30        600.00          6,780.00
           MARC E. KASOWITZ                     4.10       1,950.00          7, 995.00
           RONALD R. ROSSI                     85.30       1,150.00         98,095.00
           ANN M. ST. PETER-GRIFFITH           99.00         705.00         69,795.00

           ASSOCIATE
           KALITAMARA L. MOODY                113. 20        825.00         93,390.00
           ANDREW MUIR                        206.80         475.00         98,230.00
           MAXWELL SANDGRUND                  120.00         675.00         81,000.00

           PARALEGAL
           RICARDO P. MCLEAN                   35.80         315.00         11,277.00
           AMANDA NUNEZ                         7.30         325.00          2,372.50
           SAMUEL RATTIGAN                     10.10         195.00          1,969.50




                                TOTAL FEES                               $470,904.00

           FILING FEES                                                         400.00
           PROFESSIONAL SERVICES                                             5,523.15
           AUTOMATED RESEARCH                                                5,331.32
           DOCUMENT REPRODUCTION                                               391.02

                               TOTAL COSTS                                 $11, 645.49



                   TOTAL FEES AND COSTS                                  $482,549.49
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              Kasowitz Benson Torres LLP
              1633 Broadway
              New York, NY 10019




              MARC E. KASOWITZ
              Kl.2302201



              INVOICE NUMBER 2003622                                                May 31, 2020

              RE: HC2, Inc. d/b/a Hire Counsel          I Hire Counsel v. Delaney
              FOR INVESTIGATIVE SERVICES rendered through May 15, 2020

                                                                            HOURS          RATE                            AMOUNT

                05/15/2020 Investigative Duties.                             7.50      350.00                          2,625.00


                TOTAL HOURS/AMOUNT                                           7.50                                   $2,625.00



                TOTAL DISBURSEMENTS                                                                                 $2,447.93




                  FEES                                                                         $2,625.00

                  DISBURSEMENTS                                                                   2,447.93

                  SALES TAX                                                                             450.22
                  TOTAL AMOUNT DUE                                                             $5,523.15




              INTELLIGENCE OPTIONS LLC IS A SUBSIDIARY COMPANY OF THE LAW
              FIRM KASOWITZ BENSON TORRES LLP
FILED: NEWCase
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                                      KASOWITZ BENSON TORRES LLP
                                                 1633 BROADWAY                           ATl_ANTA
                                                                                        HOUSTON
                                             NEW YORK, NEW YORK 10019                  LOS ANGELES
               MARC E. t~Asownz
                                                                                          MIAMI
          DIRECT DIAL: 212-506-!710               (212) 506-1700
          DIRECT FAX: 2!2-835-5010
                                                                                         NEWARK
           MKASOWITZ@KASOWITZ.COM               FAX: (2!2) 506-!800                   SAN FRANCISCO
                                                                                      S!LICON VALLEY
                                                                                      WASHINGTON DC




                                                           September 25,       2020


               Joan Davison
               HC2, Inc. d/b/a Hire Counsel
               225 West Washington Street
               Chicago, IL 60606


               Re: Hire Counsel v. Delaney                                                                   .




               Dear Joan:

                        I hope you and your family are safe and well.

                    I enclose our invoice for professional services rendered
               and disbursements incurred from June through July 2020.  Also
               enclosed is a detailed summary of services.

                        Please let me know if you have any questions.                                       ..


                        Best.

                                                           Sincerely,



                                                           Marc E. Kasowitz


               Enclosures
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                                  KASOWITZ BENSON TORRES LLP
                                              1633 BROADWAY
                                        NEW YORK, NEW YORK l 0019-6799            FED. ID. XX-XXXXXXX
                                                 212-506-1700
                                          FACSIMILE: 212-506-1800




             HC2, Inc. d/b/a Hire Counsel
             Joan Davison
             225 West Washington Street
             Chicago, IL 60606




             INVOICE NO.: 2005911                                 September 25,     2020


             RE: Hire Counsel v. Delaney



             FOR PROFESSIONAL SERVICES rendered
             through the month of July 2020
             as reflected on the attached printout.



             Fees                                                        $153,922.50

             Less 10% Discount                                            (15,392.25)

             Total Fees                                                  $138,530.25

             Disbursements                                                     2,686.31

             Current Amount Due                                          $141,216.56

             Previous Balance                                             467,914.01

             TOTAL AMOUNT DUE                                            $609,130.57




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             12302201
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                                   KASOWITZ BENSON TORRES LLP
                                          1633 BROADWAY
                                     NEW YORK, NY 10019-6799


                                    Federal I.D. # XX-XXXXXXX




                                                                     JULY 31, 2020


         12302201
         HC2, Inc. d/b/a Hire Counsel
         Hire Counsel v. Delaney


         DATE       ATTORNEY OR ASSISTANT                                            HOURS


                                                                                                   ..
         06/01/20   RONALD R. ROSSI                                                   7.80
                    Review and revise draft MTD; legal research re
                    same; t/c w AS-G and AM re same; attention to
                    sealing issues.

         06/01/20   ANN M. ST. PETER-GRIFFITH                                         2.80
                    Review Motion to Dismiss draft; email Attorney
                    Rotman re: meet and confer concerning sealing;

                    strategy call with A. Muir; meet and confer
                                                                 '
                    with Delaney counsel; conference with R.
                    Rossi;.
                                                                                                   ...
         06/01/20   ANDREW MUIR                                                       6.80
                    Research and revise draft motion to dismiss
                    counterclaims.

         06/01/20   MAXWELL SANDGRUND                                                3.40
                    Draft and review of email correspondence ~
                    • • • • • • • • • • regarding motion to dismiss;
                    conducted and reviewed legal research regarding
                    counterclaims in preparation of motion to
                    dismiss; review and revise motion to dismiss.

         06/02/20   RONALD R. ROSSI                                                  8. 90
                    Draft MTD; legal research re same; numerous

                    w
                    and strategy.
                                               ••••iil•I
                    t/cs w AM re same; AS-G re sealing issues; t/c
                                      ; tic w             re status

         06/02/20   ANN M. ST. PETER-GRIFFITH                                        2.30
                    Continue revising/editing Motion to Dismiss;
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          06/02/20   KIRSTEN C. JACKSON                                                1. 00
                     Draft correspondence to • • • • • • • • • • •.

          06/02/20   KALITAMARA L. MOODY                                               2.30
                     Research in preparation for moving to dismiss
                     per ARJM.

          06/02/20   ANDREW MUIR                                                       9.60
                     Research and revise motion to dismiss
                     counterclaims; call with R.Rossi re arguments
                     in motion to dismiss.

          06/02/20   MAXWELL SANDGRUND                                                3.10
                     Draft and review of email correspondence ~
                     • • • • • • • • • • regarding motion to disrniss;
                     conducted and reviewed legal research regarding
                     counterclaims in preparation of motion to
                     dismiss; review of court rules in preparation
                     of motion to dismiss.

          06/02/20   MATTHEW LAWRENCE                                                 2.00
                     Review •••••••••••••case Law;
                     correspond with A. Muir, K. Moody, and M.
                     Sandgrund regarding same.

         06/03/20    MARC E. KASOWITZ                                                   .20
                     Review correspondence.

         06/03/20    RONALD R. ROSSI                                                  6.20
                     Draft MTD and finalize supporting papers; t/c w
                     AM re same; attention to         •lli•I; t/c
                     with AS-G re same; t/c w          re same.

         06/03/20    ANN M. ST. PETER-GRIFFITH                                        6.40
                     Prepare letter to court re: sealing and
                     scheduling; evaluate what will be unsealed;
                     attend to         ; conference with • • • • •,
                     review and provide comments re: Motion to
                     Dismiss; attending to drafting/editing proposed
                     order.

         06/03/20    KALITAMARA L. MOODY                                              5.90
                     Draft and revise motion to dismiss per ARJM;
                     draft and revise letter motion to seal per
                     ASPG.

         06/03/20    ANDREW MUIR                                                      9.10
                     Conduct additional research re
                     sections alleged in counterclaims and revise
                     draft motion to dismiss.
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         HC2, Inc. d/b/a Hire Counsel                              Jul 31,   2020      PAGE     3
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         06/03/20   MAXWELL SANDGRUND                                                   12.40
                    Draft and review of email correspondence . . . .
                    111111111111111111~ regarding motion to dismiss;
                    review and revise motion to dismiss; prepare
                    motion to dismiss for filing; draft of notice
                    of motion; conducted and reviewed legal
                    research regarding counterclaims in preparation
                    of motion to dismiss.

         06/03/20   SAMUEL RATTIGAN                                                       .90
                    Draft shell of declaration of R. Rossi ISO
                    HC2's Motion to Dismiss Counterclaims; work
                    finalizing exhibits ISO of Motion to Dismiss
                    Counterclaims.

         06/04/20   MARC E. KASOWITZ                                                      .50
                    Review correspondence; work re strategy.

         06/04/20   ANN M. ST. PETER-GRIFFITH                                             .60
                    Review notice from Court re: proposed order;
                    review redactions and attend to related email; .

         06/04/20   MAXWELL SANDGRUND                                                     .10
                    Review of docket.

         06/04/20   SAMUEL RATTIGAN                                                       .70
                    Work updating docket file w/ HC2's motion to
                    dismiss Defendant's counter-claims;
                    review/monitor the court's docket in order to
                    confirm docket file to be up to date.

         06/05/20   ANN M. ST. PETER-GRIFFITH                                             .10
                    Attend to email with llllllllllllllllllllllll~e:
                    response from Delaney to our letter motion
                    concerning sealing.

         06/05/20   MAXWELL SANDGRUND                                                     .20
                    Draft and review of email correspondence . . . .
                                      regarding legal research.

        06/06/20    MATTHEW LAWRENCE                                                    1. 80
                    Research case law concerning 11111111111111111111
                                                 .


        06/08/20    KIRSTEN C. JACKSON                                                    .70
                    Review and revise correspondence to 1111111

        06/08/20    MAXWELL SANDGRUND                                                   3.60
                    Draft and review of email correspondence . . . .
                    lllllllllllllllll~egarding llllllllilllllilllllli.
                    conducted and reviev.Jed legal research regarding
FILED: NEWCase
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         HC2, Inc. d/b/a Hire Counsel                            Jul 31,   2020     PAGE      4
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                                                        .


         06/08/20   MATTHEW LAWRENCE                                                  1. 70
                    Research case law concerning 11111111111111111111
                    11111111111111111111111111111 and correspond with
                    A. Muir, K. Moody, and M. Sandgrund regarding
                     same.

         06/09/20   RONALD R. ROSSI                                                     .30
                    T/c with • • • • • • r e · - - - ·

         06/09/20   KIRSTEN C. JACKSON                                                  .50
                    Review and revise correspondence to 11••1

         06/09/20   MAXWELL SANDGRUND                                                 1. 20
                    Review of Delaney answer; conducted and
                    reviewed legal research regarding 1111111111111


         06/10/20   MARC E. KASOWITZ                                                    .30
                    Review emails.

         06/10/20   KIRSTEN C. JACKSON                                                  .50
                    Review and revise correspondence to 11••1.

         06/10/20   ANDREW MUIR                                                         .60
                    Prepare documents in response to request ~
                    lllli•I and attention to transmitting same.
         06/12/20   ANDREW MUIR                                                         .60
                    Attention to   research   re



         06/12/20   MAXWELL SANDGRUND                                                 4.30
                    Draft and review of email correspondence with
                    A. Muir regarding                ; conducted and
                    reviewed legal research regarding 11•••1


         06/14/20   KALITAMARA L. MOODY                                               1. 30
                    Review
                                                    per ARJM.

         06/15/20   ANN M. ST. PETER-GRIFFITH                                          .70
                    Attend to email with          re:
                                                ; conference with
                    K. Moody re: same; attend to team email re:
FILED: NEW Case
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          HC2, Inc. d/b/a Hire Counsel                                Jul 31,   2020      PAGE      5
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          06/15/20    ANDREW MUIR                                                           2.60
                      Attention to research regarding


          06/15/20    MAXWELL SANDGRUND                                                     3.30
                      Draft and review of email correspondence with
                      A. Muir regarding legal research; conducted and
                      reviewed legal research regardj_ng


          06/16/20    ANN M. ST. PETER-GRIFFITH                                              .30
                      Conference with R. Rossi; attend to email to . . .
                           re:
                                 .



          06/16/20    ANDREW MUIR                                                            .60
                      Attention to deposition confidentiality
                      designations                            re same.

          06/16/20    ANDREW MUIR              1
                                                                                            1. 00
                      Call with M.Sandgrund re


          06/16/20    MAXWELL SANDGRUND                                                     4.80
                      Draft and review of email correspondence with
                      A. Muir regarding legal research; telephone
                      conference with A. Muir regarding legal
                      research; conducted and reviewed legal research
                      regarding personal service requirements; draft
                      of letter to defendant's counsel regarding
                      personal service.

          06/17/20    ANN M. ST. PETER-GRIFFITH                                              .40
                      Attend to email re: _111111111111111

                     ....           ; conference with


          06/17/20    ANDREW MUIR                                                           3.40
                     Attention to submitting
                                  to             ; research
                                                                       and
                      begin revising draft letter to opposing
                      counsel; conference with A. St.Peters-Griffith
                      re same.

          06/17/20    MAXWELL SANDGRUND                                                    1. 30
                      Draft and review of email correspondence with
                      A. Muir regarding                ; conducted and
                      reviewed legal research
FILED: NEWCase
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         HC2, Inc. d/b/a Hire Counsel                           Jul 31,   2020     PAGE     6
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         06/18/20   RONALD R. ROSSI                                                  1.50
                    Review opposition to MTD, discuss same with AM
                    and AS-G.

         06/18/20   ANN M. ST. PETER-GRIFFITH                                        1.10
                    Review opposition to motion to dismiss
                    counterclaims; team conference call; attend to
                    email from K. Moody re:


         06/18/20   KALITAMARA L. MOODY                                              1.40
                    Prepare for and attend call re
                                                    with RRR, ASPG,
                    ARJM, and MS; review Delaney opposition to
                    motion to dismiss per ARJM.

         06/18/20   ANDREW MUIR                                                      1.70
                    Begin analyzing opposition to motion to dismiss
                    and call with litigation team regarding reply.

         06/18/20   ANDREW MUIR                                                      2.40
                    Analyze research regarding 1111111111111111111111
                    and revise draft letter to Delaney's counsel re
                    acceptance of service.

         06/18/20   MAXWELL SANDGRUND                                                2.30
                    Draft and review of email correspondence ~
                    llllllllll~egarding motion to dismiss; telephone
                    conference with           regarding motion to
                    dismiss; review of defendant's opposition to
                    motion to dismiss; review of motion to dismiss;
                    review of complaint.

        06/18/20    SAMUEL RATTIGAN                                                  3.70
                    Work organizing and indexing materials for ARJM
                    in preparation for drafting Reply to Motion to
                    Dismiss; monitor/review the Court's docket in
                    order to confirm case docket file to be up to
                    date and all upcoming hearings and deadlines
                    confirmed.

        06/19/20    ANDREW MUIR                                                       .80
                    Begin drafting arguments for reply in further
                    support of motion to stay.

        06/20/20    ANDREW MUIR                                                      4.60
                    Analyze Delaney 1 s counterclaims and begin to
                    research case law for inclusion in reply in
                    support of Motion to dismiss.
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         HC2, Inc. d/b/a Hire Counsel                           Jul 31,   2020     PAGE      7
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         06/21/20   ANN M. ST. PETER-GRIFFITH                                          .50
                    Conference with A. Muir re: reply to opposition
                    to Motion to Dismiss.

         06/21/20   ANDREW MUIR                                                     10.00
                    Review counterclaims and opposition, research
                    case law in opposition brief and draft reply.

         06/22/20   RONALD R. ROSSI                                                  1. 30
                    Attention to reply brief re MTD.

         06/22/20   ANDREW MUIR                                                     13.10
                    Research and draft reply in further support of
                    motion to dismiss.

         06/23/20   RONALD R. ROSSI                                                  8.80
                    Attention to review and revision of reply to
                    MTD; numerous correspondence and t/c w AM re
                    same.

         06/23/20   PAUL BURGO                                                         .10
                    Review audit letter and related corr. w/ R.
                    Rossi, G. Schryver, B. Rutcofsky, and J. Recine
                    re saine.

         06/23/20   ANN M. ST. PETER-GRIFFITH                                          .50
                    Review and revise Reply memorandum to
                    Opposition to Motion to Dismiss Counterclaim;



         06/23/20   ANDREW MUIR                                                      4.60
                    Revise draft reply in further support of motion
                    to dismiss counterclaims based on review by R.
                    Rossi.

         06/23/20   MAXWELL SANDGRUND                                                4.60
                    Draft and review of email correspondence ~
                             regarding reply brief; review of reply
                    brief; conducted and reviewed legal research
                    regarding abuse of process; conducted and
                    reviewed legal research regarding defamation.

         06/23/20   SAMUEL RATTIGAN                                                  1. 10
                    T/C w/ ARJM re preparing draft letter to~
                    and work drafting same; review/monitor the
                    Court 1 s docket to confirm case docket file to
                    be current.
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         06/24/20   RONALD R. ROSSI                                                       5.20
                    Attention to review and revision of reply brief
                    to MTD; supervise filing of same.

         06/24/20   ANDREW MUIR                                                           2.70
                    Finalize reply brief and attention to filing
                    same.

         06/24/20   MAXWELL SANDGRUND                                                     1. 80
                    Draft and review of email correspondence ~
                    . . . . . .~nd . . . . . . . . . . . . . . . . .. . .
                    regarding reply brief; review of reply brief;
                    conducted and reviewed legal research regarding
                    abuse of process; conducted and reviewed legal
                    research regarding defamation.

         07/02/20
                    Review   ••••I
                    KIRSTEN C.   JACKSON
                                       .
                                                                                          l . 20


         07/02/20   ANDREW MUIR                                                           4.00
                    Attention to 11111111111111111111111111~ issues.

         07/06/20   SAMUEL RATTIGAN                                                         .30
                    Initial reviews of deposition notices for
                    Hartstein, Davison, and Ayala and work saving
                    same to case file.

         07/08/20   ANDREW MUIR                                                            .60
                    Revise, finalize and transmit letter to R.
                    Rotman re service.

        07/10/20    ANDREW MUIR                                                            .60
                    Analyze response from opposing counsel; draft
                    reply and coordinate with R. Rossi; correspond
                    with opposing counsel re acceptance of service.

        07/10/20    MAXWELL SANDGRUND                                                      .40
                    Review of email correspondence from A. Muir
                    regarding case update; review of defendant
                    document requests.

        07/13/20    KIRSTEN c. JACKSON                                                    2.00
                    Attention to                           issues.

        07/13/20    ANDREW MUIR                                                            .30
                    Attention to                           issues.

        07/13/20    SAMUEL RATTIGAN                                                        .20
                    Work updating case file w/ Delaney's second
                    discovery requests and recently filed Court
                    Order.
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          HC2, Inc. d/b/a Hire Counsel                             Jul 31,   2020   PAGE      9
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          07/14/20    ANDREW MUIR                                                       .40
                      Attention to • • • • • • • • • • • issues.

          07/15/20    ANDREW MUIR                                                       .20
                      Confirm delivery of document production to
                      client and correspond with client re same.

          07/16/20    ANDREW MUIR                                                     1. 30
                      Attention to • • • • • • • • • • • • • •


         07/17/20     MARC E. KASOWITZ                                                  .20
                      Review Judge Liman decision.

         07/17/20     RONALD R. ROSSI                                                 1. 20
                      Attend conference re MTD decision, update trial
                      team re same.

         07/17/20     ANDREW MUIR                                                       .40
                      Attend hearing re motion to dismiss.

         07/17/20     MAXWELL SANDGRUND                                                 .30
                      Draft and review of email correspondence with
                      R. Rossi regarding court conference; review of
                      court docket.

         07/20/20     ANDREW MUIR                                                     3.00
                      Review               , prior requests from
                              , orders re filing under seal and
                      protective order and draft reply to        for
                      use by R. Rossi.

         07/21/20     ANDREW MUIR                                                     4.90
                      Review and revise draft letters to opposing                                 ..

                      counsel re discovery; attention to researching,
                      preparing and filing certificate of service re
                      summons and complaint.

         07/21/20     MAXWELL SANDGRUND                                                .30
                      Draft and review of email correspondence with
                      A. Muir regarding service dates.

         0·7 /21/20   SAMUEL RATTIGAN                                                  .40
                      Work editing and preparing emails to be used as
                      exhibits ISO declaration to dismiss
                      counter-claims.

         07/22/20     ANDREW MUIR                                                     1. 60
                      Revise correspondence re discovery deficiencies
                      and correspond with R. Rossi re same.
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          HC2, Inc. d/b/a Hire Counsel                             Jul 31, 2020       PAGE     10
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          07/23/20   ANDREW MUIR                                                         .70
                     Finalize correspondence to opposing counsel re
                     discovery and transmit same; draft update to
                                                                   .
                     and correspond with ......................... .

          07/23/20   SAMUEL RATTIGAN                                                     .90
                     Finalize outgoing correspondence from ARJM;
                     work researching requirements and costs and
                     ordering transcript of hearing re motion to
                     dismiss counterclaims.

          07/24/20   KIRSTEN C. JACKSON                                                  .50
                                                                    .
                     Strategy re: .................................

          07/29/20   SAMUEL RATTIGAN                                                     .20
                     Review/monitor the Court's docket to confirm
                     case file to be current.

          07/30/20   ANDREW MUIR                                                         .20
                     Attention to upcoming deadlines re settlement
                     conference.

          07/30/20   SAMUEL RATTIGAN                                                     .30
                     Review/monitor the Court's docket and work
                     updating case docket file.



                               TOTAL HOURS                                            229.50
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                                               HOURS           RATE           AMOUNT
           PARTNER
           PAUL BURGO                            .10       1,075.00           107.50
           KIRSTEN C. JACKSON                   6.40          600.00        3,840.00
           MARC E. KASOWITZ                     1. 20      1,950.00         2,340.00
           RONALD R. ROSSI                     41. 20      1, 150.00       47,380.00
           ANN M. ST. PETER-GRIFFITH           15.70          705.00       11,068.50

           ASSOCIATE
           MATTHEW LAWRENCE                     5.50          475.00        2,612.50
           KALITAMARA L. MOODY                 10.90          825.00        8,992.50
           ANDREW MUIR                         92. 40         475.00       43,890.00
           MAXWELL SANDGRUND                   47.40          675. 00      31, 995.00

           PARALEGAL
           SAMUEL RATTIGAN                      8.70         195.00         1,696.50




                               TOTAL FEES                                $153,922.50

           OFFICIAL RECORDS SEARCH                                             76.90
           PROFESSIONAL SERVICES                                              443.53
           AUTOMATED RESEARCH                                               1,990.91
           DOCUMENT REPRODUCTION                                              153.18
           DOCUMENT DELIVERY                                                   21. 7 9

                             TOTAL COSTS                                   $2,686.31



                   TOTAL FEES AND COSTS                                  $156,608.81
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                                            K A S 0 W IT Z BENSON T 0 RR E S LL P
                                                         1633 BROADWAY                              ATLANTA
                                                                                                    HOUSTON
                                                     NEW YORK, NEW YORK 10019                     Los ANGELES
                MARC E. l<Asow1rz                                                                    MIAMI
           DIRECT DIAL: 212-506-1710                       (212) 506-1700
                                                                                                    NEWARK
           DIRECT fAx: 212-835-5010
            MKASO't/!J~@KASO,V:1U:i"..~QM
                                                         FAX: (212) 506-1800                     SAN FRANCISCO
                                                                                                 SILICON VALLEY
                                                                                                 WASHINGTON DC




                                                                    October 15, 2020


               Joan Davison
               HC2, Inc. d/b/a Hire Counsel
               225 West Washington Street
               Chicago, IL 60606


               Re: Hire Counsel v. Delaney                                                                              --




               Dear Joan:

                            I hope you and your family are safe and well.

                    I enclose our invoice for professional services rendered
               and disbursements incurred through August 2020. Also enclosed
               is a detailed sununary of services.

                           Please let me know if you have any questions.                                                ..


                           Best.

                                                                    Sincerely,



                                                                    Marc E. Kasowitz


               Enclosures
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                                      KASOWITZ BENSON TORRES LLP
                                                1633 BROADWAY
                                          NEW YORK, NEW YORK 10019-6799            !'ED. JD. XX-XXXXXXX
                                                  212-506-1700
                                             FACSIMILE: 212-506-1800




               HC2, Inc. d/b/a Hire Counsel
               Joan Davison
               225 West Washington Street
               Chicago, IL 60606



               INVOICE NO.: 2006506                               October 15, 2020


               RE: Hire Counsel. v.    Delaney



               FOR PROFESSIONAL SERVICES rendered
               through the month of August 2020
               as reflected on the attached printout.



               Fees                                                            $1,674.50

               Less 10% Discount                                                 (167.45)

               Total Fees                                                      $1,507.05

               Disbursements                                                      332.91

               Current Amount Due                                              $1,839.96

               Previous Balance                                            576, 675. 65
               TOTAL AMOUNT DUE                                           $578,515.61




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               12302201
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                                    KASOWITZ BENSON TORRES LLP
                                           1633 BROADWAY
                                     NEW YORK, NY 10019-6799


                                     Federal I.D. # XX-XXXXXXX




                                                                     AUGUST 31,   2020


          12302201
          HC2, Inc. d/b/a Hire Counsel
          Hire Counsel v. Delaney


          DATE       ATTORNEY OR ASSISTANT                                               HOURS



          07/17/20 DANIEL R. BENSON                                                        .50
                    Work re                    re J. Liman decision.

          08/03/20 SAMUEL RATTIGAN                                                         .10
                    Confer w/ ARJM re status of hearing transcript
                    on motion to dismiss counterclaims.

          08/04/20 SAMUEL RATTIGAN                                                         .30
                    Email w/ SD Reporters re the status of
                    transcript from hearing on Motion to Dismiss
                    Counter-Claims and work updating case file re
                    same.

          08/07/20 SAMUEL RATTIGAN                                                         .20
                    Update case file w/ recently filed notice of
                    counsel and review/monitor the Court's Docket
                    to confirm file to be complete.

          08/10/20 SAMUEL RATTIGAN                                                         .10
                    Update case discovery folder w/ HC2's responses
                    to Delaney's second discovery requests.

          08/11/20 SAMUEL RATTIGAN                                                         .20
                    Update case file w/ recently file Notice of
                    Filing of Transcript and confer w/ ARJM re
                    the Court's error in same.

          08/12/20 SAMUEL RATTIGAN                                                         .70
                    Update case Docket file w/ recently filed
                    letter motions and responses to same and work
                    re general file maintenance.

          08/13/20 SAMUEL RATTIGAN                                                         .20
                    Work w/ B. Guignard and J. Hernandez re
                    payment of invoice for hearing transcripts.
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         08/14/20 SAMUEL RATTIGAN                                                         .10
                   Review/monitor the Court's docket to identify
                   any new filings not in the case Docket folder.

         08/17/20 SAMUEL RATTIGAN                                                         .40
                   Work reviewing case file to confirm all recent
                   filings and communications are in same.

         08/18/20 SAMUEL RATTIGAN                                                         .30
                   Review/monitor the Court's Docket ot confirm
                   case Docket folder to be complete.

         08/20/20 SAMUEL RATTIGAN                                                         .30
                   Monitor/review the Court's Docket to identify
                   any new filings not in the case file and
                   confirm all hearings to be calendared.

        08/25/20 SAMUEL RATTIGAN                                                          .90
                  Review/monitor the Court's docket and multiple
                  emails from MAO fwd recent filings and work
                  updating case docket file w/ multiple same.

        08/26/20 SAMUEL RATTIGAN                                                          .30
                  Review/monitor the Court's Docket to confirm
                  case Docket folder to be complete.



                             TOTAL HOURS                                             4.60
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                                               HOURS          RAT8           AMOUNT
           PARTNER
           DANIEL R. BENSON                      .50       1,750.00          875.00

           PARALEGAL
           SAMUEL RATTIGAN                      4.10         195.00          799.50




                               TOTAL FEES                                $1,674.50

           OFFICIAL RECORDS SEARCH                                             7.30
           AUTOMATED RESEARCH                                                325.61

                              TOTAL COSTS                                  $332.91



                   TOTAL FEES AND COSTS                                  $2,007.41
                                                                                      .HJea
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                  Ogletree                                           Submit Via E-Mail Only-
                                                                     Do Not Send Hard Copy
                                                                                                                                OGLETREE, DEAKINS, NASH,
                                                                                                                                SMOAK & STEWART, P.C.


                  Deal<ins                                                                                                     Attorneys at Law
                                                                                                                               Administrative Office
                                                                                                                               50 International Drive
                                                                                                                               Patewood IV, Suite 200
                                                                                                                               Greenville, SC 29615
                                                                               July 27, 2020                                   Telephone: (864) 241-1900
                                                                                                                               Facsimile: (864) 241-1908
                                                                                                                               www.ogletreedeakins.com


                Stephanos Zannikos
                Hire Counsel Legal and Review Management
                SZannikos@hirecounsel.com

                PERSONAL AND CONFIDENTIAL
                                                                                                                            Bill# 90238562
                                                                                                                            Client.Matter# 029879.000036

                Re: Hire Counsel v. Andrew Delaney (USDC SONY)

                        ALLIANZ Claim No. SF-USFF03539920

                        1 :20-cv-03178-LJL

                For professional services rendered through June 30, 2020, in connection with the above-referenced matter
                as outlined on the attached detailed billing sheets:

                Fees ................................................................................................................................................. $7,059.15
                Expenses ................................................................................................................................................. $0.00

                Total Due This Bill .......................................................................................................................... $7,059.15




                                         Wire Pa ments                                                         ACHPa ments

                                                                                                                                    ..
                        Credit to Ogletree Deakins Nash Smoak & Stewart I Please Include bill numbers f Federa! Tax ID: • • • • , DUNS#: • • •
                                                                                                                                                       Check Payments
                                                                                                                                                      PO Box 89
                                                                                                                                                      Columbia, SC 29202




                         Payable upon receipt. Direct inquiries to the billing attorney or the Account Services Department (864) 241-1801.
                                  If you would like to receive your bills via e-mail, please notify Bllling2@ogletreedeakins.com

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      Nashville • New Orleans • New York City • Oklahoma City • Orange County • Paris (France) • Philadelphia • Phoenix • Pittsburgh • Portland, ME • Portland, OR • Raleigh
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                   COUNTY CLERK 06/04/2024 02:24 PM                      INDEX NO. 155158/2024
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            Dealzins                                                                              Bill No. 90238562
                                                                                               029879.000036-CRP

            Stephanos Zannikos
            Hire Counsel Legal and Review Management
            SZannikos@hirecounsel.com


            Re:    Hire Counsel v. Andrew Delaney (USDC SONY)

                   ALLIANZ Claim No. SF-USFF03539920

                   1 :20-cv-03178-LJL


            For professional services rendered through June 30, 2020

            Date         Initials   Description                                              Hours         Amount
            06/05/20     VLW        Analyze and review pleadings.                             1.70           589.05
                                                                                                                       ..
            06/09/20     MN         Review publications relating to Andrew Delaney.           0.30           120.15
            06/09/20     MN         Correspondence with                                       0.10            40.05
                                                                                   s
            06/10/20     MN                                                                   1.50           600.75

            06/11/20     MN         Continue review of voluminous documents received          4.60         1,842.30
                                    from client; research on Andrew Delaney.
            06/11/20     AA         Download and send all available documents from            0.90           186.30
                                    1:20 CV 3178.
            06/12/20     MN         Phone call with                                           0.40           160.20
            06/12/20     MN         - i e w of deposition transcript o f -                    2.50         1,001.25

            06/15/20     MN         Continue review of~eposition.                             0.80           320.40
            06/18/20     MN         Confer with Valerie Weiss regarding case status.          0.30           120.15
            06/18/20     MN         Continue review of comiililiii'nts and                    1.30           520.65
                                    deposition transcript of
            06/22/20     VLW        Analyze and review case documents, including              2.30           796.95
                                    performance documents.
            06/23/20     MN         Continue review of voluminous company                     1.20           480.60
                                    documents.
            06/24/20     MN         Continue review of-deposition.                            0.70           280.35
                                                      Total Services:                        18.60         7,059.15

                                                      Timekeeper Summary
           Timekeeper                          Title                                 Rate   Hours          Amount
           Valerie L. Weiss                    Associate                           346.50     4.00         1,386.00
           Michael Nacchio                     Of Counsel                          400.50    13.70         5,486.85
           Andrea Alexander                    other                               207.00     0.90           186.30
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                                 . .
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           Deal<ins                                                           Bill No. 90238562
                                                                           029879.000036-CRP


                                                       TOTAL FEES                     $7,059.15
                                                   TOTAL EXPENSES                         $0.00
                                                    TOTAL THIS BILL                   $7,059.15
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 . Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                                  . .
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                                                                                                                                         RECEIVED  190     06/04/2024




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                                                                                                                               OGLETREE, DEAKINS, NASH,
                                                                                                                               SMOAK & STEWART, P.C.


                   Deal<ins                                                                                                   Attorneys at Law
                                                                                                                              Administrative Office
                                                                                                                              50 International Drive
                                                                                                                              Patewood IV, Suite 200
                                                                                                                              Greenville, SC 29615
                                                                            August 11, 2020                                   Telephone: (864) 241-1900
                                                                                                                              Facsimile: (864) 241-1908
                                                                                                                              www.ogletreedeakins.com


                Stephanos Zannikos
                Hire Counsel Legal and Review Management
                SZannikos@hirecounsel.com

                PERSONAL AND CONFIDENTIAL
                                                                                                                           Bill # 90256490
                                                                                                                           Client.Matter# 029879.000036

                Re: Hire Counsel v. Andrew Delaney (USDC SONY)

                        ALLIANZ Claim No. SF-USFF03539920

                        1 :20-cv-03178-LJL

                For professional services rendered through July 31, 2020, in connection with the above-referenced matter
                as outlined on the attached detailed billing sheets:

                Fees ............................................................................................................................................... $19,926.00
                Expenses .......................................................................................................................................... $1, 115.00

                Total Due This Bill ........................................................................................................................ $21,041.00




                                        Wire Pa ments                                                         ACHi'a ments

                                                                                                                                   ..
                       Credit to Ogletree Deakins Nash Smoak & Stewart I Please include bill numbers I Federal Tax ID: • • • • , DUNS#: • • •
                                                                                                                                                       Check Payments
                                                                                                                                                      PO Box 89
                                                                                                                                                      Co!umbfa, SC 29202




                         Payable upon receipt. Direct inquiries to the bH!ing attorney or the Account Services Department {864) 241-1801.
                                  If you would like to receive your bills via e-mail, please notify Bil!ing2@ogletreedeakins.com

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      Nashville • New Orleans • New York City • Oklahoma City • Orange County • Paris (France) • Philadelphia • Phoenix • Pittsburgh • Portland, ME • Portland, OR • Raleigh
      Richmond• St. Louis •St. Thomas• Sacramento• San Antonio· San Diego· San Francisoo • Seattle• Stamford •Tampa •Toronto (Canada)• Torrance ·Tucson ·Washington
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           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
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                                                                                                        08/11/20
           Deakins                                                                            Bill No. 90256490
                                                                                           029879.000036-CRP

           Stephanos Zannikos
           Hire Counsel Legal and Review Management
           SZannikos@hirecounsel.com


           Re: Hire Counsel v. Andrew Delaney (USDC SONY)

                  ALLIANZ Claim No. SF-USFF03539920

                  1 :20-cv-03178-LJL


           For professional services rendered through July 31, 2020

           Date         Initials   Description                                           Hours         Amount
           07/07/20     MN         Review and respond to email f r o m -                  0.20            80.10
                                   - a b o u t upcoming motion date.
          07/13/20      MN         Strategy call with                                     0.80           320.40
          07/13/20      MN         Continue further r e v i e -documents and              2.20           881.10
                                   motions received from
          07/14/20      MN         Continue review of case documents, including           4.70         1,882.35
                                   complaint and counterclaim; timeline documents;
                                   motion to dismiss counterclaim· spreadsheets
                                   created by                       and related
                                   documentation for fact investigation/development;
                                   review of Delaney's written discovery responses
                                   and document productions.
          07/14/20      MN              m                                                 0.20            80.10

          07/14/20      MN         Confer with -           about-case.                    0.30           120.15
          07/15/20      MN         Call with                                              1.10           440.55

          07/15/20      MN         Continue review of voluminous documents and            2.80         1,121.40
                                   case filings.
          07/15/20      MN         Communications with                     by email       0.30           120.15
                                   and telephone.
          07/15/20

          07/15/20

          07/15/20
                        MN

                        MN

                        MN
                                   --
                                   Conference call with

                                   Review transcripts of

                                   Call with                               about
                                                                                          0.90

                                                                                          1.30

                                                                                          0.60
                                                                                                         360.45

                                                                                                         520.65

                                                                                                         240.30

          07/16/20      MN                                                     d by       1.40          560.70

          07/16/20      MN         Communications   with                     and with     0.40           160.20
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            Deak.ins                                                                                         Bill No. 90256490
                                                                                                          029879.000036-CRP

            Date       Initials        Description                                                     Hours          Amount
                                                          regarding    case documents.

            07/16/20   MN         Analysis    of                                       in   regards
                                                                                                         0.50           200.25
                                  toDelaney litigation.
            07/16/20   MN         Continue review of                                                     5.70         2,282.85
                                  and                   includin




            07/16/20   VLW         Begin drafting responses to second set of                             4.80         1,663.20
                                   interrogatories.
            07/17/20   MN          Analysis of Delaney's written discovery responses.                    0.80           320.40
            07/17/20   MN          ~aboutc-
                                      in
                                                                                                         0.20            80.10
                                                                   t of dismissal of
                                   counterclaim.
                                                                                                                                  -
            07/17/20   MN                                    about                                       0.20            80.10

            07/17/20   MN                                                                                0.40           160.20




            07/20/20   MN                                                          about-                0.40           160.20

            07/20/20   MN                                                                                0.20            80.10

            07/20/20   MN          Continue analysis of plaintiff's written discovery                    0.50           200.25
                                   deficiencies.
            07/20/20   MN          Draft notice of deposition of Defendant.                              0.40           160.20
            07/20/20   MN          Draft deficiency letter to Defendant regarding                        3.50         1,401.75
                                   written discovery responses and prepare deficiency
                                   letter to plaintiff; related letter pertaining to
                                   Delaney's deposition notices to HC2.
            07/21/20   MN          Email communications with                                             0.40           160.20

            07/21/20   MN          Review and revise deficiency letter, letter canceling                 0.90           360.45
                                   depositions, and notice of deposition.
            07/21/20

            07/21/20

            07/22/20
                       MN

                       MN

                       MN
                                  -liiiiliiiliiiile
                                   Phone call with

                                                                   status communications with

                                   Draft outreach email to Delaney's counsel.
                                                                                                        0.50

                                                                                                         0.70

                                                                                                        0.30
                                                                                                                        200.25

                                                                                                                        280.35

                                                                                                                        120.15

            07/22/20   MN                                                              and              3.60          1,441.80
FILED: NEWCase
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                                                                                                           08/11/20
           Deal<ins                                                                              Bill No. 90256490
                                                                                              029879.000036-CRP

           Date       Initials    Description                                               Hours          Amount
                                                                   includes direction to
                                  research support assistant.
           07122120   MN         Download and or anize voluminous document                   0.50           200.25
                                 . .nsfrom

          07122120    MN         Begin analysis of Delaney document production;              0.70           280.35
                                 thai language documentation requiring translation.
          07/23120    MN         Communications    w                              about      0.30           120.15


          07/23/20    MN         Continue analysis of the parties first written              0.80           320.40
                                 discovery responses and objections.
          07/23/20    MN         Cause and analyze voluminous file intake of                 0.30           120.15
                                 Rotman declaration exhibits
          07/24120    MN         Review and analyze Delaney's document                       1.40           560.70
                                 production.
          07/24120    MN         Communications (email and t -                               0.20            80.10
                                 iiiliiilllliolutions

          07124120    MN                                                                     0.20            80.10

          07124120    MN                                              about-                 0.20            80.10

          07127120    MN         Prepare follow up email to Delaney's counsel.               0.20            80.10
          07129120    MN         Email correspondence with Delaney's counsel                 0.20            80.10
                                 about settlement overture and related planning.
          07/29/20    MN         Conferwith-abou-s.                                          0.20            80.10
          07129120    MN         Review ertinent documents from                              1.20           480.60

                                 call with Delaney's counsel.
          07129120    MN         Preliminary overview of                   articles          0.30           120.15
                                 produced by Delaney.
          07/30/20    MN         Phone call with Delaney's counsel, Robert Rotman.           0.40           160.20
          07/30/20    MN         Continue review of                                          0.50           200.25
          07/30120    MN         Phone call with                     about                   0.50           200.25
                                 outcome of call with Delaney's counsel.
          07/30/20    MN         Phone call with                          call to            0.40           160.20

          07/31120    MN         Confer with Valerie Weiss about written discovery           0.30           120.15
                                 responses due August 10th and prospective
                                 amended complaint.
          07/31120    MN         Follow up phone call with D e -                             0.40           160.20
                                 settlement overture; email to
FILED: NEWCase
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                                                                                                      08/11/20
           DeaJ<ins                                                                         Bill No. 90256490
                                                                                         029879.000036-CRP

           Date        Initials   Description                                          Hours         Amount
                                  about same.
                                                  Total Services:                      50.40        19,926.00

                                                  Timekeeper Summary
           Timekeeper                       Title                              Rate   Hours          Amount
           Valerie L. Weiss                 Associate                        346.50     4.80         1,663.20
           Michael Nacchio                  Of Counsel                       400.50    45.60        18,262.80

                                                         Expenses
           Description                                                                               Amount
           VENDOR: TransPerfect- International, INVOICE#: 1914482 DATE:                              1,115.00
           7/31 /2020
           Professional Fees -- TransPerfect -    International, --
                                    -
                         Document - on 07 /31 /20
                                                 Total Expenses                                      1,115.00


                                                                  TOTAL FEES                       $19,926.00
                                                              TOTAL EXPENSES                        $1,115.00
                                                               TOTAL THIS BILL                     $21,041.00
        . Case 1-20-44372-jmm . Doc 61-5 Filed 06/16/21 . Entered 06/16/21 20:30:39
                                                                           INDEX NO. 155158/2024
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                                                                                                                              SMOAK & STEWART, P.C.


                 Dea)(ins                                                                                                     Attorneys at Law
                                                                                                                              Administrative Office
                                                                                                                              50 International Drive
                                                                                                                              Patewood IV, Suite 200
                                                                                                                              Greenville, SC 29615
                                                                        September 11, 2020                                    Telephone: (864) 241-1801
                                                                                                                              Facsimile: (864) 241-1908
                                                                                                                              www.ogletreedeakins.com


               Slephanos Zannikos
               Hire Counsel Legal and Review Management
               SZannikos@hirecounsel.com

               PERSONAL AND CONFIDENTIAL
                                                                                                                           Bill# 90273991
                                                                                                                           Client.Matter# 029879.000036

               Re: Hire Counsel v. Andrew Delaney (USDC SONY)

                       ALLIANZ Claim No. SF-USFF03539920

                       1 :20-cv-03178-LJL

               For professional services rendered through August 31, 2020, in connection with the above-referenced
               matter as outlined on the attached detailed billing sheets:

               Fees ............................................................................................................................................... $37,188.45
               Expenses ................................................................................................................................................. $0.00

               Tota I Due Th is Bi II .................................. ,,,.,,................................................................................ $37, 188.45




                                        Wire Pa ments                                                         ACHPa ments
                                                                                                                                   ..
                      Credit to Ogletree Deakins Nash Smoak & Stewart I Please include bill numbers I Federal Tax ID: • • • • , DUNS#: • • •
                                                                                                                                                      Check Payments
                                                                                                                                                     PO Box 89
                                                                                                                                                     Columbia, SC 29202 .




                        Payable upon receipt. Direct inquiries to the billing attorney or the Account Services Department (864) 241-1801.
                                 If you would like to receive your bills via e-mail, please notify Bil!inq2@ogletreedeakins.com

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     Nashville • New Orleans • Nw York City • Oklahoma Cfty • Orange County • Paris (France) • Philadelphia • Phoenix • Pittsburgh • Portland, ME • Portland, OR • Raleigh
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            Deakins                                                                               Bill No. 90273991
                                                                                               029879.000036-CRP

            Stephanos Zannikos
            Hire Counsel Legal and Review Management
            SZannikos@hirecounsel.com


            Re:    Hire Counsel v. Andrew Delaney (USDC SDNY)

                   ALLIANZ Claim No. SF-USFF03539920

                   1 :20-cv-03178-LJL


            For professional services rendered through August 31, 2020

            Date         Initials Description                                                Hours         Amount
            08/03/20     MN                                           re a r d i n g -         0.20           80.10

            08/03/20     MN       Continue review of Delaney's      document production;       1.30          520.65

            08/03/20     MN        Begin analysis of Plaintiffs amended                        0.80          320.40
                                   counterclaims.
            08/03/20     VLW       Draft Plaintiffs interrogatory responses to                2.90         1,004.85
                                   Defendant.
            08/04/20     MN        Draft mediation statement for August 12th                   8.80        3,524.40
                                   settlement conference, including revisions thereto.
            08/04/20     MN        Initial review of document responses prepared by           0.50           200.25
                                   Valerie Weiss and attendant issues for follow up.
            08/04/20     VLW       Continue drafting Plaintiff's responses to                 3.50         1,212.75
                                   Defendant's second set of document requests.
            08/04/20     VLW       Continue drafting Plaintiffs responses to                  3.70         1,282.05
                                   Defendant's set of interrogatories.
            08/05/20     MN        Continue review and revisions of responses to              1.40           560.70
                                   Defendant's second request for documents




                                  --
                                   prepared by Valerie Weiss.
            08/05/20     MN        Confer with Valerie Weiss about- discovery                 0.80           320.40

            08/05/20     MN        Review and revisions of responses to Defendant's           1.70           680.85
                                   second interrogatories prepared by Valerie Weiss.
            08/05/20     VLW       Continue drafting interrogatory responses.                 3.20         1,108.80
            08/05/20     VLW       Draft substitution of counsel.                             0.20            69.30
            08105120     VLW       Begin drafting responses to requests for                   1.10           381.15
                                   admissions.
                                                                                   ut
            08/06/20     MN        Phone call with                                            0.20            80.10

            08/06/20     MN        Analysis of the Amended Counterclaim.                      1.00          400.50
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          Deakins                                                                             Bill No. 90273991
                                                                                           029879.000036-CRP

                                  Description



                                 -
          Date        Initials                                                          Hours           Amount
          08/07120    MN          Finalize settlement statement and send same to          0.40            160.20

          08/07/20    MN         Further review and revisions to settlement               1.60            640.80
                                 statement afler                 submission of same
                                 to Magistrate Judge Fox.
          08107120    MN         Review and revise objections and responses to            3.60          1,441.80
                                 Delaney's Second Requests for Admissions,
                                 Second Interrogatories, and Second Request for
                                 Production of Documents.
          08/07/20    MN         Draft and file notice of appearance.                     0.40            160.20
          08/07120    VLW        Continue drafting responses to Defendant's               1.50            519.75
                                 requests for admission.
          08107120    VLW        Revise discover res onses based on comments              0.40            138.60
                                 from
          08/08/20    MN         Review email f r o m - confer w i t h -                  0.10             40.05
          08/10/20    MN         Further review and revisions to voluminous               3.60          1,441.80
                                 responses to second requests for admission,
                                 second document demands, and second
                                 interrogatories from Delaney; includes related
                                 - d e n c e about same w i t h -
                                           and Valerie Weiss.
          08/10/20    MN         Analysis of amended counterclaims and related            1.70           680.85
                                 case law authorily.
          08/10/20    MN         Begin drafting motion to dismiss amended                 2.30           921. 15
                                 counterclaims.
          08/10/20    MN         Review Court's July 17, 2020 decision granting           0.30            120. 15
                                 motion to dismiss counterclaims.
          08/10/20    VLW        Revise responses to Defendant's discovery                1.60           554.40
                                 requests.
          08/11 /20   MN         Continue drafting brief in support of motion to          9.20          3,684.60
                                 dismiss counterclaims.
          08/11/20    MN         Prepare for tomorrow's settlement conference.           0.40            160.20
          08/11/20    MN         Draft and file extension request to respond to          0.40            160.20
                                 amended counterclaim; review Delaney's letter
                                 response.
          08/11/20    AA         Searches in Westlaw, Bloomberg, and                     2.10            434.70
                                 miscellaneous sources for information addressin

                                                                      Summarizing
                                 results and sending to requesting attorney along
                                 with cases.
          08/12/20    MN         Preparation call with                                   0.30            120. 15
          08/12/20    MN         Confer with Valerie Weiss about motion to dismiss       0.20              80.10
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL            Document 1-1          Filed 07/10/24     Page 101 ofNYSCEF:
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          Ogletree                                                                                        Page 4
                                                                                                         09111/20
          DeaJ<ins                                                                             Bill No. 90273991
                                                                                            029879.000036-CRP

          Date       Initials   Description                                              Hours           Amount
                                arguments.
          08112120   MN         Email communications with                                  0.10            40.05
                                relating to motion to dismiss amended
                                counterclaims.
          08112120   MN         Review voicemail from court and respond; pre               0.10            40.05
                                conference telephone call with chambers regarding
                                settlement statement and Delaney's failure to
                                submit.
          08112120   MN         Represent client at settlement teleconference.             0.50           200.25
          08112120   MN         Continue drafting brief in support of motion to            9.40         3,764.70
                                dismiss amended counterclaims.
          08112120   VLW        Begin researching New York state and federal case          2.30           796.95
                                law to oppose counterclaim regarding abuse of
                                process.
                                                                                                                    --
          08113120   MN         Continue drafting brief in support of motion to            4.60         1,842.30
                                dismiss.
          08/13120   VLW        Continue researching New York state and federal            1.00           346.50
                                case law to oppose counterclaim regarding abuse
                                of process.
          08113120   VLW        Draft abuse of process legal argument section of           2.20           762.30
                                brief in support of motion to dismiss.
          08113120   VLW        Revise brief in support of motion to dismiss               1.10           381.15
                                amended counterclaims.
          08114120   MN         Revisions to opening brief to motion to dismiss.           1.20           480.60
          08114120   MN                                                     about          0.30           120.15
                                                           about motion to dismiss.
          08115120   MN         Continue revision and proofing of brief in support of      0.90           360.45
                                motion to dismiss counterclaims.
          08117120   MN
                                liiiliiif
                                Continue review and revisions to motion to dismiss
                                             based particularly o n -
                                            comments.
                                                                                           4.20         1,682.10



          08117120   MN         Send                       deposition notice to            0.20            80.10
                                               planning relating to same.
          08120120   MN         Email to Plaintiffs counsel relating to deposition         0.10            40.05
                                adjournments.
          08121120   MN         Review email with deposition notices attached from         0.40           160.20
                                Delaney's cou~s, and email
                                about same to
          08124120   MN         Email correspondence with Delaney's counsel                0.50           200.25
                                regarding depositions and review of "reasonable
                                notice" standards under Rule 30.
          08124120   MN         Analyze Delaney's response to email adjourning             2.10           841.05
                                deposition, including drafting and filing letter
FILED: NEW Case
            YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                      INDEX NO. 155158/2024
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                3   1:24-cv-05211-LJL           Document 1-1           Filed 07/10/24         Page 102 of 190
                                                                                                RECEIVED  NYSCEF: 06/04/2024




            Oqletree                                                                                            Page 5
                                                                                                               09/11/20
            Deakins                                                                                  Bill No. 90273991
                                                                                                  029879.000036-CRP

            Date       Initials   Description                                                   Hours         Amount
                                  application to the Court for a conference, and
                                  attendant efforts that include phone call conferral
                                  with Plaintiff's counsel review of

            08/24/20   MN         Finalize substitution of counsel and email same to             0.30           120.15

            08/24/20   MN         Confer with                           by email about           0.30           120.15
                                  deposition scheduling issues.
            08/25/20   MN         Review plaintiffs letter response to the Court for a           0.50           200.25
                                  conference.
            08/25/20   MN         Further Communications w i t h - a t                           0.50           200.25
                                             about Delaney depositions; review.

            08/25/20   MN         Prepare response letter to opposition to letter-               0.60           240.30
                                  motion for conference· communications about
                                  same with
            08/25/20   MN         Finalize and file substitution of counsel.                     0.30           120.15
            08/25/20   MN         Draft second notice of deposition to Defendant;                0.30           120.15
                                  send same.
            08/27/20   MN         Review~nting Court Order,                                      0.10            40.05
                                  a d v i s e - - o f same, and calendar
                                  and plan for conference.
            08/28/20   MN         Review filings, discovery responses, and prepare               0.70           280.35
                                  for telephone conference.
            08/28/20   MN         Appear for HC2 at court mandated status                        0.40           160.20
                                  conference.
            08/28/20   MN         Phone call with                     and                        0.40           160.20
                                  correspondence to                         relating to
                                  outcome of discovery conference; related follow up
                                  correspondence with-about conferral
                                  before September 9 Plaintiff's deposition.
            08/31/20   MN         Review docket sheet and preparations to order                  0.20            80.10
                                  minutes of 8/27 hearing as directed by Judge
                                  Li man.
                                                     Total Services:                            97.20        37,188.45

                                                     Timekeeper Summary
            Timekeeper                        Title                                    Rate    Hours          Amount
            Valerie L. Weiss                  Associate                              346.50    24.70          8,558.55
            Michael Nacchio                   Of Counsel                             400.50    70.40         28,195.20
            Andrea Alexander                  Other                                  207.00     2.10            434.70
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
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                                                                                         09/11/20
           Deakins                                                             Bill No. 90273991
                                                                            029879.000036-CRP

                                                         TOTAL FEES                   $37, 188.45
                                                     TOTAL EXPENSES                         $0.00
                                                      TOTAL THIS BILL                 $37,188.45
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL                                      Document 1-1                  Filed 07/10/24                 Page 104 ofNYSCEF:
                                                                                                                                       RECEIVED   190    06/04/2024




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                                                                                                                              OGLETREE, DEAKINS, NASH,
                                                                                                                              SMOAK & STEWART, P.C.


                 Deal<ins                                                                                                     Attorneys at Law
                                                                                                                              Administrative Office
                                                                                                                              50 International Drive
                                                                                                                              Patewood IV, Suite 200
                                                                                                                              Greenville, SC 29615
                                                                              October 18, 2020                                Telephone: (864) 241-1801
                                                                                                                              Facsimile: (864) 241-1908
                                                                                                                              www.ogletreedeakins.com


               Stephanos Zannikos
               Hire Counsel Legal and Review Management
               SZannikos@hirecounsel.com

               PERSONAL AND CONFIDENTIAL
                                                                                                                           Bill # 90294311
                                                                                                                           Client.Matter# 029879.000036

               Re: Hire Counsel v. Andrew Delaney (USDC SONY)

                       ALLIANZ Claim No. SF-USFF03539920

                       1 :20-cv-03178-LJL

               For professional services rendered through September 30, 2020, in connection with the above-referenced
               matter as outlined on the attached detailed billing sheets:

               Fees ............................................................................................................................................... $17 ,858.25
               Expenses .......................................................................................................................................... $1 ,995. 74

               Total Due This Bill ........................................................................................................................ $19,853.99




                                        Wire Pa ments
                                                                . . .. ....          .   .
                                                                                                              ACHPa ments
                                                                                                                                  ..
                       Credit to Ogletree Deakins Nash Smoak & Stewart I Please include bill numbers I Federal Tax ID: • • • • / DUNS#: • • •
                                                                                                                                                       Check Payments
                                                                                                                                                     PO Box 89
                                                                                                                                                     Columbia, SC 29202




                        Payable upon receipt. Direct inquiries to the billing attorney or the Account Services Department (864) 241-1801.
                                 If you would like to receive your bins via e-mail, please notify Bi!ling2@oqletreedeakins.com

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     Nashville • New Orleans • New York City • Oklahoma City • Orange County • Paris (France) • Philadelphia • Phoenix • Pittsburgh • Portland, ME • Portland, OR • Raleigh
     Richmond· St. Louis• St. Thomas• Sacramento• San Antonio· San Diego• San Francisco• Seattle• Stamford• Tampa· Toronto (Canada)• Torrance• Tucson• Washington
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
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           Ogletree                                                                                                     20Pa
                                                                                                                         Page 2
                                                                                                                        10/18/20
           Dea]<ins                                                                                           Bill No. 90294311
                                                                                                           029879.000036-CRP

          Stephanos Zannikos
          Hire Counsel Legal and Review Management
          SZannikos@hirecounsel.com


          Re:    Hire Counsel v. Andrew Delaney (USDC SONY)

                 ALLIANZ Claim No. SF-USFF03539920

                 1 :20-cv-03178-LJL


          For professional services rendered through September 30, 2020

          Date         Initials   Description                                                           Hours          Amount
          09/01120     MN         -nfilingto-                                                             0.40           160.20
                                         related communications.
          09/01/20     MN         Review inquiry from                                                     0.80           320.40
                                           and multi le ensuin              communications
                                  about same with
          09/01/20     MN         Analysis    of Plaintiff   s opposition   filing.                       0.50           200.25
          09/01 /20    MN         Return     pho                                                 in       0.10            40.05

          09/01/20     MN         lliiililll        with                                                  0.70           280.35

          09/01/20     MN         Phone call with                                      about              0.20            80.10

          09/01/20

          09/02/20
          09/02/20
          09/03/20
                       MN

                       MN
                       MN
                       MN
                                  -
                                  Review transcript of

                                  Analysis of plaintiffs opposition brief.
                                  Begin drafting reply brief to motion to dismiss.
                                  Continue drafting reply brief in support of motion to
                                                                                                          0.30

                                                                                                          0.70
                                                                                                          4.70
                                                                                                          8.80
                                                                                                                         120.15

                                                                                                                         280.35
                                                                                                                       1,882.35
                                                                                                                       3,524.40
                                  dismiss amended counterclaims.
          09/03/20     VLW        Begin drafting reply brief argument regarding abuse                     1.30           450.45
                                  of process counterclaim.
          09/04/20     MN         Revisions to reply brief in support of motion to                        4.20         1,682.10
                                  dismiss finalize document and send same to

          09/04/20     VLW        Continue drafting reply brief argument regarding                        1.00           346.50
                                  abuse of process counterclaim.
          09/08/20     MN         Phone calls with                                                        0.80           320.40

          09/08/20     MN         Prepare for tomorrow deposition of Plaintiff.                           3.50         1,401.75
          09/08/20     MN         Review revisions of                                                     2.10           841.05
                                                reply brief; incorporate same and
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
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          Ogletree                                                                                                Page 3
                                                                                                                 10/18/20
          Deakins                                                                                      Bill No. 90294311
                                                                                                    029879.000036-CRP

          Date         Initials   Description                                                    Hours          Amount
                                  finalize brief; file same with the Court.
          09/09/20     MN         Continue final preparations for Plaintiff's deposition.          3.00         1,201.50
          09/09/20     MN         Appear for HC2 and conduct deposition of                         6.70         2,683.35
                                  Defendant Andrew Delaney.
          09/10/20     MN         Confer with                                                      0.70           280.35
                                  about plaintiff's deposition.
          09/10/20     MN         Begin analysis and preparation of post-deposition                1.80           720.90
                                  written discovery.
          09/10/20     MN         Phone call with                                                  0.70           280.35
                                  about
          09/14/20     MN         Review rough version of Delaney deposition.                      0.30           120.15
          09/21/20     MN         Review draft deposition of plaintiff.                            0.30           120.15
          09/23/20     MN         Review protective order regarding designation of                 0.20            80.10
                                  deposition testimony as confidential.
          09/28/20     MN         R~ffs deposition, send same                                      0.70           280.35
                                  t o - - and review and respond to
                                  - r transcript, including analysis of

          09/28/20     MN


                                  -
                                  Confer with Valerie Weiss a b o u t -


                                                      Total Services:

                                                      Timekeeper Summary
                                                                                                   0.40


                                                                                                  44.90
                                                                                                                  160.20


                                                                                                               17,858.25



          Timekeeper                          Title                                   Rate       Hours          Amount
          Valerie L. Weiss                    Associate                             346.50        2.30            796.95
          Michael Nacchio                     Of Counsel                            400.50       42.60         17,061.30

                                                            Expenses
          Description                                                                                           Amount
          VENDOR: U.S. Bank INVOICE#: 4275076409151408 DATE: 9/15/2020                                           103.74
          Jill E. Glassman -- Deposition/Transcript -- Deposition/Court Transcription. Michael
          Nachhio #: 4761 deponent: (N-A) vendor: (N-A) on 09/02/20
          VENDOR: Diana L. R. Senatore, CSR INVOICE#: 20033 DATE: 9/23/2020                                     1,892.00
          Depositions/Transcripts -- Diana L. R. Senatore, CSR -- Deposition of Andrew Delaney. --
          on 09/09/20 -- Andrew Delaney
                                                    Total Expenses                                              1,995.74


                                                                        TOTAL FEES                           $17,858.25
                                                                    TOTAL EXPENSES                            $1,995.74
                                                                     TOTAL THIS BILL                         $19,853.99
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
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                 Deal(ins                                                                                                      Attorneys at Law
                                                                                                                               Administrative Office
                                                                                                                               50 International Drive
                                                                                                                               Patewood IV, Suite 200
                                                                                                                               Greenville, SC 29615
                                                                         November 13, 2020                                     Telephone: (864) 241-1801
                                                                                                                               Facsimile: (864) 241-1908
                                                                                                                               www.ogletreedeakins.com


               Stephanos Zannikos
               Hire Counsel Legal and Review Management
               SZannikos@hirecounsel.com

               PERSONAL AND CONFIDENTIAL
                                                                                                                            Bill # 90312290
                                                                                                                            Client.Matter# 029879.000036

               Re: Hire Counsel v. Andrew Delaney (USDC SONY)

                       ALLIANZ Claim No. SF-USFF03539920

                       1 :20-cv-03178-LJL

               For professional services rendered through October 31, 2020, in connection with the above-referenced
               matter as outlined on the attached detailed billing sheets:

               Fees ................................................................................................................................................. $4,886.10
               Expenses ................................................................................................................................................. $0.00

               Total Due This Bill .......................................................................................................................... $4,886.10




                                        Wire Pa ments                                                         ACHPa mens

                                                                                                                                    ..
                       Credit to Ogletree Deakins Nash Smoak & Stewart I Please include bill numbers I Federal Tax !D: • • • • ,DUNS#: • • •
                                                                                                                                                       Check Payments
                                                                                                                                                      PO Box 89
                                                                                                                                                      Columbia, SC 29202




                        Payable upon receipt. Direct inquiries to the billing attorney or the Account Services Department (864) 241 ~1801.
                                     If you would like to receive your bills via e~mail, p!ease notify Billing2@oqletreedeakins.com

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FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
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           Deal<:ins                                                                           Bill No. 90312290
                                                                                            029879.000036-CRP

           Stephanos Zannikos
           Hire Counsel Legal and Review Management
           SZannikos@hirecounsel.com


          Re: Hire Counsel v. Andrew Delaney (USDC SONY)

                 ALLIANZ Claim No. SF-USFF03539920

                 1:20-cv-03178-LJL


          For professional services rendered through October 31, 2020

          Date         Initials   Description                                            Hours          Amount
          10/02/20     MN         Planning for next steps and discovery obligations;       0.20            80.10
                                  review case management plan.
          10/05/20     MN         Review protective order and draft letter to              0.30           120.15
                                  Defendant to designate as confidential Defendant's
                                  deposition transcript.
          10/05/20     MN         Review defendant's deposition transcript.                1.60           640.80
          10/05/20     MN         Draft affirmative post deposition request for            0.30           120.15
                                  admission to defendant.
          10/05/20     MN         Draft affirmative post deposition requests for           0.40           160.20
                                  production.
          10/06/20     MN         Continue review of Delaney's deposition transcript.      0.50           200.25
          10/07/20     MN         Review docket sheet and facilitate ordering of TRO       0.20            80.10
                                  transcript                  t.

          10/07/20    MN          Finalize and service post-deposition written             1.00           400.50
                                  discovery to plaintiff; letter designation Delaney
                                  transcript as confidential.
          10/27/20    MN          Analysis of discovery deadlines and planning for         0.20            80.10
                                  next steps.
          10/27/20    MN          -lysisand                                                1.00          400.50

          10/28/20    MN          Review plaintiffs deposition errata sheet.               0.30           120.15
          10/29/20    MN          -~ddigestof-                                             5.60         2,242.80

          10/30/20    MN          Analysis relating to deposition exhibits from            0.30           120.15
                                  Plaintiffs deposition.
          10/30/20    MN          liiiliiiilf          HC2 disclosures.                    0.30           120.15


                                                     Total Services:                      12.20        4,886.10
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
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              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL     Document 1-1    Filed 07/10/24    Page 109 ofNYSCEF:
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           Ogletree                                                                         Page 3
                                                                                           11/13/20
           Dea]<ins                                                              Bill No. 90312290
                                                                              029879.000036-CRP


                                           Timekeeper Summary
           Timekeeper                 Title                        Rate    Hours          Amount
           Michael Nacchio            Of Counsel                 400.50     12.20         4,886.10


                                                        TOTAL FEES                       $4,886.10
                                                    TOTAL EXPENSES                           $0.00
                                                     TOTAL THIS BILL                     $4,886.10
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL                                     Document 1-1                    Filed 07/10/24                  Page 110 ofNYSCEF:
                                                                                                                                         RECEIVED   190    06/04/2024




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                                                                                                                               SMOAK & STEWART, P.C.


                 Dea]<ins                                                                                                      Attorneys at Law
                                                                                                                               Administrative Office
                                                                                                                               50 International Drive
                                                                                                                               Patewood IV, Suite 200
                                                                                                                               Greenville, SC 29615
                                                                         December 31, 2020                                     Telephone: (864) 241-1801
                                                                                                                               Facsimile: (864) 241-1908
                                                                                                                               www.ogletreedeakins.com




               Stephanos Zannikos
               Hire Counsel Legal and Review Management
               SZannikos@hirecounsel.com

               PERSONAL AND CONFIDENTIAL
                                                                                                                           Bill# 90333231
                                                                                                                           Client.Matter# 029879.000036

               Re:     Hire Counsel v. Andrew Delaney (USDC SDNY)

                       ALLIANZ Claim No. SF-USFF03539920

                       1:20-cv-03178-LJL


               For professional services rendered through November 30, 2020, in connection with the above-referenced
               matter as outlined on the attached detailed billing sheets:


               Fees ................................................................................................................................................. $4,005.00
               Expenses ................................................................................................................................................. $0 .00
                                                                                                                                                                                   .   .


              Total Due This Bill .......................................................................................................................... $4,005.00




                                        Wire Pa ments                                                         ACHPa ments

                                                                                                                                   ..
                      Credit to Ogletree Deakins Nash Smoak & Stewart I Please include bill numbers I Federal Tax 10: • • • • ,DUNS#: • • •
                                                                                                                                                       Check Payments
                                                                                                                                                     ·PO Box89
                                                                                                                                                     . Columbia, SC 29202




                        Payable upon receipt. Direct inquiries to the billing attorney or the Account Services Department (864) 241-1801.
                                 If you would like to receive your bills via e-mail, please notify Billing2@ogletreedeakins.com

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     Nashville • New Orleans • New York Cfty • Oklahoma City • Orange County • Paris (France) • Philadelphia • Phoenix • Pittsburgh • Portland, ME • Portland, OR • Raleigh
     Richmond• St. Louis• St. Thomas• Sacramento• San Antonio· San Diego· San Francisoo •Seattle• Stamford· Tampa• Toronto (Canada)· Torrance • Tucson• Washington
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL                     Document 1-1        Filed 07/10/24   Page 111 ofNYSCEF:
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           Ogletree                                                                                             Page 2
                                                                                                              12/31/20
           Deakins                                                                                  Bill No. 90333231
                                                                                                 029879.000036-CRP


           Stephanos Zannikos
           Hire Counsel Legal and Review Management
           SZannikos@hirecounsel.com


           Re: Hire Counsel v. Andrew Delaney (USDC SONY)

                  ALLIANZ Claim No. SF-USFF03539920

                  1 :20-cv-03178-LJL



           For professional services rendered through November 30, 2020

           Date         Initials   Description                                                Hours          Amount
           11/06/20     MN         Review case status.                                          0.20            80.10
           11/06/20     MN                                                                      0.10            40.05

           11/10/20     MN         Strategy    call   with                                      0.40           160.20
           11/10/20     MN         Communications with                                          0.10            40.05
           11/10/20     MN         Analysis relating to litigation strategy for remainder       1.00           400.50
                                   of case, including review discovery deadlines,
                                   review of laintiff's de osition testimon




          11/10/20      MN         Draft letter to Plaintiffs counsel relating to               0.50           200.25
                                   outstanding responses to post-deposition discovery
                                   demands.
          11/10/20      MN                      f case       law on                             1.50           600.75

          11/11/20      MN           ontinue   ana                                   aw         1.50           600.75

          11/11/20      MN         Prepare detailed          email to                           1.00           400.50
                                   enclosin     anal    sis   ex   tainin




          11/11/20      MN         Email correspondence with                                    0.30           120.15
                                   about strategy going forward.
          11/11/20      MN         Phone call with                              about           0.20            80.10
                                   strategy going forward.
          11/19/20      MN         Phone call with                          regarding next      0.40           160.20
                                   steps.
          11/20/20      MN         Draft letter to the Court informing on the status of         0.80           320.40
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
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          Deal(ins                                                                                                      Bill No. 90333231
                                                                                                                     029879.000036-CRP



          Date       Initials   Description                                                                       Hours           Amount
                                discovery in advance of the November 30, 2020
                                discovery end date.
          11/20/20   MN         Communications            with    Plaintiff's   counsel                             0.50           200.25

                                                                 about discovery      letter    report to
                                Court.
          11/23/20   MN         Finalize and file discovery dispute letter.                                         0.30           120.15
          11/30/20   MN         Review and analyze               Court order and draft         letter   to          1.20           480.60
                                Court for clarification          of same related
                                communications with
                                - b o u t same.
                                                           Total Services:                                         10.00         4,005.00


                                                           Timekeeper Summary
          Timekeeper                           Title                                                      Rate    Hours          Amount
          Michael Nacchio                      Of Counsel                                               400.50     10.00         4,005.00



                                                                                    TOTAL FEES                                  $4,005.00
                                                                                TOTAL EXPENSES                                      $0.00
                                                                                 TOTAL THIS BILL                                $4,005.00
FILED: NEWCase
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                                                                                                                                        RECEIVED   190    06/04/2024




                                                                                                                              OGLETREE, DEAKINS, NASH,
                 Ogletree                                           Submit Via E-Mail Only-
                                                                    Do Not Send Hard Copy                                     SMOAK & STEWART, P.C.


                 Deal<ins                                                                                                     Attorneys at Law
                                                                                                                              Administrative Office
                                                                                                                              50 International Drive
                                                                                                                              Patewood JV, Suite 200
                                                                                                                              Greenville, SC 29615
                                                                          February 15, 2021                                   Telephone: (864) 241-1801
                                                                                                                              Facsimile: (864) 241-1908
                                                                                                                              www.ogletreedeakins.com




               Stephanos Zannikos
               Hire Counsel Legal and Review Management
               SZannikos@hirecounsel.com

               PERSONAL AND CONFIDENTIAL
                                                                                                                           Bill # 90349870
                                                                                                                           Client.Matter# 029879.000036
               Re: Hire Counsel v. Andrew Delaney (USDC SONY)

                       ALLIANZ Claim No. SF-USFF03539920

                       1 :20-cv-03178-LJL


               For professional services rendered through December 31, 2020, in connection with the above-referenced
               matter as outlined on the attached detailed billing sheets:


               Fees ................................................................................................................................................. $5,995.80
               Expenses ................................................................................................................................................. $0.00

              Total Due This Bill .......................................................................................................................... $5,995.80




                                        Wire Pa ments

                                                                                                                                   ..
                      Credit to Ogletree Deakins Nash Smoak & Stewart I Please include bill numbers f Federal Tax ID: • • • • f DUNS#: • • •
                                                                                                                                                       Check Payments
                                                                                                                                                      PO Box 89
                                                                                                                                                      Columbia, SC 29202




                        Payable upon receipt. Direct inquiries to the billing attorney or the Account Services Department (864) 241-1801.
                                 If you would like to receive your bills via eMmail, please notify Bi!llnq2@oqletreedeakins.com

     Atlanta • Austin • Berlin (Gennany) • Birmingham • Boston • Charleston • Charlotte • Chicago • Cleveland • Columbia • Dallas • Denver • Detroit Metro • Greenville • Houston
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     NashviUe • New Orleans • New York City • OkJahoma City • Orange County • Paris (France) • Philadelphia • Phoenix • Pittsburgh • Portland, ME • Portland, OR • Raleigh
     Richmond· St. Louis· St. Thomas• Sacramento• San Antonio• San Diego• San Francisco• Seattle· Stamford· Tampa •Toronto (Canada)· Torrance• Tucson• Washington
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
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                                                                                                              02/15/21
           Deal<ins                                                                                 Bill No. 90349870
                                                                                                 029879.000036-CRP


           Stephanos Zannikos
           Hire Counsel Legal and Review Management
           SZannikos@hirecounsel.com


           Re:   Hire Counsel v. Andrew Delaney (USDC SONY)

                 ALLIANZ Claim No. SF-USFF03539920

                 1 :20-cv-03178-LJ L



          For professional services rendered through December 31, 2020

          Date         Initials   Description                                                 Hours          Amount
          12/01/20      MN        Further work toward obtaining pre-March 18th                  1.00           400.50
                                  versions of NYC and CDC health guidance as
                                  directed by Court's November 30th Order including
                                  communications with
                                                                                and
                                  ultimate revisions to letter seeking clarification of
                                  November 30, 2020 Order and electronic filing of
                                  same.
          12/01/20     MN         Review declaration filed by defendant's counsel               0.20            80.10
                                  annexing guidance and executive order as directed
                                  by the court.
          12/02/20     MN         Ana i                                                         0.70           280.35
                                                           ond to email about same
                                  from
          12/02/20     MN         Draft letter to the Court regarding Defendant's               1.80           720.90
                                  submission of new information with his declaration;
                                  includes revisions.
          12/02/20     MN         Analysis of Defendant's declaration, defendant's              2.30           921.15
                                  enclosed exhibits of agency guidance, and
                                  additional research into any new case law since
                                  filin of motion to dismiss re ardin

          12/03/20     MN         Review Plaintiffs letter filed in response to our letter      0.10            40.05
                                  to strike new allegations from declaration.
          12/03/20     MN                                                                       0.30           120.15

          12/08/20     MN                                                                      0.20             80.10

          12/18/20     MN         Review and analyze Court's 32 page decision                  0.80            320.40
                                  granting motion to dismiss counterclaims.
FILED: NEWCase
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           Deal<ins                                                                             Bill No. 90349870
                                                                                             029879.000036-CRP



          Date       Initials   Description                                               Hours           Amount
          12/18/20   VLW        Analyze and review order and opinion granting               0.30           103.95
                                HC2's Motion to Dismiss Defendant's
                                counterclaims.
          12/21/20   MN         Continue review and analysis of 32 page decision            1.60           640.80
                                dismissing Delaney's counterclaims.
          12/23/20   MN                                                                     0.70           280.35




          12/23/20   MN                                                                     0.20            80.10

          12/28/20   MN         Review plaintiffs threatened Rule 11 motion, filed          0.70           280.35
                                motion t - r i s d i c t i o n , and send
                                same to
          12/28/20   MN         Anal sis of sub·ect matter ·urisdiction and                 0.80           320.40

          12/28/20   MN         Phone call with                         relating   to       0.30           120.15
                                Delaney's motion to dismiss.
          12/28/20   MN         Phone call                                                  0.40           160.20
          12/28/20   MN                                                                     0.30           120.15




          12/28/20   VLW        Analyze and review Defendants motion        to dismiss      0.40           138.60


          12/28/20   VLW        Analyze and review motion to dismiss based on               0.80           277.20
                                -iction

          12/28/20   VLW        Email                                regarding              0.20            69.30
                                Plaintiffs motion to dismiss.
          12/29/20   MN                                                                     0.90           360.45




          12/30/20   MN         Res ond to                                                  0.20            80.10



                                                   Total Services:                         15.20         5,995.80
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                                           Timekeeper Summary
          Timekeeper                  Title                        Rate    Hours          Amount
          Valerie L. Weiss            Associate                  346.50     1.70           589.05
          Michael Nacchio             Of Counsel                 400.50    13.50         5,406.75



                                                        TOTAL FEES                      $5,995.80
                                                    TOTAL EXPENSES                          $0.00
                                                     TOTAL THIS BILL                    $5,995.80
FILED: NEWCase
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                                                                                                                             OGLETREE, DEAKINS, NASH,
                                                                                                                             SMOAK & STEWART, P.C.


                 Deal(ins                                                                                                    Attorneys at Law
                                                                                                                             Administrative Office
                                                                                                                             50 International Drive
                                                                                                                             Patewood IV, Suite 200
                                                                                                                             Greenville, SC 29615
                                                                         February 15, 2021                                   Telephone: (864) 241-1801
                                                                                                                             Facsimile: (864) 241-1908
                                                                                                                             www.ogletreedeakins.com




               Stephanos Zannikos
               Hire Counsel Legal and Review Management
               SZannikos@hirecounsel.com

               PERSONAL AND CONFIDENTIAL
                                                                                                                          Bill # 90368402
                                                                                                                          Client.Matter# 029879.000036
               Re:     Hire Counsel v. Andrew Delaney (USDC SONY)

                       ALLIANZ Claim No. SF-USFF03539920                                                                                                                            -


                       1 :20-cv-03178-LJL


               For professional services rendered through January 31, 2021, in connection with the above-referenced
               matter as outlined on the attached detailed billing sheets:


              Fees ............................................................................................................................................... $38,976.30
              Expenses ................................................................................................................................................. $0.00

              Total Due This Bill ........................................................................................................................ $38,976.30




                                       Wire Pa ments

                                                                                                                                  ..
                      Credit to Ogletree Deakins Nash Smoak & Stewart I Please inc!ude bill numbers I Federal Tax ID: • • • • , DUNS#: • • •
                                                                                                                                                     Check Payments
                                                                                                                                                    PO Box 89
                                                                                                                                                    Columbia, SC 29202 ;




                        Payable upon receipt. Direct inquiries to the billing attorney or the Account Services Department (864) 241-1801.
                                 If you would like to receive your bills via e-mail, please notify Bil!inq2@ogletreedeakins.com

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     Nashvile • New Orleans • New York City • Oklahoma City • Orange County • Paris (France) • Philadelphia • Phoenix • Pittsburgh • Portland, ME • Portland, OR • Raleigh
     Richmond ·St. Louis· St Thomas• Sacramento• San Antonio• San Diego• San Francisco• Seattle •Stamford• Tampa• Toronto (Canada)• Torrance• Tucson• Washington
FILED: NEWCase
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          Stephanos Zannikos
          Hire Counsel Legal and Review Management
          SZannikos@hirecounsel.com


          Re: Hire Counsel v. Andrew Delaney (USDC SONY)

                 ALLIANZ Claim No. SF·USFF03539920

                 1 :20-cv-03178-LJL



          For professional services rendered through January 31, 2021

          Date         Initials   Description                                                    Hours          Amount
          01/04/21     MN         Analysis related to Delaney's motion to dismiss for              1.60          640.80
                                  lack of jurisdiction, including conferral with Valerie
                                  Weiss.
          01/04/21     MN         Phone and email communications with                              0.80           320.40
                                                             relatin      to




          01/04/21     MN                                                                          0.20            80.10

          01/04/21     MN                                                                          1.50           600.75


          01 /04/21    VLW        Analyze and review motion to dismiss based on                   0.70            242.55
                                  subject matter jurisdiction to assess arguments for
                                  opposition motion.
          01/04/21     VLW                                                                        2. 10           727.65




          01/05/21     MN         Appear for Plaintiff at court's status conference.              0.60            240.30
          01/05/21     MN         Confer ~ith -                    and General                    0.80            320.40
                                  Counsel about risks relating to Delaney's motion to
                                  dismiss and Rule 11 motion.
          01/05/21     MN         Prepare for toda    s Court a        arance later today         2.60          1,041.30
                                      reviewi
FILED: NEWCase
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                                                                                           029879.000036-CRP


           Date       Initials    Description                                           Hours          Amount




           01/05/21   MN          Review Delaney's cited cases bearing on his             1.30           520.65
                                  motion to dismiss for lack of subject matter
                                  jurisdiction.
           01/05/21   MN          Confer with                    about-                   0.40           160.20
                                                       nd motion to dismiss.
           01/05/21   MN          Review docketed orders from the Court issued            0.20            80.10
                                  today.
           01/05/21   VLW         Begin drafting statement of facts of opposition to      1.00           346.50
                                  motion to dismiss.
           01/05/21   VLW         Research                                                2.30           796.95    -




           01/05/21   VLW        Begin drafting preliminary statement section of          1.30           450.45
                                 brief.
           01/05/21   VLW                                                                 2.30           796.95




           01/06/21   MN         Prepare and file extension request to oppose             0.40           160.20
                                 motion to dism~eview order denying same and
                                 send same t o -
           01/06/21   MN         Continued anal sis of                                    0.90           360.45




           01/06/21   MN         ~tcallwith                                               0.50           200.25

           01/06/21   MN         Review Delane de osition transcri                        0.80           320.40


           01/06/21   MN         Review and revise draft declaration f o r -              1.20          480.60
                                 - i n support of opposition to motion to
                                 dismiss prepared by Valerie Weiss.
           01/06/21   MN         Call with                            about               0.30          120.15
FILED: NEWCase
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           Date       Initials       Description                                                        Hours           Amount
           01/06/21   MN                                                                                  0.50           200.25




          01/06/21    MN                                                                                  0.40           160.20



          01/06/21    MN             Review                                                               0.20            80.10
          01/06/21    VLW         Draft declaration of                                                    2.20           762.30
                                 -            in support of Plaintiff's opposition to
                                  Defendant's motion to dismiss for lack of subject
                                  matter jurisdiction.
          01/06/21    VLW         Call with client                                                        0.50           173.25
                                                                             re    ardin


          01/06/21    VLW                                                                                 3.60         1,247.40



          01/06/21    VLW                                                                                 2.00           693.00



          01/07/21    MN         Continue review and revision to                                          1.80           720.90
                                 affidavit.
          01/07/21    MN                                                                                  0.30           120.15

          01/07/21    MN                                                                                  1.20           480.60

          01/07/21    MN         Draft letter-motion        to   compel production         of             3.40         1,361.70

          01/07/21    MN         Review                      draft   declaration     prepared by          0.40           160.20
                                 Valerie       Weiss.
          01/07/21    MN                                                                                  1.50           600.75



          01/07/21    VLW        Re                                               n and email   same      0.20            69.30

          01/07/21    VLW                                                                                 2.10           727.65



          01/07/21    VLW        Call   with                                                              0.60           207.90
                                                    ardin    Iformation      about
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
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           Deal<ins                                                                                                    Bill No. 90368402
                                                                                                                    029879.000036-CRP



          Date        Initials   Description                                                                      Hours          Amount
          01/07/21    VLW                                                                                           0.70          242.55



          01/08/21    MN         Revise and send letter to Delaney's counsel                                        0.20           80.10
                                 amending confidentiality designations.
          01/08/21    MN         Review and revise                              ;                                   1.20          480.60
                                 research and add additional supporting case law.
          01/08/21    MN                        dence                                                  d            0.50          200.25

          01/08/21    MN         Review and revisions            to draft    affidavits      for                    1.80          720.90

                                               in   opposition    to Plaintiff's      motion to
                                 dismiss.
          01/08/21    MN         Draft and file letter to Court seekin                    leave to                  0.30          120.15    ...

                                 preserve right to                                                     is
                                 established.
          01/08/21    VLW                                                                                           1.80          623.70




          01/08/21    VLW        Call   with                                                                        0.30          103.95
                                 to discuss     information      for


          01/08/21    VLW        Call with                                                                  to      0.40          138.60
                                 discuss


          01 /08/21   VLW        Draft declaration of                in support of                                 0.70           242.55
                                 Plaintiffs opposition to Defendant's Motion to
                                 Dismiss.
          01/08/21    VLW        Draft declaration of               in support of                                   1.00          346.50
                                 Plaintiffs opposition to Defendant's Motion to
                                 Dismiss.
          01/08/21    VLW        Revise declaration of                in support of                                0.80           277.20
                                 Plaintiffs opposition to Defendant's Motion to
                                 Dismiss.
          01/08/21    VLW        Revise declaration o f -                                                          0.40           138.60
          01/08/21    VLW        Begin drafting legal argument section regarding                                    1.30          450.45
                                 compliance with local rule 26.1.
          01/08/21    VLW        Continue drafting statement of facts section of the                               1.70           589.05
                                 brief.
          01/08/21    VLW        ~d review multiple emails f r o m -                                               0.90           311.85
                                            ith information to include su                      ortin
                                 declarations, such as
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           Deal<ins                                                                                           Bill No. 90368402
                                                                                                           029879.000036-CRP



           Date       Initials    Description                                                           Hours          Amount


           01/09/21   MN          Further      review and revisions     to latest    drafts   of          1.10           440.55


           01/09/21   MN          Review and revise first and second rough drafts of                      2.80         1,121.40
                                  opposition brief.
           01/09/21   MN          Call with                                  about-                       0.30           120.15

           01/09/21   MN                                                                                  0.20            80.10

          01/09/21    VLW        Mult     le   revisions   to declarations   o                            2.30           796.95




          01/09/21    VLW        -based on comments from

                                                 Second Circuit     case law                              1.70           589.05




          01/09/21    VLW        Draft declaration of                                     in support      0.50           173.25
                                 of opposition to Plaintiffs motion.
          01/09/21    VLW                                                                     ng          2.00           693.00

          01/09/21    VLW        - t section r e g a r d i n g -                                          0.30           103.95

          01/09/21    VLW                                                                                 2.00           693.00

          01/09/21    VLW                                               ent regarding                     1.70           589.05

          01/09/21    VLW        Begin revising brief based on comments from                             0.10             34.65
                                 Michael Nacchio.
          01/10/21    MN         Review continued           revisions to latest drafts of HC2            1.20           480.60
                                                   affidavits     for opposition to Delaney's
                                                                     '
                                 motion     to dismiss      inclu        review and r    onses
                                 to
                                                            , Stephanos Zannikos,
                                 and client executive management team.
          01/10/21    MN         Review and revisions to latest drafts of opposition                     1.60           640.80
                                 brief to motion to dismiss.
          01/10/21    VLW        Multiple revisions of legal brief in support of                         3.40          1,178.10
                                 - o t i o n to dismiss, based on -
                                                  client Stephanos Zannikos.
          01/10/21    VLW        Multi le revisions for declaration of                                   1.90           658.35
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           l)ea]<ins                                                                               Bill No. 90368402
                                                                                                029879.000036-CRP



          Date


          01/10/21
          01/11/21
                     Initials


                     VLW
                     MN
                                -
                                Description


                                Revise                   declaration.
                                Final review and revisions to opposition brief to
                                motion to dismiss, affidavits, and supporting
                                exhibits; includes related correspondence about
                                                                                              Hours


                                                                                                0.30
                                                                                                4.80
                                                                                                            Amount


                                                                                                              103.95
                                                                                                            1,922.40


                                same w i t h - a n d Valerie Weiss.
          01/11/21   MN         Review and anal ze                                              0.50          200.25




          01/11/21   MN         -ecalls                                                         0.80          320.40
                                      about opposition filing.
          01/11/21   VLW        Research                                                        0.20           69.30

          01/11/21   VLW        Draft declaration    of Michael   Nacchio    and rnu t ple      2.70          935.55
                                revisions


          01/11/21   VLW        Draft Local Civil Rule 26.1 statement.                          0.40          138.60
          01/11/21   VLW                                                                        2.90        1,004.85

          01/11/21   VLW        Finalize brief and all declarations.                            1.30          450.45
          01/11/21   VLW        Gather and prepare exhibits to declaration of                   0.50          173.25
                                Michael Nacchio.
          01/11/21   AA                                                                         0.60          124.20

          01/12/21   MN                                                                         0.80          320.40




          01/12/21   MN         Review mediation order; confer w i t h -                       0.10            40.05
                                ~bout same.
          01/13/21   MN         Review Delaney's Rule 11 threatened sanctions                  0.40           160.20
                                motion.
          01/14/21   MN         Review notice of appeal and IFP petition filed by              0.30           120.15
                                Andrew Delaney and analysis of next steps.
          01/14/21   MN         A                                                              0.30           120.15


          01/14/21   MN         Confer with Va erie Weiss about                                0.20            80.10
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL             Document 1-1               Filed 07/10/24     Page 124 ofNYSCEF:
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           Ogletree                                                                                             Page 8
                                                                                                               02/15/21
           Deakins                                                                                   Bill No. 90368402
                                                                                                  029879.000036-CRP


           Date       Initials   Description                                                   Hours          Amount
           01/14/21   MN                                                                         1.20          480.60




           01/14/21   MN         Prepare email to                             enclos n           0.30           120.15
                                 -laining Delaney's

           01/14/21   MN         Email correspondence with                                       0.20            80.10
                                             e arding

          01/14/21    VLW                                                                        0.30           103.95

          01/14/21    VLW        Research                                                        0.50           173.25
                                                                                                                          ..



          01/15/21    MN         Review Court of Appeals email notifications                     0.20            80.10
                                 regarding Delaney's Notice of Appeal.
          01 /15/21   MN         General review of Delane     's   court-ordered                 0.20            80.10
                                 document    roduction   of


          01/19/21    MN         Review Delaney's counsel's email regarding his                  0.20            80.10
                                 threats and complaints of further "abuse of
                                 process. 11 •
          01/19/21    MN         Review Delaney's reply brief in sliiiilliltion to               0.60           240.30
                                 dismiss com laint· send same to

          01/19/21    MN         Review Delaney's filed Rule 11 sanctions motion;                0.20            80.10
                                 plan for opposition.
          01/19/21    MN         Communications with                               via           0.40           160.20
                                 email about Delaney's reply brief and his         uestions
                                 about             includes anal sis



          01/19/21    MN         Confer with Valerie Weiss about next steps in case.             0.20            80.10
          01/19/21    VLW        -ndreview                                                       0.30           103.95

          01/20/21    MN         Review and respond to email from                                0.20            80.10
                                         with im ressions about


          01/22/21    MN         Review mediation o r d e r -                                   0.20             80.10
                                 mediator; send email to              about
                                 same, and review mediator's profile.
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
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                                                                                                           02/15/21
           Deal<ins                                                                              Bill No. 90368402
                                                                                              029879,000036-CRP


           Date       Initials   Description                                               Hours           Amount
           01/25/21   MN         Communications with court assigned mediator.                0.10            40.05
           01/25/21   MN
                                 liiiiiillliile                                              0.30           120. 15

           01/25/21   VLW        Review email from Delaney as pro se regarding               0. 10           34.65
                                 application for in forma pauperis.
           01/26/21   MN         Prepare for appearance with mediator (review court          0. 10           40.05
                                 mediation order and procedures).
          01/26/21    MN         Appear on pre-mediation conference call with                0.50           200.25
                                 mediator and Delane 's counsel· send follow u
                                 email to


                                                  Total Services:                          105.20        38,976.30


                                                  Timekeeper Summary
          Timekeeper                        Title                                 Rate     Hours          Amount
          Michael Nacchio                   Shareholder                          400.50    48.30         19,344.15
          Valerie L. Weiss                  Associate                            346.50    56.30         19,507.95
          Andrea Alexander                  Other                                207.00     0.60            124.20



                                                                   TOTAL FEES                           $38,976.30
                                                               TOTAL EXPENSES                                $0.00
                                                                TOTAL THIS BILL                         $38,976.30
FILED: NEWCase
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                                                                                                                                        RECEIVED   190    06/04/2024




                                                                    Submit Via E-Mail Only --
                 Ogletree                                           Do Not Send Hard Copy
                                                                                                                              OGLETREE, DEAKINS, NASH,
                                                                                                                              SMOAK & STEWART, P.C.

                 Deal<ins                                                                                                     Attorneys at Law
                                                                                                                              Administrative Office
                                                                                                                              50 International Drive
                                                                                                                              Patewood IV, Suite 200
                                                                                                                              Greenville, SC 29615
                                                                            March 22, 2021                                    Telephone: (864) 241-1801
                                                                                                                              Facsimile: (864) 241-1908
                                                                                                                              www.ogletreedeakins.com




               Stephanos Zannikos
               Hire Counsel Legal and Review Management
               SZannikos@hirecounsel.com

               PERSONAL AND CONFIDENTIAL
                                                                                                                           Bill# 90393901
                                                                                                                           Client.Matter# 029879.000036
               Re: Hire Counsel v. Andrew Delaney (USDC SONY)
                   ALLIANZ Claim No. SF-USFF03539920
                   1 :20-cv-03178-LJL


               For professional services rendered through February 28, 2021, in connection with the above-referenced
               matter as outlined on the attached detailed billing sheets:


               Fees ................................................................................................................................................. $8,024.40
               Expenses ................................................................................................................................................. $0.00

              Total Due This Bill .......................................................................................................................... $8,024.40




                                       Wire Pa ments

                                                                                                                                   ...
                      Credit to Ogletree Deakins Nash Smoak & Stewart I Please include bil! numbers I Federal Tax ID: • • • • ,DUNS#: • • •
                                                                                                                                                        Check Payments
                                                                                                                                                     : PO Box 89
                                                                                                                                                       Columbia, SC 29202




                        Payable upon receipt. Direct inquiries to the billing attorney or the Account Services Department (864) 241-1801.
                                 If you would like to receive your bills via e-mail, please notify Bil!inq2@ogletreedeakins.com

     Atlanta • Austin • Berlin (Gennany) • Birmingham • Boston • Charleston • Charlotte • Chicago • C!eveland • Columbia • Dallas • Denver • Detro~ Metro • Greenville • Houston
     Indianapolis· Jackson· Kansas City• Las Vegas• London {England)• Los Angeles• Memphis• Mexico City (Mexico)· Miami• Mi~¥aukee • Minneapolis• Montreal (Canada)· Monistown
     Nashville • New Orleans • New York Cfy • Oklahoma Cfy • Orange County • Paris (France) • Philadelphia • Phoenix • Pittsburgh • Portland, ME • Portland, OR • Raleigh
     Riclimond •St. Louis• St Thomas• Sacramento• San Antonio• San Diego• San Francisco· Seattle• Stamford· Tampa· Toronto (Canada)• Torrance• Tucson· Washington
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
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           Deakins                                                                           Bill No. 90393901
                                                                                          029879.000036-CRP


           Stephanos Zannikos
           Hire Counsel Legal and Review Management
           SZannikos@hirecounsel.com


           Re: Hire Counsel v. Andrew Delaney (USDC SONY)
               ALLIANZ Claim No. SF-USFF03539920
               1 :20-cv-03178-LJL



          For professional services rendered through February 28, 2021

           Date       Initials   Description                                           Hours          Amount
          02/01/21    MN         Review order from the Court of A    eals                0.80           320.40
                                 a       earance and c




          02/01/21    MN         Update settlement statement for 2/10/21 mediation.      1.60           640.80
          02/02/21    MN         Final revisions and roof of mediation statement         0.30           120.15
                                 and
          02/04/21    MN         Analysis and developments of arguments for              1.20           480.60
                                 opposition to Delaney's appeal under FRCP 54 and
                                 28 use 1292(b).
          02/04/21    MN         Confer with Valerie Weiss about       in                0.40           160.20
                                         '
                                 Dela
                                                                             and
                                 motion to disimiss in the Second Circuit.
          02/04/21    VLW                                                                1.40           485.10



          02/04/21    VLW        Draft letter brief in opposition of motion for          1.20           415.80
                                 defendant to proceed in forma pauperis on appeal.
          02/05/21    MN         Correspondence with                         about       0.20            80.10
                                 mediation statement;
          02/05/21    MN         Finalize mediation statement, prepare and add           0.60           240.30
                                 exhibits, execute mediation confidentiality
                                 agreement, and same documents to mediator.
          02/09/21    MN         Review Delaney's Chapter 7 bankruptcy petition.         0.60           240.30
          02/09/21    MN         Multi         one calls   wit                           0.40           160.20
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
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           Ogletree                                                                                                Page 3
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           DeaJ<ins                                                                                     Bill No. 90393901
                                                                                                     029879.000036-CRP



           Date       Initials    Description                                                     Hours           Amount
           02/09/21   MN          Draft letter to the court informing of suggestion of              0.50           200.25
                                  bankruptcy, prepare exhibits, and file same.
          02/09/21    MN         Correspondence to mediator informing of                            0.20            80.10
                                 suggestion of bankruptcy.
          02/09/21    MN         Review Delaney's counsel's letter in response to                   0.30           120.15
                                          n of bankruptcy; send same to

          02/09/21    MN         Analyze im act of Delane       's   Cha ter 7 bankru   to          0.60           240.30
                                 filinon


          02/09/21    MN                                                                            0.40           160.20

          02/09/21    MN         Emails and     hone calls   with                                   0.40           160.20
                                 about

          02/09/21    MN         Phone call with Delaney's Counsel, Robert Rotman,                  0.20            80.10
                                 about bankruptcy filing.
          02/09/21    VLW        Analyze and review Delaney's petition for                          0.10            34.65
                                 bankruptcy in light of filing motion to proceed in
                                 forma pauperis,.
          02/10/21    MN         Appear at court ordered mediation.                                 0.70           280.35
          02/10/21    MN         Review Plaintiffs letter filed with the Court about                0.20            80.10
                                 mediation not being held in light of bankruptcy
                                 filing.
          02/10/21    MN                                                                     n      1.10           440.55


          02/10/21    MN         Review and respond to email         from                           0.30           120.15
                                                                                    ased

          02/11/21    MN         Draft letter to the Court as directed by January 29,               0.30           120.15
                                 2021 order reporting on settlement status,.
          02/11/21    MN         As requested by                          further                   0.70           280.35
                                 corres ondence b      hone and email with


                                 follow up email to         nclosing prior briefings
                                 and Delaney's pending motion to dismiss.
                                 Rev·
          02/11/21    MN                                                                            0.70           280.35



                                                    Stephanos Zannikos.
FILED: NEWCase
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           Deak:ins                                                                                     Bill No. 90393901
                                                                                                     029879.000036-CRP



          Date       Initials   Description                                                       Hours          Amount
          02/18/21   MN         Review letter to the Court letter in accordance with                0.60           240.30
                                Order dated January 29, 2021 instructing the
                                parties to report by February 19, 2021 on the
                                outcome of settlement discussions, and in regards
                                to Defendant's request that the Court decide his
                                motion to dismiss despite the automatic stay.
          02/18/21   MN                                                                             0.80           320.40




          02/19/21   MN         Phone call   with                                                   0.40           160.20
          02/19/21   MN         Follow   u   hone calls with                                        0.60           240.30
                                                        and next ste s


          02/19/21   MN                                                                             0.40           160.20




          02/19/21   MN         Revise status    letter                                             0.20            80.10
                                and file same.
          02/20/21   MN                                                                             0.70           280.35

          02/22/21   MN         Further review case correspondence, Judge's order                   0.20            80.10
                                on sanctions, and Delaney's EDNY bankruptcy
                                petition.




                                -
          02/23/21   MN         Review Court's sua sponte order withdrawing                         0.20            80.10
                                motion to dismiss and same t o -

          02/25/21   MN                                                 and confer with             0.20            80.10

          02/26/21   MN         Revie    ema                                                ng      0.30           120.15

          02/26/21   MN         Review Delan                  ition   transcr    testimon           0.40           160.20




                                                          Total Services:                          20.40         8,024.40
FILED: NEWCase
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          Dea]<ins                                                                      Bill No. 90393901
                                                                                     029879.000036-CRP




                                           Timekeeper Summary
          Timekeeper                  Title                               Rate    Hours          Amount
          Michael Nacchio             Shareholder                       400.50     17.70         7,088.85
          Valerie L. Weiss            Associate                         346.50      2.70           935.55


                                                    Expenses
          Description                                                                             Amount
          Computer Research-Westlaw                                   2.00@      0.00 ea.           0.00
                                          Total Expenses                                              0.00




                                                            TOTAL FEES                          $8,024.40
                                                        TOTAL EXPENSES                              $0.00
                                                         TOTAL THIS BILL                        $8,024.40
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
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                  Dea1<ins                                                                                                     Attorneys at Law
                                                                                                                               Administrative Office
                                                                                                                               50 International Drive
                                                                                                                               Patewood IV, Suite 200
                                                                                                                               Greenville, SC 29615
                                                                              April 30, 2021                                   Telephone: (864) 241-1801
                                                                                                                               Facsimile: (864) 241-1908
                                                                                                                               www.ogletreedeakins.com




                Stephanos Zannikos
                Hire Counsel Legal and Review Management
                SZannikos@hirecounsel.com

                PERSONAL AND CONFIDENTIAL
                                                                                                                            Bill# 90417 483
                                                                                                                            Client.Matter# 029879.000036
                Re:     Hire Counsel v. Andrew Delaney (USDC SONY)
                        ALLIANZ Claim No. SF-USFF03539920
                        1 :20-cv-03178-LJL


                For professional services rendered through March 31, 2021, in connection with the above-referenced
                matter as outlined on the attached detailed billing sheets:


                Fees ............................................................................................................................................... $21, 178.35
                Expenses ............................................................................................................................................. $140.00

               Total Due This Bill ........................................................................................................................ $21,318.35




                                       :.                                                                      ACHPa ments
                                                                                                                                    ..
                       Credit to Ogletree Deakins Nash Smoak & Stewart I Please include bill numbers I Federal Tax ID: • • • • I DUNS#: • • •
                                                                                                                                                     r   Check Payments
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                                                                                                                                                      . Columbia, SC 29202




                         Payable upon receipt. Direct inquiries to the billing attorney or the Account Services Department (864) 241-1801.
                                  If you would like to receive your bills via e-mail, please notify Bi!linq2@ogletreedeakins.com

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      Indianapolis· Jackson· Kansas City• Las Vegas· London {England)• Los Angeles• Memphis• Mexico City (Mexico)• Miami• Milwaukee• Minneapolis• Montreal (Canada)• Mooistovm
      Nashville • New Orleans • New York City • Oklahoma City • Orange County • Paris (France) • PrJ!adelphia • Phoenix • Pittsburgh • Portland, ME • Portland, OR • Raleigh
      Richmond· St. Louis· St. Thomas• Sacramento· San Antonio• San Diego• San Francisco• Seattle• Stamford• Tampa· Toronto {Canada)• Torrance • Tucsoo •Washington
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
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           DeaJ{ins                                                                                        Bill No. 90417483
                                                                                                        029879.000036-CRP


           Stephanos Zannikos
           Hire Counsel Legal and Review Management
           SZannikos@hirecounsel.com


          Re: Hire Counsel v. Andrew Delaney (USDC SONY)
              ALLIANZ Claim No. SF-USFF03539920
              1 :20-cv-03178-LJL



          For professional services rendered through March 31, 2021

          Date        Initials   Description                                                         Hours          Amount
          03101 /21   MN         Further    review of                                                  1.20           480.60

          03/01/21    MN         Further    rev ew of                                                  0.20            80.10
          03/10/21    MN         Review                                                                0.30           120.15
                                                           send same to

          03/10/21    MN         Co                                                       elating      0.50           200.25

          03/11/21    MN                                                          about                0.20            80.10

          03/11/21    MN                                                                               0.30           120.15

          03/18/21    MN         Communications          with                                          1.30           520.65
                                               relatin     to


          03/18/21    MN         Review newly filed NY Supreme Court              Com laint            1.40           560.70
                                 and develo liti ation course of action



          03/18/21    VLW        Analyze and review         recentl   filed   NewYork State            1.80           623.70
                                 Court    Com laint

          03/18/21    VLW        Analyze and review         NewYork State Court law                    1.50           519.75




          03/19/21    MN         Review procedure                                                     0.30            120.15
                                 duringCOVID-19.
          03/19/21    MN         Continue analysis and develo ment of le             a[   and          1.30           520.65
                                 -entsfor
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
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           Deal(ins                                                                              Bill No. 90417 483
                                                                                              029879.000036-CRP



          Date       Initials    Description                                               Hours           Amount
          03/19/21   MN          Participate in s t r a - J o h n Butts at                   1.10           440.55
                                 Wilmer Hale and                  regarding Order to
                                 Show Cause to seal new NY Com faint· includin
                                 follow up email
          03/19/21   MN          Phone call with                       about                 0.40           160.20
                                 outcome of               call and next steps.

          03/19/21   VLW         Begin drafting statement of facts and procedural            4.30         1,489.95
                                 history of Brief in Support of Motion to Seal portions
                                 of the Complaint due to confidential and privileged
                                 information.
          03/19/21   VLW         Call with                                                   0.30           103.95
                                                         and Michael Nacchio, Esq.,
                                 regarding filing order to show cause to seal portions
                                 of the Verified Complaint.
          03/21/21   VLW        Research New York case law and regulations                   2.60           900.90
                                regarding motion to seal portions of the Complaint.
          03/21/21   VLW        Begin drafting legal argument section of the Brief in        2.20           762.30
                                Support of Motion to Seal portions of the
                                Complaint, including privileged and confidential
                                information.
          03/22/21   MN         Review and revise Brief in Support of Order to               3.40         1,361.70
                                Show Cause to Seal and Attorney Affirmation in
                                Support.
          03/22/21   VLW        Revise Brief in Support of Order to Show Cause to            3.10         1,074.15
                                Seal paragraphs five through eleven of the NY
                                State Court Verified Complaint to include additional
                                case law and facts/procedural history.
          03/23121   MN         Further review and revise draft Brief in Support of          4.40         1,762.20
                                Order to Show Cause to Seal/redact new NY
                                Complaint, Attorney Affirmation in Support, and
                                Proposed Order to Show Cause; includes attendant
                                review of case law and conferral with Valerie
                                Weiss.
          03/23/21   VLW        Prepare Notification of Order Extending the                  0.20            69.30
                                Restriction of the Verified Complaint while order to
                                show cause is pending.
          03/24/21   MN         Teleconference on Order to Show Cause with                   0.90           360.45
                                - a n d Valerie Weiss, including relating
                                correspondence.
          03/24121   MN          Further review and revisions of Order to Show              2.10            841.05
                                Cause papers, based on
                                -requests.
          03/24/21   MN          Prepare email notification to Andrew Delaney giving        0.20             80.10
                                 required statutory notice of intent to move for Order
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
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          Deakins                                                                              Bill No. 90417483
                                                                                            029879.000036-CRP



          Date       Initials   Description                                              Hours           Amount
                                to Show Cause with temporary restraints tomorrow.
          03/24/21   VLW        Revise Memorandum of Law in Su        art of Order to      2.90          1,004.85
                                Show Cause


          03/24/21   VLW        Draft Affirmation of                            in         0.60           207.90
                                Support of Order to Show Cause.
          03/24/21   VLW        Prepare the Notification of Extended Restriction of        0.30           103.95
                                the Complaint to file with the Court.
          03/24/21   VLW        Review and revise proposed order to show cause.            0.40           138.60
          03/24/21   VLW        Gather and prepare exhibits to include with                0.90           311.85
                                Declaration of Michael Nacchio, Esq., in Support of
                                Order to Show Cause.
          03/24/21   VLW        Revise Affirmation of Michael Nacchio, Esq., in            0.70           242.55
                                Support of Order to Show Cause.
          03/24/21   VLW        Call with                                                  0.30           103.95



          03/25/21   MN         Final review and revisions to Order to Show Cause          2.20           881.10
                                papers based on additional                  and
                                related communications with Wilmer Hale and
                                Stephanos Zannikos about same.
          03/25/21   MN         Multiple phone calls to Chambers regarding motion          0.40           160.20
                                status and urgency of Order to ShowCause
                                includin  follow u emails to


          03/25/21   MN                                                                    0.60           240.30

          03/25/21   MN         Review granted Order to Show Cause, redact                 0.80           320.40
                                Complaint, file same.
          03/25/21   MN         Phone and email communications     with                    0.80           320.40
                                                                          re   ardin



          03/25/21   MN                                                                    0.40           160.20




          03/25/21   MN         Electronically file Order to Show Cause, supporting        1.10              N/C
                                Memorandum of Law and Affirmations of



          03/25/21   MN         Review Clerk's notifications in response to Order to       1.30              N/C
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL                    Document 1-1                        Filed 07/10/24    Page 135 ofNYSCEF:
                                                                                                              RECEIVED   190    06/04/2024




          Ogletree                                                                                                            Page 5
                                                                                                                             04/30/21
          Deakins                                                                                                  Bill No. 90417483
                                                                                                                029879.000036-CRP



          Date       Initials   Description                                                                   Hours         Amount
                                Show Cause filing; draft and file Affirmation of
                                Service, draft and file Affirmation pursuant to 22
                                NYC RR § 202. 7, as directed by clerk.
          03/26/21   MN         Review Court docket and correspondence with                                     0.30          120.15
                                Clerk's office in continued efforts to effectuate the
                                sealing of the Complaint per yesterday's Order.
          03/26/21   MN         Continued corres                     ence                                       0.20           80.10


          03/26/21   VLW        Draft notification of sealing the Complaint to file                             0.30          103.95
                                with the court, as requested by the court clerks.
          03/29/21   MN         Review Delaney's            letter          to the judge   request   order      0.40          160.20
                                to   show; mull res onse and corr                           nd about
                                same with

          03/29/21   MN         Phone call      with                                                            0.40          160.20
                                     ardin



          03/29/21   MN         Review                                                                          1.00          400.50

                                                                              review



          03/29/21   MN         Review                                                                          1.40          560.70




                                                            with        SDNYmatter and NY
                                Supreme Court matter.
          03/30/21   MN         Partici   ate   in strate            call     with                             0.60           240.30

                                                                re          ardin



          03/30/21   MN         Confer with Valerie Weiss about                                                0.20            80.10
                                and
          03/30/21   MN         In        aration   for client         team ca[I with                          1.00           400.50



                                                       and review
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                  COUNTY CLERK 06/04/2024 02:24 PM                      INDEX NO. 155158/2024
NYSCEF DOC. NO.Case
                3 1:24-cv-05211-LJL                       Document 1-1            Filed 07/10/24       Page 136 of NYSCEF:
                                                                                                         RECEIVED  190     06/04/2024




           Oqletree                                                                                                      Page 6
                                                                                                                        04/30/21
           Deakins                                                                                            Bill No. 90417 483
                                                                                                           029879.000036-CRP



           Date         Initials   Description                                                          Hours          Amount


           03/30/21     MN                                                                                0.70           280.35




           03/30121     MN                                                                                0.20            80.10




           03/30/21     MN         Review and respond to emai[ from                                       0.20            80.10
                                   enclosin        re    uested   co   les of



           03/31/21     MN         Numerous hone calls and email                corres   ondence          1.50           600.75
                                   with                                 about


           03/31/21     MN         Confer with -                       about HC2 data                     0.30           120.15
                                   investigation.
           03/31/21     MN         Anal       is                                                          0.40           160.20



                                                              Total Services:                            58.30        21,178.35


                                                              Timekeeper Summary
          Timekeeper                                    Title                                   Rate    Hours          Amount
          Michael Nacchio                               Shareholder                           400.50     33.50        13,416.75
          Michael Nacchio                               Shareholder                             0.00      2.40              N/C
          Valerie L. Weiss                              Associate                             346.50     22.40         7,761.60


                                                                       Expenses
          Description                                                                                                  Amount
          VENDOR: U.S. Bank INVOICE#: 4504738303301605 DATE: 3/30/2021                                                   95.00
          Jill E. Glassman -- Filing Fees -- Fee fore-filing request for Judicial Intervention. Valerie
          Weiss#: 5563 on 03/18/21
          VENDOR: U.S. Bank INVOICE#: 4515519204071302 DATE: 4/7/2021                                                     45.00
          Jill E. Glassman -- Filing Fees -- Fee fore-filing Order to Show Cause. Michael Nacchio
          #: 4761 on 03/25/21
                                                             Total Expenses                                              140.00
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL   Document 1-1   Filed 07/10/24   Page 137 ofNYSCEF:
                                                                       RECEIVED   190    06/04/2024




           Ogletree                                                                    Page 7
                                                                                      04/30/21
           Dea]<ins                                                         Bill No. 90417 483
                                                                         029879.000036-CRP


                                                     TOTAL FEES                    $21, 178.35
                                                 TOTAL EXPENSES                       $140.00
                                                  TOTAL THIS BILL                  $21,318.35
         . Case 1-20-44372-jmm .DOC
                                Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                                                                         INDEX NO. 155158/2024
FILED: NEW  YORK COUNTY CLERK        06/04/2024 02:24 PM
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL   Document 1-1         Filed 07/10/24   Page 138 ofNYSCEF:
                                                                             RECEIVED   190    06/04/2024




                                 KASOWITZ BENSON TORRES LLP
                                          1633 BROADWAY
                                      NEW YORK, NEW YORK 10019-6799          FED. JD. XX-XXXXXXX
                                            212-506-1700
                                       FACSIMILE: 212-506-1800




            HC2,   Inc. d/b/a Hire Counsel
            J·oan Davison
            225 West Washington Street
            Chicago, IL 60606



            INVOICE NO.: 2005911 -- REVISED                       March 25, 2021


            RE: Hire Counsel v. Delaney



            FOR PROFESSIONAL SERVICES rendered
            through the month of July 2020
            as reflected on the attached printout.



            Fees                                                            $153, 922.50

            Less Credit for K. Moody Rate                                     (3,270.00)

            Less 10% Discount                                                (15, 065.25)

            Total Fees                                                      $135, 587 .25

            Disbursements                                                     $2,686.31

            Current Amount Due                                              $138,273.56
            Less Payment                                                     (20,104.91)
            TOTAL AMOUNT DUE                                                $118,168.65




            5401
            12302201
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL      Document 1-1        Filed 07/10/24   Page 139 ofNYSCEF:
                                                                               RECEIVED   190    06/04/2024




                                  KASOWITZ BENSON TORRES LLP
                                             1633 BROADWAY
                                         NEW YORK, NEW YORK 10019-6799           FED. JD. XX-XXXXXXX
                                               212-506-1700
                                          FACSIMILE: 212-506-1800




            HC2, Inc. d/b/a Hire Counsel
            Joan Davison
            225 West Washington Street
            Chicago, IL 60606




            INVOICE NO.:    2004998 -- REVISED                  March 25, 2021


            RE: Hire Counsel v.     Delaney



            FOR PROFESSIONAL SERVICES rendered
            through the month of May 2020
            as reflected on the attached printout




            Fees                                                         $470,904.00

            Less   Credit for K. Moody Rate                               (33,960.00)
            Less 10% Discount                                             (43,694.40)

            Total Fees                                                   $393,249.60

            Disbursements                                                 $11, 645.49

            Current Amount Due                                           $404,895.09
            Less Payments                                                (425,000.00)
            Balance of Retainer    ***                                    (20'104. 91)
            *** to be applied on
            inv.2005911
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL            Document 1-1         Filed 07/10/24     Page 140 ofNYSCEF:
                                                                                        RECEIVED   190    06/04/2024




                                                  The Killian Firm PC
                                                    555 Route 1 South
                                                          Suite 430
                                                  Iselin, New Jersey 08830


                                  Ph:(732)912-2100                Fax(732) 912-2101


          HC2, Inc. d/b/a Hire Counsel                                                                 Sep lO, 2020
          360 Lexingtou Avenue
          1 Ith Floor
          New York, NY 10017
                                                                                        File#:           20200050
          Attention:   Stephanos Zannikos, Esq.                                        Inv #:               7051

          RE:    Delaney EPLI Matter


          DATE         DESCRIPTION                                           HOURS    AMOUNT           LAWYER

          Aug-13-20    Review client documents; telephone call client          0.60         240.00            K

          Aug-21-20    Review file' e-mail to9with proposed language to        0.30         120.00            K

          Aug-24-20    Review and respond to-inquiry                           0.10           40.00           K

                                                                                      --------------


                       Totals                                                  1.00        $400.00



                       Total Fees, Disbursements                                                        $400.00


                       Previous Balance                                                                     $0.00
                       Previous Payments                                                                    $0.00


                       Balance Due Now                                                                  $400.00
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL            Document 1-1          Filed 07/10/24    Page 141 ofNYSCEF:
                                                                                        RECEIVED   190    06/04/2024




                                                  The Killian Firm PC
                                                    555 Route 1 South
                                                          Suite 430
                                                  Iselin, New Jersey 08830


                                  Ph:(732) 912-2100                Fax(732) 912-2101


          HC2, Inc. d/b/a Hire Counsel                                                             Oct 12,2020
          360 Lexington Avenue
          11th Floor
          New York, NY 10017

                                                                                       File#:       20200050
          Attention:   Stephanos Zannikos, Esq.                                        Inv#:            7127

          RE:    Delaney EPLI Matter


          DATE         DESCRIPTION                                           HOURS     AMOUNT      LAWYER

          Sep-08-20    E-mail client re: responding t o - -                     0.20       80.00          K

          Sep-10-20    Telephone c a l l - including preparation                0.20       80.00          K

          Sep-28-20                               and f i l - n e c a l l -     1.00      400.00          K
                                       c: preparing lette1


                       Totals                                                   1.40     $560.00


                                                                                          --··---

                       Total Fees, Disbursements                                                    $560.00

                       Previous Balance                                                              $400.00
                       Previous Payments                                                               $0.00


                       Balance Due Now                                                              $960.00
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL            Document 1-1            Filed 07/10/24       Page 142 ofNYSCEF:
                                                                                             RECEIVED   190    06/04/2024




                                                  The Killian Firm PC
                                                    555 Route 1 South
                                                          Suite 430
                                                  Iselin, New Jersey 08830


                                   Ph:(732) 912-2100              Fax(732) 912-2101


          HC2, Inc. d/b/a Hire Counsel                                                                       Nov 10, 2020
          360 Lexington Avenue
          11th Floor
          New York, NY 10017
                                                                                            File#:             20200050
          Attention:   Stephanos Zannikos, Esq.                                             Inv#:                 7179

          RE:    Delaney EPLI Matter


          DATE         DESCRlPTION                                           HOURS        AMOUNT              LAWYER

          Oct-02-20    Review correspondence from          research              1.60               640.00          K
                       ~on coverage fo
                                      telephone call      e: same
          Oct-09-20    Review e and various . o n ence regarding                 1.00               400.00          K
                       underlying claim; e-mail      e: same

          Oct-13-20    Telephone calJ9re: strategy; e-mail                       0.30               120.00          K
                       requesting conference
          Oct-15-20

          Oct-16-20
                       -
                       Review file and prepare f o . . . , , i t h -

                       Conference call with                re: claim

                       Telephone c a l l - outline letter t~
                                                                                 1.00

                                                                                 0.40

                                                                                 0.50
                                                                                                400.00

                                                                                                    160.00

                                                                                                200.00
                                                                                                                    K

                                                                                                                    K

                                                                                                                    K

          Oct-19-20    Status report   to9                                       0.20               80.00           K

          Oct-20-20    Revie~ocuments and draft letter t o -                     2.20           880.00              K

          Oct-22-20    Revie                               and                   3.00          1,200.00             K
                       docume-are corres ondence to
                       regardin         e-mail           rdi   ame
          Oct-26-20    Review and revis                             t~ 1.50                     600.00              K
                       (including review of additional documents); e-mail client
                       re: same
                                                                                    _________ _._

                       Totals                                                   11.70        $4,680.00
FILED: NEWCase
           YORK1-20-44372-jmm . Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                      INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL       Document 1-1   Filed 07/10/24   Page 143 ofNYSCEF:
                                                                           RECEIVED   190    06/04/2024




                                                                              .____
                                                                          ----· ·--

                  Total Fees, Disbursements                                     $4,680.00


                  Previous Balance                                                 $960.00
                  Previous Payments                                                 $0.00
                                                                               _______
                  Balance Due Now                                               $5,640.00
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL          Document 1-1          Filed 07/10/24     Page 144 ofNYSCEF:
                                                                                       RECEIVED   190    06/04/2024




                                                  The Killian Firm PC
                                                    555 Route 1 South
                                                          Suite 420
                                                  Iselin, New Jersey 08830


                                  Ph:(732)912-2100               Fax(732) 912-2101


          HC2, Inc. d/b/a Hire Counsel                                                                 Dec 11, 2020
          360 Lexington Avenue
          11th Floor
          New York, NY 10017
                                                                                      File#:             20200050
          Attention:   Stephanos Zannikos, Esq.                                       Inv#:                 7255

          RE:    Delancy EPLI Matter


          DATE         DESCRIPTION                                           HOURS    AMOUNT           LAWYER

          Nov-20-20     Review and respond to cotTespondence fr~               1.10     440.00                   K
                       -         respond to correspondence from---
                        regarding reservation of rights

                       Totals                                                  1.10     $440.00

                                                                                         __.....____________

                       Total Fees, Disbursements                                                        $440.00

                       Previous Balance                                                                  $5,640.00
                       Previous Payments                                                                 $5,640.00
                                                                                                  __           .___.

                       Balance Due Now                                                                  $440.00
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL               Document 1-1           Filed 07/10/24    Page 145 ofNYSCEF:
                                                                                            RECEIVED   190    06/04/2024




                                                    The Killian Firm PC
                                                        555 Route 1 South
                                                             Suite 420
                                                     Iselin, New Jersey 08830


                                     Ph:(732) 912-2100                 Fax(732) 912-2101


          HC2, Inc. d/b/a Hire Counsel                                                                  Jan 07, 2021
          360 Lexington Avenue
          11th Floor
          New York, NY 10017
                                                                                           File#:         20200050
          Attention:   Stephanos Zannikos, Esq.                                            Inv #:            7316

          RE:    Delaney EPLI Matter
                                                                                                                       ..


          DATE         DESCRIPTION                                                HOURS    AMOUNT       LAWYER

          Dec-03-20    Tel      one call                    re:   responding to     0.30      120.00            K
                                           es   ndence
          Dec-29-20    Revi                                           review        2.20      880.00           K
                                        review correspondence fro
                                  review correspondence frorn

          Dec-31-20    Study                                                        3.00     1,200.00          K




                       Totals                                                       5.50    $2,200.00

                                                                                               __       ______
                       Total Fees, Disbursements                                                        $2,200.00

                       Previous Balance                                                                    $440.00
                       Previous Payments                                                                     $0.00


                       Balance Due Now                                                                  $2,640.00
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL                Document 1-1                Filed 07/10/24     Page 146 ofNYSCEF:
                                                                                                   RECEIVED   190    06/04/2024




                                                         The Killian Firm PC
                                                           555 Route 1 South
                                                                 Suite 420
                                                         Iselin, New Jersey 08830


                                   Ph:(732)912-2100                          Fax(732) 912-210 I


          HC2, Inc. d/b/a Hire Counsel                                                                         Feb 09, 2021
          360 Lexington Avenue
          11th Floor
          New York, NY 10017

                                                                                                  File#:         20200050
          Attention:   Stephanos Zannikos, Esq.                                                   Inv#:             7382

          RE:    Delaney EPLI Matter
                                                                                                                              ..

          DATE         DESCRIPTION                                                      HOURS     AMOUNT       LAWYER

          Jan-04-21    E-mailt~e:                                                          0.50      200.00           K

          Jan-21-21    Review   rior   corres   ondence,                 ocuments and      2.80     1,120.00          K
                                                 draft    e-mail    to


          Jan-29-21    Correspondence witt                               re:-              0.50      200.00           K

                                                                   ·e:                     1.10      440.00           K



                       Totals                                                              4.90    $1,960.00



                       Total Fees, Disbursements                                                               $1,960.00


                       Previous Balance                                                                          $2,640.00
                       Previous Payments                                                                         $2,640.00


                       Balance Due Now                                                                         $1,960.00
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL                Document 1-1       Filed 07/10/24     Page 147 ofNYSCEF:
                                                                                          RECEIVED   190    06/04/2024




                                                    The Killian Firm PC
                                                        555 Route 1 South
                                                             Suite 420
                                                     Iselin, New Jersey 08830


                                   Ph:(732)912-2100                 Fax(732) 912-2101


          HC2, Inc. d/b/a Hire Counsel                                                                Mar09,2021
          360 Lexington Avenue
          11th Floor
          New York, NY 10017
                                                                                         File#:         20200050
          Attention:   Stcphanos Zannikos, Esq.                                          Inv#:             7449

          RE:    Delaney EPLI Matter


          DATE         DESCRIPTION                                              HOURS    AMOUNT       LAWYER



                       •
          Feb-03-21    E-mails w i t h - r e :                                    0.10       40.00          K

          Feb-l l-21   Review file to prepare fo~all; e - m a i l s - l.00                  400.00          K
                       re: coverage issues
          Feb-12-21    Strategy call with client                                  0.60      240.00          K

          Fcb-19-21    Review .view corres ondence from. draft                    2.00      800.00          K
                       memo to       regardin
          Feb-21-21    Draft and send letter to     •   regarding                 2.50     1,000.00         K
                       claim
          Feb-22-21    - m a i l s with               ·e:-                        0.20       80.00          K

          Feb-23-21    Conference call w i t h - e : -                            0.30      120.00          K

                       E-mails with client re: outstanding fees ofunderlying      0.10      40.00           K
                       counsel

                       Totals                                                     6.80    $2,720.00
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL      Document 1-1   Filed 07/10/24   Page 148 ofNYSCEF:
                                                                          RECEIVED   190    06/04/2024




                                                                          _..   .._

                  Total Fees, Disbursements                                     $2,720.00

                  Previous Balance                                                    $1,960.00
                  Previous Payments                                                     $0.00


                  Balance Due Now                                               $4,680.00
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                  COUNTY CLERK 06/04/2024 02:24 PM                      INDEX NO. 155158/2024
NYSCEF DOC. NO.Case
                3 1:24-cv-05211-LJL                         Document 1-1           Filed 07/10/24              Page 149 of NYSCEF:
                                                                                                                 RECEIVED  190     06/04/2024




                                                                                                 The Killian Firm, P.C.
                                                                                                                    555 Route 1 South
                                                                                                                            Suite 420
                                                                                                             lselin, New Jersey 08830


                                                                                                               Ph:         (732) 912-2100

         Apr12, 2021                                                                                         Fax:          (732) 912-2101



         HC2, Inc. d/b/a Hire Counsel                                                                            File #:       20200050
         360 Lexington Avenue                                                                                   Inv #:              7517
         11th Floor
         New York, NY 10017
         Attention:     Stephanos Zannikos, Esq.
         RE:            Delaney EPLI Matter




         -----~·--




         DATE           DESCRIPTION                                                    HOURS               AMOUNT              LAWYER

         Mar-03-21      Correspondence with Aon regarding claim                           0.10                   40.00              K


         Mar-05-21     Telephone. . . .nd-(including preparation                          0.50                 200.00               K
                       for call) re:
         Mar-09-21      Review and respond to client e~mail re: claim strategy            0.20                   80.00              K


         Mar-12-21     Review Aon             ndenc         e-mail   S. Zannikos          0.20                   80.00              K


         Mar-15-21     E-mail                         -e:                                 0.10                   40.00              K


                        Correspondence with.re:                                           0.20                   80.00              K


         Mar-17-21     Telephone call-(including preparation)                             0.30                 120.00               K


         Mar-18-21     Review and respond - e t and claim                                 0.50                 200.00               K
                       correspondence from
         Mar-24-21     liiliilread~heets from client· conference withll                   0.70                 280.00               K
                                  o review
         Mar-25-21     Review spreadsheets; correspondence t o .                          0.50                 200.00               K


         Mar-26-21     Correspondence to                                                  0.20                   80.00              K
                       (including review of
                                                                                             _____...-_..............

                       Totals                                                             3.50           $1,400.00
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                              .
                                                                       INDEX NO. 155158/2024
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NYSCEF DOC. NO. 3 1:24-cv-05211-LJL          Document 1-1   Filed 07/10/24   Page 150 ofNYSCEF:
                                                                              RECEIVED   190    06/04/2024




                Total Fees & Disbursements                                         $1,400.00


                Previous Balance                                                   $4,680.00
                Previous Payments                                                     $0.00


                Balance Due Upon Receipt                                          $6,080.00
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                                .
                                                                       INDEX NO.. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL                 Document 1-1         Filed 07/10/24      Page 151 ofNYSCEF:
                                                                                              RECEIVED   190    06/04/2024




                                                                                      The Killian Firm, P.C.
                                                                                                  555 Route 1 South
                                                                                                          Suite 420
                                                                                           lselin, New Jersey 08830


                                                                                            Ph:        (732) 912-2100

        May 11, 2021                                                                       Fax:        (732) 912-2101



        HC2, Inc. dlb/a Hire Counsel                                                         File#:        20200050
       360 Lexington Avenue                                                                  Inv #:             7578
       11th Floor
       New York, NY 10017
       Attention:     Stephanos Zannikos, Esq.
       RE:             Delaney EPLI Matter




       DATE            DESCRIPTION                                           HOURS        AMOUNT           LAWYER

       Apr-08-21       Review documents forwarded by client                    0.40         160.00              K

       Apr-19-21       Telephone call-and-regarding-(including                 0.40         160.00              K
                       preparation)
       Apr-20-21       Review and respond to e-mails from-                     0.10          40.00              K


       Apr-29-21       Review letter f r o m - telephone c a l l -             0.60         240.00              K


       Apr-30-21       Review latest-letter and begin drafting respone         1.00         400.00              K



                       Totals                                                  2.50       $1,000.00




                       Total Fees & Disbursements                                                         $1,000.00


                       Previous Balance                                                                   $6,080.00
                       Previous Payments                                                                  $1,960.00
                                                                                              ......      ..___.__
                       Balance Due Upon Receipt                                                           $5, 120.00
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL                 Document 1-1         Filed 07/10/24      Page 152 ofNYSCEF:
                                                                                              RECEIVED   190    06/04/2024




                                                                                       The Killian Firm, P.C.
                                                                                                   555 Route 1 South
                                                                                                           Suite 420
                                                                                            lselin, New Jersey 08830


                                                                                            Ph:        (732) 912-2100

        Jun 08, 2021                                                                       Fax:        (732)912-2101



        HC2, Inc. d/b/a Hire Counsel                                                         File #:       20200050
        360 Lexington Avenue                                                                 Inv #:             7636
        11th Floor
        New York, NY 10017
        Attention:     Stephanos Zannikos, Esq.
        RE:            Delaney EPLI Matter




        DATE           DESCRIPTION                                            HOURS       AMOUNT           LAWYER

        May-06-21      Review prior correspondence with~ prepare                2.00        800.00              K
                       response to most recent letter; e-mail re: same

        May-11-21      Revise letter t o - reveiw documents from~ith            0.90        360.00              K
                       respect to same; e-mail to-with respect to same

        May-14-21      Review file and revise and edit letter t o - e-mail-     1.00        400.00              K
                       re: same
        May-17-21      Review, finalize and send letter t o -                   0.50        200.00              K

       May-24-21


       May-26-21       --
                       Review and respond t o - r a m - r e :

                       Review file -corresponde-ephone
                       conference                 send status   to8
                                                                                0.10


                                                                                1.00
                                                                                             40.00


                                                                                            400.00


                                                                                   -----·------
                                                                                                                K

                                                                                                                K




                       T otals                                                  5.50      $2,200.00




                       Total Fees & Disbursements                                                         $2,200.00


                       Previous Balance                                                                   $5, 120.00
                       Previous Payments                                                                  $4,120.00



                       Balance Due Upon Receipt                                                           $3,200.00
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL                 Document 1-1                Filed 07/10/24        Page 153 ofNYSCEF:
                                                                                                       RECEIVED   190    06/04/2024




                       SPECTOR &
                       EHRENWORTH, P.C.
                       Attorneys at Law

                       30 Columbia Turnpike, Florham Park,   New Jersey   07932~2261   973.593.4800      Fax: 973.593.4848




                                                  Taxpayer Identification No. XX-XXXXXXX




          HC2, Inc. d/b/a Hire Counsel                                                                            April 7, 2021
          360 Lexingston Avenue
          Suite 1100
          New York, NY 10017
          Attention: Stephanis Zannikos, Esq.



          For legal services rendered through March 31, 2021                                           Invoice No. 20210095
          in connection with the following matter:
           Andrew Delaney, Debtor


                                                             Invoice Summary
                                                                                                                             An1ount



                       Total amount of this bill                                                                     $17,882.62


                       Balance due                                                                                   $17,882.62
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL            Document 1-1         Filed 07/10/24            Page 154 ofNYSCEF:
                                                                                               RECEIVED   190    06/04/2024




          HC2, Inc. d/b/a Hire Counsel                                                                      April 7, 2021
                                                                                                                 Page   2


          Re: Andrew Delaney, Debtor                                                            Invoice No. 20210095




                      Professional services:

                                                                                                         Hours     A1nount

             03/11/21 DAG Review filed documents of A. Delaney concerning matter;                        0.30      135.00
                          confer with BDS

                      DAG Review e-mails exchanged with S. Zannikos of Mcstel re:                        0.80      360.00
                          new matter (multiple); review (briefly) district court and
                          bankrutpcy filings; confer with BDS; retrieve documents
                          from both cases on PACER

                      BDS    E-mail messages from and to S. Zannikos re: new matter                      0.50      287.50
                             (multiple); review bankruptcy filing

             03/12/21 DAG Preparation of list of issues to discuss; t/c/w S. Zannikos                    0.70      315.00
                          and BDS re: prospective new matter for HC2; revise BDS's
                          e-mail to S. Zannikos

                      BDS    Telephone conference with S. Zannikos and DAG; e-mail                       0.50      287.50
                             to S. Zannikos

             03/15/21 ALL    Preparation of Notice of appearance; office conference with                 0.20       32.00
                             DAG re: same

                      DAG E-mail message from S. Zannikos re: debtor's motion to                         1.80      810.00
                          dismiss; review PACER, retrieve and review motion to
                          dismiss, notice of new address and amended schedules;
                          review bankruptcy petition; evaluate grounds to oppose
                          motion to dismiss; confer with BDS re: grounds to oppose
                          motion to dismiss; review (briefly) applicable law re:
                          motion to dismiss; e-mail message to S. Zannikos re: next
                          steps, motion to dismiss

                      BDS    E-mail messages from and to S. Zannikos; discuss with                       0.40      230.00
                             DAG

            03/16/21 ALL    Preparation of Opposition to the Debtor's Motion to                          0.20       32.00
                            Dismiss; office conference with DAG re: same


                                 .                                                   . ..._      .....                  .



               SPECTOR & EHRENWORTH, P.C. 30 Columbia Turnpike, Florham Park, New Jersey 07932-2261
                                           [(973) 593-4800/FAX (973) 593-4848]
FILED: NEWCase 1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 INDEX
            YORK   COUNTY CLERK 06/04/2024 02:24 PM                    20:30:39
                                                                             NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL              Document 1-1           Filed 07/10/24        Page 155 ofNYSCEF:
                                                                                               RECEIVED   190    06/04/2024




            HC2, Inc. d/b/a Hire Counsel                                                              April 7, 2021
                                                                                                          Page 3


            Re: Andrew Delaney, Debtor                                                        Invoice No. 20210095



                                                                                                   Hours     Amount

               03/16/21 DAG E-mail messages from (2) and to S. Zannikos; confer with               2.00      900.00
                            BDS; review dockets in Delaney v. Delaney and Delaney v.
                            Sullivan & Cromwell lawsuits; briefly review filed
                            pleadings and papers in pending lawsuits; e-mail message
                            to G. Messer with introduction, discuss undisclosed
                            information; electronically file notice of appearance

                        BDS     E-mail message from S. Zannikos; discuss with DAG;                 0.50      287.50
                                review additional e-mails exchanged with him, with G.
                                Messer, and with A. Delaney

               03/ 17/21 ALL    Continued preparation of the Opposition to Debtor's Motion         0.40       64.00
                                to Dismiss

                        DAG E-mail messages from and to S. Zannikos re: new lawsuit                J .40     630.00
                            filed by A. Delaney, my t/c/w G. Messer; review NY
                            ecourts (briefly) re: new lawsuit (not available online yet);
                            e-mail messages from and to (2) G. Messer re: new lawsuit
                            filed, request transcript from meeting of creditors and asset
                            report; telephone conference with G. Messer re:
                            introduction, pending lawsuits, status of bankruptcy case,
                            next steps

                       BDS     E-mail messages exchanged S. Za!Ulikos; discuss with                0.50     287.50
                               DAG ; review e-mails exchanged with G. Messer; review
                               e-notice from court

              03/18/21 DAG E-mail messages from (4) and to S. Zaru1ikos re:                        3.1 0   1,395.00

                                                   l/c/w (2) S. Zannikos re:

                                                    ·receive and review (briefly) NY
                               Supreme Court complaint; t/c/w G. Messer re: need to seal
                               complaint; e-mail message from G. Messer with attached
                               Lexis report and transcript of meeting of creditors; receive
                               and review notice of assets, notification list; receive and
                               review (briefly) order dismissing counterclaims, amended


                               ~====:'!!
                               4
                                   7
                                      instructions  ·
                                                    we
                                                confer 1:--••
                               counterclaims; legal research re: . . . . . . . . . ..
                                                            BDD:
                                                       withre:
                                                   to ALL      ti S ~r~e.~
                                                                         ·


                 SPECTOR & EHRENWORTH, P.C. 30 Columbia Turnpike, Florham Park, New Jersey 07932-2261
                                             [(973) 593-4800/FAX (973) 593-4848)
FILED: NEW Case
            YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
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           HC2, Inc. d/b/a Hire Counsel                                                                         April 7, 2021
                                                                                                                     Page   4


           Re: Andrew Delaney, Debtor                                                                   Invoice No. 20210095



                                                                                                             Hours     Amount



              03/18/21 BOS    E-mail messages from S. Zannikos (3); discuss with DAG                         0.50      287.50
                              re:

              03/19/21 ALL    Office conference with DAG re:                                                 0.50       80.00

                                                           office conference with DAG re:
                              findings

                       ALL    Preparation of Motion for Extension of Time; office                            0.60       96.00
                              conference with DAG re: same

                      DAG Review file, search report and transcript of meeting of                            1.70      765.00
                          creditors; e-mail message to S. Zannikos


                             :~~~========~:~~~;instructions
                              ALL re:                     - .
                                                              ·. receive
                                                                     ..
                                                                         and review
                                                                            e-mail
                              messages from (2) and to (2) S. Zannikos r e : • • • • •
                                                                                                  to
                      BOS     Receive and review e-mails exchanged witlitl••ill•                             0.40      230.00

             03/22/21 ALL ~C~h~e~ck=~"'······-··•1111•                                                       0.10       16.00

                                                           -
                      DAG Preparation of pleadings -- motion to extend time to file                          2.40    1,080.00
                          discharge objection and dischargeability determination

             03/23/21 DAG E-mail messages from and to S. Zam1ikos re: •11111111811•11P                       0.20       90.00


                      BOS    Review e-mails exchanged with S. Zannikos                                       0.20     115.00


             03/24/21 ALL    Check~==~~~~~~::::::..
                             •lllllllll!ll!lit;; preparation of Proof of Claim
                                                                                                             0.50      80.00



                                                           --
                      DAG Preparation of pleadings -- motion for extension of time to                        4.60    2.070.00
                          file discharge and dischargeability complaint; instructions
                          to ALL for preparation of proof of claim; legal research re:
                             c       E                                           ;




                                                                                       ;
                SPECTOR & EHRENWORTH, P.C. 30 Columbia Turnpike, Florham Park, New Jersey 07932-2261
                                               [(973) 593-4800/FAX (973) 593-4848]
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
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              Case
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         HC2, Inc. d/b/a Hire Counsel                                                                April 7, 2021
                                                                                                          Page   5


         Re: Andrew Delaney, Debtor                                                          Invoice No. 20210095



                                                                                                  Hours     Ainount



            03/25/21 DAG Confer with BDS re:            .   ..   . .                              5.10    2,295.00

                            with
                            research
                                                 e-mail message to S. Zannikos re: ·
                            adi   lanah   e na   · legal research re: gunmengdgenid n

                                                                     preparation of
                            motion for extension of time; preparation of opposition to
                            motion to dismiss; e-mail message to S. Zannikos . .


                     BDS    Telephone conference with DAG re:                                     1.00      575.00
                            review e-mails exchanged with S. Zannikos; review and
                            revise motion for extension of time and opposition t<>
                            motion to dismiss

            03/26/21 J cs   Download documents from PACER and attach to case                      0.30       21.00
                            record

                     ALL    E-mail message tp S. Zannikos                                         0.10       16.00



                     ALL    Revision to the cert. of service for the Motion for Extension         3.30      528.00
                            of Time to Object; check
                            ts            . 3       t                  •          41
                            coJTespondence drafted to Judge Mazer-Marino encl.
                            courtesy copy of Motion for Extension of Time to Object;
                            coJTespondencc drafted to Judge Mazer-Marino encl.
                            courtesy copy of Opposition to Debtor's Motion to Dismiss
                            Case; revision to certificates of services for the Motion for
                            Extension of Time to Object and the Opposition to Debtor's
                            Motion to Dismiss Case; preparation of cover page for the
                            exhibits to the Motion for Extension of Time to Object and
                            the Opposition to Debtor's Motion to Dismiss Caseattention
                            to service of both the Motion for Extension of Time to
                            Object and the Opposition to Debtor's Motion to Dismiss
                            Case




              SPECTOR & EHRENWORTH, P.C. 30 Columbia Turnpike, Florham Park, New Jersey 07932-2261
                                             [(973) 593-4800/FAX (973) 593-4848]
FILED: NEWCase 1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 INDEX
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                                                                                                RECEIVED   190    06/04/2024




            HC2, Inc. d/b/a Hire Counsel                                                               Apl"il 7, 2021
                                                                                                            Page    6


           Re: An.drew Delaney, Debtor                                                         Invoice No. 20210095



                                                                                                    Hours     Amount


               03/26/21 DAG Revision to, redraft opposition to motion to dismiss and                4.80    2,160.00
                            motion for extension of time; receive and review G.
                            Messer's opposition to motion to dismiss, motion for
                            extension of time to object to discharge; t/c/w S. Zannikos
                            re:     3      5 IX A . L
                                                              1

                                                              IJ         I I ;
                                                                                   -'·- -
                            redraft motion and opposition papers, certifications;
                            preparation of proposed fonn oforder; revise and redraft
                            certificate of service; e-mail message to trustee's attorneys
                            re: error in their affidavit of service; electronically file
                            motion for extension of time and opposition to motion to
                            dismiss; e-mail messageto and from (multiple) S. Zannikos

                        BDS      Office conference with DAG r e : • • • • l l ! I • • •             0.50      287.50
                                 review e-mails exchanged with S. Zannikos

              03/29/21 DAG Receive and review chapter 7 trustee's paper copies of                   0.20       90.00
                           motion papers, review exhibits

              03/30/21 ALL       Preparation of supplemental certificates of service for the        0.20       32.00
                                 Motion for an extention of time and the opposition to
                                 debtor's motion to dismiss; service of same

                       DAG Receive and reviewr~==========                                           0.40      180.00
                           retrieve and review4
                           instructions to ALL re:
                                                                 electronically file 2
                           supplemental certificates of service; e-mail message to S.
                                 Zannikos•••••••••••••••
                             •         a
                       BDS       Office conference with DAG re: status                              0.20      115.00

              03/31/2 1 DAG Receive and review chapter 7 trustee's supplemental                     0.10       45 .00
                            certificate of service re: objection and motion for extension
                            of time




                       For professional services rendered                                         41.20 $ 17 ,307 .00




                SPECTOR & EHRENWORTH, P.C. 30 Columbia Turnpike, Florham Park, New Jersey 07932-2261
                                               ((973) 593-4800/FAX (973) 593-4848]
FILED: NEWCase
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           HC2, Inc. d/b/a Hire Counsel                                                              April 7, 2021
                                                                                                            Page     7

           Re: Andrew Delaney, Debtor                                                       Invoice No. 20210095




                        Disbursements:

                                                                                               Qty/Price       Ainount

              03/25/21 DAG Research charges from 3rd party providers                                 1          79.92
                                                                                                 79.92

              03/26/21 JCS     Postage                                                                1            8.80
                                                                                                   8.80

                       JCS     Postage                                                              18         138.60
                                                                                                  7.70

                       JCS     Postage                                                                2         17.10
                                                                                                   8.55

                       JCS     Postage                                                               1             8.25
                                                                                                  8.25

                       JCS     Postage                                                               1             9.90
                                                                                                  9.90

                       JCS     Photocopies                                                       1,870         280.50
                                                                                                  0.15

              03/30/21 JCS    Postage                                                                1             8.55
                                                                                                  8.55

                       JCS    Photocopies                                                          160         24.00
                                                                                                  0.15



                       Total disbursements                                                                   $575.62

                                                       User Summary
         Name                                                                      Hours      Rate            Amount
         Brian D. Spector, Esq.                                                     5.20    575.00          $2,990.00
         Douglas A. Goldstein, Esq.                                                29.60    450.00         $13,320.00
         Abigail L. Lynch (Paralegal)                                               6.10    160.00            $976.00
         Jackie C. Sokol                                                            0.30     70.00             $21.00




                SPECTOR & EHRENWORTH, P.C. 30 Columbia Turnpike, Florham Park, New Jersey 07932-2261
                                             ((973) 593-4800/FAX (973) 593-4848]
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                                                                                                        RECEIVED   190    06/04/2024




               -«0
               ...
                       SPECTOR &
                       EHRENWORTH, P.C.
                       Attorneys et Law

                       30 Columbia Turnpike,   Florham Park,   New Jersey 07932-2261    973.593.4800     Fax: 973.593.4848




                                                   Taxpayer Identification No. XX-XXXXXXX
                                                                                                              .....



          HC2, Inc. d/b/a Hire Counsel                                                                                 May 5, 2021
          360 Lexingston Avenue
          Suite 1100
          New York, NY 10017
          Attention: Stephanis Zannikos, Esq.
                                ...........                                                                   .   ...._.       ........_




          For legal services rendered through April 30, 2021                                            Invoice No. 20210132
          in connection with the following matter:
           Andrew Delaney, Debtor


                                                               Invoice Summary

                                                                                                                               Atnount

                       Previous balance                                                                                    $17,882.62

                       Total amount of this bill                                                                           $13,948.94


                       Balance due                                                                                         $31,831.56
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                                     . .
                                                                       INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL                     Document 1-1                 Filed 07/10/24   Page 161 ofNYSCEF:
                                                                                                       RECEIVED   190    06/04/2024




          IIC2, Inc. d/b/a Hire Counsel                                                                           May 5, 2021
                                                                                                                    Page 2

          Re: Andrew Delaney, Debtor                                                                    Invoice No. 20210132




                      Professional services:




                                                                                                             --
                                                                                                             I-lours     Amount

             04/01/21 DAG E-mail                        from and to                    re:

                                                                    receive    and review
                                     review                                                  ended
                             - f e r w i t h B D S re:
                                             bankruptcy case

                      BDS    Receive and review e-mails exchanged w i t h -                                  0.50       287.50
                             and new complaint filed by Delaney; discuss with DAG

             04105121 DAG Receive and review--reply to our opposition to                                     0.60       270.00
                            his motion to d i - v i -
                            - )              re:


                      BDS    Review debtor's response to objection to motion to dismiss;                     0.40       230.00
                             discuss with DAG; e-mails from and t o -

             04106121 DAG Electronically file proof of claim, enter claim infon11ation                       0.20        90.00
                          into CM/ECF; e-mail message t o - w i t h filed




                                                                                                            --
                             proof of claim

                      DAG E-mail messa                  from and

                             review   fil     riefly)     re:   discussion     re:

                                              legal researc          briefly
                                              t/c/w                          nd       re:s~
                             next steps;    e-mail      message to                     re:-

                      BDS    Receive and review e-mails exchanged w i t h -                                  0.20       115.00

            04/08/21 DAG Review file, docket in preparation for hearing on debtor's                          2.50      1,125.00
                            motion to dismiss; telephonic appaerance at hearing on
                            motion to dismiss· e-mail messages from (2) and to.
                            -re:                         confer with BDS re: today's
                            hearing; e-mail message to         re:



                SPECTOR & EHRENWORTH, P.C. 30 Columbia Turnpike, Florham Park, New Jersey 07932-2261
                                                ((973) 593-4800/FAX (973) 593-4848]
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                                                                                                  RECEIVED   190    06/04/2024




          HC2, Inc. d/b/a Hire Counsel                                                                    May 5, 2021
                                                                                                            Page 3


          Re: Andrew Delaney, Debtor                                                              Invoice No. 20210132



                                                                                                       Hours       Ainount



             04/08/21 BDS       Receive and review e-mails exchanged w i t h -                         0.40    .   230.00
                                t/c/w DAG re: results of hearing and strategy

             04/09/21 DAG E-mail mess              e from                                              0.60        270.00
                             resear                                         -mail  messages
                                                                                e-mail message
                             to                    with update,


                      BDS       Receive and review e-mails exchanged w i t h -                         0.10         57.50

             04/12/21 DAG Receive and review A. Delaney's motion for relief               from         1.10        495.00
                             automatic     stay;    e-mail messa                      with
                             attached    stay relief   motio                          e-mail
                             rnessa           m2                              -mail     m
                             to (2)                    with


                      BDS    Review (brief) ofDelan~fmotion; review                                    0.40        230.00




                                                                                                      • -
                             e-mails exchanged w i t h -

             04113/21 DAG E-mail message f r o m - r e :
                            -            will respond later this week

                      BOS    Receive and review e-mails exchanged w i t h -                            0.10         57.50
                                                                                                                             ..




                            -
             04114/21 ALL    Initial setup of letter t o - r e : Debtor's objection to                 0.20         32.00
                             our motion for an extension of time; e-mail same to.


                      DAG Receive and review A. Delaney's objection to our motion                      2.70    1,215.00
                            for extension of time to object to discharge; receive and
                           review (briefly) order granting tmstee's retention of
                           counsel; confer with BDS re: status of case, debtor's
                            objection to our motion, recommendations and next steps;
                           review file re: filings and case status; receive and review A.
                           Delaney's amended motion for relief from automatic stay;
                           review docket on PACER re: status; cmTespondence drafted
                           to                   background, case progress and status,
                           recommendations; e-mail messages from an~
                          -            review string of e-mails between-and


               SPECTOR & EHRENWORTH, P.C. 30 Columbia Turnpike, Florham Park, New Jersey 07932-2261
                                                   [(973) 593-4800/FAX (973) 593-4848]
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 . Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                                    . .
                                                                         INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL                  Document 1-1            Filed 07/10/24          Page 163 ofNYSCEF:
                                                                                                      RECEIVED   190    06/04/2024




         HC2, Inc. d/h/a Hire Counsel                                                                         May 5, 2021
                                                                                                                Page 4

         Re: Andrew Delaney, Debtor                                                                   Invoice No. 20210132




                           -
                                                                                                           Hours     Amount




            04/14/21 BDS    Review (brief) of objection to motion for extension; discuss                   0.40      230.00
                            with DAG; review and revise lette~

            04/15/21 DAG Receive and review docket                notices from bankruptcy court             1.20     540.00
                            re: A. Dela      's st     relief    motion review file in advance
                            of call with                        nd              Zoom meeting
                            with


            04116/21 ALL    Set up reply to Debtor's opposition to Plainitffs Motion to                    0.20       32.00
                            Extend Time; preparation of Certificate of Service for same

                     DAG Receive and review proposed stipulation between trustee                           4.30    l,935.00
                         and A. Delaney re: extension of time; receive and review
                         stipulated order for extension of trustee's time to ob'ect to
                         dischar e· e-mail messa es to and from

                                             preparation ofreply in further support of
                            motion for extension of time; electro~
                            papers; e-m~ from and t o - e-mail
                            message t o - w i t h attached reply papers, prospect
                            of discussion with A. Delaney's attorney

                     DAG Place a call to, and leave a message f o r , - r e :                              0.10 No Charge
                         whether to file reply to opposition to motion for extension
                         of time

                    BDS    Receive and review notices from court re: trustee obtaining                     0.70     402.50
                           consensual extension of deadline; review e-mails
                           exchanged w i t h - re~mission;
                           review e-mails exchanged w i t h -

            04/19/21 DAG E-mail messa            from (2) and to (2)                        re:            0.20      90.00


                    DAG     E-mail   messa       to       and from                     e:                  2.30    1,035.00
                                                                              I
                                             I                       ml.I                     re:.



              SPECTOR & EHRENWORTH, P.C. 30 Columbia Turnpike, Florham Park, New Jersey 07932-2261
                                             [(973) 593-4800/PAX (973) 593-4848]
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 . Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                      INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL            Document 1-1          Filed 07/10/24           Page 164 ofNYSCEF:
                                                                                               RECEIVED   190    06/04/2024




         HC2, Inc. d/b/a Hire Counsel                                                                  May 5, 2021
                                                                                                         Page 5


         Re: Andrew Delaney, Debtor                                                            Invoice No. 20210132



                                                                                                    Hours    An1ount

                                      re:                      e-mail message from.
                                      re:                confer with BDS r e : -
                                      review file in preparation for hearing on motion
                            for extension of time

            04/19/21 BDS    Receive and review e-mails exchanged w i t h -                          0.20     115.00

            04/20/21 ALL    Review formatting instructions for a EDNY Order; revision               0.50      80.00
                            to Order for Extension of Time; format Order for Extension
                            of time; office conferences with DAG re: same; run a
                            redline of the Order for Extension of Time

                     DAG E-mail messa es from        2 and to   3              re:                  2.80    1,260.00

                                                    review file (briefly) for today's
                           motion hearing; telephonic court appearance for hearing on
                                                                                     e·
                           our motion for extension of time to ob ect to dischar
                           e-mail m       es from and to                   re:



                                    prepare redline of proposed order; instructions to
                                    re:revis~eto-­
                                      re:-receiveand
                           review (briefly) debtor's unsigned amended schedules and
                           statement of financial affairs; receive and review notice of
                           adjournment of hearing on stay relief motion

                     BDS   Receive and review e-mails exchanged w i t h -                           0.20     115.00

            04/21/21 DAG E-mail message from                    with approval of                    0.30     135.00
                           proposed fonn of order for extension of time; prepare pdf
                           of order; upload pdf and docx forms of order lo ECF

                     DAG E-mail messages to and f r o m - r e : proposed                            OAO      180.00
                         fom1 of order for extension of time· e-mail messa e to.

                           e-mail   messa       m                                    e-mail
                           message to                 r




               SPECTOR & EHRENWORTII, P.C. 30 Columbia Turnpike, Florham Park, New Jersey 07932-2261
                                            [(973) 593-4800/F AX (973) 593-4848]
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                               . .
                                                                       INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL                  Document 1-1                     Filed 07/10/24     Page 165 ofNYSCEF:
                                                                                                          RECEIVED   190    06/04/2024




          HC2, Inc. d/b/a Hire Counsel                                                                            May S, 2021
                                                                                                                       Page   6


          Re: Andrew Delaney, Debtor                                                                      Invoice No. 20210132



                                                                                                               Hours     Amount

             04/21/21 BDS    Receive and review e-mails exchanged w i t h -                                    0.20      115.00

             04/22/21 DAG E-mail mess              from and to                                                 0.80      360.00
                            re:                                e-mail   messages to (3) and from
                             (                  e:                        sta relief motion
                                   rned· receive     and review     briefl        )
                                                                           e-mail message to
                                   with instructions     for   comprehensive search

                      BDS   Receive and review e-mails exchanged w i t h -                                     0.20      115.00

             04/23/21 DAG E-mail messages from                                                                 0.20       90.00
                          e-mail message to                         e


             04/26/21 DAG                                                                                      0.50      225.00

                            receive   and review order, as entered, extendir                HC2's time
                            to         to discha     e-mail messa      to
                            re:




                      BDS   Receive and review e-mails exchanged w i t h -                                     0.10       57.50

             04/28/21 DAG - s from and to                                                                      0.30      135.00
                             review (briefly)

                      DAG E-mail   mess        from                                             eceive         0.60      270.00
                            and review                             e-mail         messa    to
                            -re:

             04/29/21 DAG E-mail message from                                                                  0.20       90.00
                          e-mail message to

             04/30/21 DAG E-mail mess es from and t                                                            0.50     225.00
                          re:
                          iiiiliiliiiliilnd from (2
                                               proceed with
                          payment


                                                                             ..



               SPECTOR & EHRENWORTH, P.C. 30 Columbia Turnpike, Florham Park, New Jersey 07932-2261
                                             [(973) 593-4800/FAX (973) 593-4848]
FILED: NEW Case
            YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                      INDEX NO. 155158/2024
NYSCEF DOC. NO.Case
                3   1:24-cv-05211-LJL        Document 1-1        Filed 07/10/24        Page 166 of NYSCEF:
                                                                                         RECEIVED  190     06/04/2024




          HC2, Inc. d/b/a Hire Counsel                                                            May 5, 2021
                                                                                                       Page   7


          Re: Andrew Delaney, Debtor                                                    Invoice No. 20210132



                                                                                             I-lours     An1ount




                      SUBTOTAL:                                                    [        30.40      13,886.50]




                SPECTOR & EHRENWORTH, P.C. 30 Columbia Turnpike, Florham Park, New Jersey 07932-2261
                                         [(973) 593-4800/FAX (973) 593-4848]
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                              .   .
                                                                       INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL                  Document 1-1         Filed 07/10/24    Page 167 ofNYSCEF:
                                                                                             RECEIVED   190    06/04/2024




          HC2, Inc. d/b/a Hire Connsel                                                                       May 5, 2021
                                                                                                                  Page     8
                                                                                                    . ....


          Re: Andrew Delaney, Debtor                                                         Invoice No. 20210132

          ..   .... . ..




                                                                                                   Hours            A111ount

                           For professional sel'Viccs rendered                                    30.40 $13,886.50

                           Disbursements:

                                                                                                Qty/Price

               03/31/21 JCS       Charges from the United States courts for Pacer service             1              46.70
                                                                                                  46.70

               04116/21 JCS       Postage                                                             21             10.71
                                                                                                    0.51

                           DAG Research charges from 3rd party providers                               1                 5.03
                                                                                                    5.03


                           SUBTOTAL:                                                                          [      62.44]




                   SPECTOR & EHRENWORTH, P.C. 30 Columbia Turnpike, Florham Park, New Jersey 07932-226 l
                                                 [(973) 593-4800/F AX (973) 593-4848]
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL             Document 1-1         Filed 07/10/24         Page 168 ofNYSCEF:
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         HC2, Inc. dlb/a Hire Counsel                                                                  May 5, 2021
                                                                                                         Page 9

         Re: Andrew Delaney, Debtor                                                           Invoice No. 20210132




                                                                                                            Atnount
                       Total disbursements                                                                  $62.44

                                                       User Summary
         Name                                                                      Hours        Rate        Amount
         Brian D. Spector, Esq.                                                     4.10      575.00     $2,357.50
         Douglas A. Goldstein, Esq.                                                25.30      450.00    $ll,385.00
         Douglas A. Goldstein, Esq.                                                 0. 10       0.00         $0.00
         Abigail L. Lynch (Paralegal)                                               0.90      160.00       $144.00




                SPECTOR & EHRENWORTH, P.C. 30 Columbia Turnpike, Florham Park, New Jersey 07932-2261
                                             [(973) 593-4800/FAX (973) 593-4848]
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL                  Document 1-1            Filed 07/10/24           Page 169 ofNYSCEF:
                                                                                                       RECEIVED   190    06/04/2024




                      SPECTOR &
                      EHRENWORTH, P.C.
                      Attorneys at Law

                      30 Columbia Turnpike, Florham Park, New Jersey   07932~2261      973.593.4800      Fax: 973.593.4848




                                                   Taxpayer Identification No. 22w3483515




         HC2, Inc. d/b/a Hire Counsel                                                                              June 4, 2021
         360 Lexingston Avenue
         Suite 1100
         New York, NY 10017
         Attention: Stephanis Zannikos, Esq.



         For legal services rendered through May 31, 2021                                              Invoice No. 20210183
         in connection with the following matter:
          Andrew Delaney, Debtor


                                                           Invoice Summary
                                                                                                                             Amount

                      Previous balance                                                                               $31,831.56

                      Total amount of this bill                                                                      $16,962.00

          5/18/2021 PAYMENT-THANK YOU                                                                                ($7,882.62)
           6/3/2021 PAYMENT- THANK YOU (Check No. ATA 1580)                                                         ($10,000.00)

                      Total payments and adjustments                                                                ($17,882.62)

                      Balance due                                                                                    $30,910.94




                   Current               30 Days             60 Days                90 Days            120+ Days
                $16,962.00       $13,948.94                    $0.00                  $0.00                $0.00
        . Case 1-20-44372-jmm . Doc 61-5 Filed 06/16/21 . Entered 06/16/21 20:30:39
                                                                           INDEX NO. 155158/2024
FILED: NEW YORK COUNTY CLERK 06/04/2024 02:24 PM
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL                    Document 1-1                        Filed 07/10/24                Page 170 ofNYSCEF:
                                                                                                                          RECEIVED   190    06/04/2024




         HC2, Inc. d/b/a Hire Counsel                                                                                             June 4, 2021
                                                                                                                                       Page   2


         Re: Andrew Delaney, Debtor                                                                                       Invoice No. 20210183




                     Professional services:

                                                                                                                               Hours     An1ount

            05/03/21 DAG E-mail mes                                                                         e-mail             0.10       45.00
                         message to

            05/07/21 DAG E-mail mess                                                                                           2.20      990.00
                                                       e-mail    mess        e fr                           e:



                                                     e-mail     mess     es from           2)                    re:

                             uestion    r     ardi                                          e-mail   mes           to
                                              and
                                                                       lan        's   claims        ail

                            mess            from and to                                                            re:

                                                          review                                       e-mail
                            message to                          wit                                  and
                            observations


            05/10/21 DAG E-mail messa                  from        and to                                                      0.50      225.00

                                                                                                -mail message
                                                 re:




            05/13/21 DAG E-mail messa                  from and to



                                                review A. Delaney's
                                                              opposition          to our motion for
                                                                                                                              --
                            extension   of time, reply in su                 rt    of his motion to dismiss;
                                 aration of memoran




            05/14/21 DAG E-mail messages to and fro                                                                            2.20      990.00
                            receive    and review




               SPECTOR & EHRENWORTH, P.C. 30 Columbia Turnpike, Florham Park, New Jersey 07932-2261
                                                 [(973) 593-4800/FAX (973) 593-4848]
          . Case 1-20-44372-jmm . Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
FILED: . NEW YORK COUNTY CLERK 06/04/2024 02:24 PM                         INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL                 Document 1-1                     Filed 07/10/24   Page 171 ofNYSCEF:
                                                                                                       RECEIVED   190    06/04/2024




          HC2, Inc. d/b/a Hire Counsel                                                                         June 4, 2021
                                                                                                                    Page   3


          Re: Andrew Delaney, Debtor                                                                   Invoice No. 20210183



                                                                                                            Hours     An1ount



                             e-mail   mess   es t               nd fro

                                                                          ail   messa     and from



             05/17/21 DAG Preparation of pleadings ---- ex parte motion for entry of                        4.30    1,935.00
                          order granting leave to serve Rule 2004 duccs tecum
                          subpoenas

             05/18/21 ALL    Preparation of Ruic 2004 ex parte application; certification                    1.50     240.00
                             in support, proposed order, and certification of service·
                             office conference with DAG re: same;


                      DAG Preparation of pleadings ---- revise ex parte application,                        3.60    1,620.00
                          certification and order for Rule 2004 sub oenas duces
                             tecu         1 research      re:



                             e-mail   message to                           with


                      BDS    Revision to Rule 2004 application papers                                       0.20      115.00

             05/19/21 DAG Revision to, ex parte application, certification and proposed                     2.10      945.00
                          order re: Rule 2004 subpoenas; e-mail messa        from
                             and t                  re:    draft       application
                                             research           brie


                                          e-mail message to chambers re: filing of ex
                             pa rte application; preparation of Rule 2004 subp.oenas
                             duces tecum

                      BDS    Receive and review e-mails exchanged w i t h -                                 0.10       57.50

            05/20/21 ALL     Preparation of Rule 2004 Subpoenas for the Financial                           0.90      144.00
                             Institutions identified in the Rule 2004 ex parte
                             applications; office conferences with DAG re: same




               SPECTOR & EHRENWORTH, P.C. 30 Columbia Turnpike, Florham Park, New Jersey 07932-2261
                                             [(973) 593-4800/FAX (973) 593-4848]
FILED: NEW Case
            YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                      INDEX NO. 155158/2024
NYSCEF DOC. NO.Case
                3   1:24-cv-05211-LJL                Document 1-1                Filed 07/10/24             Page 172 of 190
                                                                                                              RECEIVED  NYSCEF: 06/04/2024




           HC2, Inc. d/b/a Hire Counsel                                                                               June 4, 2021
                                                                                                                            Page   4


           Re: Andrew Delaney, Debtor                                                                        Invoice No. 20210183



                                                                                                                  I-fours     Amount

              0512012 l DAG E-mail message from Judge Mazer-Marino's chambers re:                                 4.40       1,980.00
                            submission of ex parte application; finalize application for
                            Rule 2004 subpoenas; electronically file ex parte
                            application for order authorizing Rule 2004 subpoenas
                            duces tecum; upload proposed order; review docket,
                            retrieve filed co of ex paite a licatioff e-mail messages
                             from and t



                                          ail   messa      om and to                         e:



                                                                         legal   research    re:

                                                           all    messa           m         and to (5)



                                                                          eive and revi            revise
                             and redra



              05121121 ALL    Revision to Rule 2004 Subpoenas                                                     0.20         32.00

                       DAG E-mail message from C. Li             an re uesting    pleadings;       e-mail
                                                                                                                  2.30      l,035.00
                             messages to (2) and from                 re: C. Lipan's request

                             for pleadings and case numbers; review file      briefly)     re: C.

                             Lipan's request; e-mail mess      from                    receive
                             and revi     briefl                  edline revisions to
                                                                                ail messages

                             fr                                                          review
                                                       retrieve and revi
                                                                                         e-mail


                                                                                    revise and

                              redraft subpoenas

             05125121 DAG E-mail messages from and to R. Blumenfeld re: service of                                2.40      1,080.00
                          objection to our ex parte application for Rule 2004
                          examination; receive notice of filing of objection; retrieve
                          and review A. Delaney's objection; receive and review
                          message from G. Herbst; place a call, leave a message for,
                          G. Herbst; e-mail message from C. Lipan; telephone


                 SPECTOR & EHRENWORTH. P.C. 30 Columbia Turnpike, Florham Park, New Jersey 07932-2261
                                                 [(973) 593-4800/FAX (973) 593-4848]
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL                  Document 1-1                    Filed 07/10/24                  Page 173 ofNYSCEF:
                                                                                                                      RECEIVED   190    06/04/2024




          HC2, Inc. d/b/a Hire Counsel                                                                                          June 4, 2021
                                                                                                                                      Page   5


          Re: Andrew Delaney, Debtor                                                                                   Invoice No.20210183



                                                                                                                            I-lours     A1nount

                                                             an·
                             conference        with C. Li          e-mail   messa es to and from               2)
                                               re:

                            telephone     conference        with G. Herbst     re:   solicitation         of offer
                            to settle     el     hone conference        with                        re:

                                                                                A. Dela              's

                                               our ex parte application,



             05/26/21 ALL   Download from PACER, save, and attach to the case record                                         1.20       192.00
                            Debtor's Objection to the Proof of Claim filed by HC2;
                            office conference with DAG re: finalizing Rule 2004
                            Subpoenas; correspondence drafted to Guaranteed
                            Subpoena enclosing Subpoenas for service; finalize
                            Subpoenas; scan and save to the case record the Subpoenas
                            signed by DAG and the letter to Guaranteed Subpoena
                            signed by DJE; e-mail lette,...nas to Guaranteed
                            Subpoena; forward same to                set up Complaint

                     DAG Receive and review order granting Rule 2004 ex parte                                               1.80        810.00
                         application with additional provisions; receive and review
                         A. Delaney's objection to HC2's proof of claim; instrnctions
                         t o - e : objection to proofof claim; e-mail message to
                         A. Delaney re: Rule 2004 order, claim objection; attention
                         to preparation and execution of Rule 2004 subpoenas on
                         financial institutions· e-mail mess a es from 2
                            re:
                                 re: preparation of adversary complaint; begin
                            preparation of adversary complaint

                     BDS    Review (brief) of debtor's opposition to application to issue                                   0.80       460.00
                            Rule 2004 subpoenas; review order; review o. . .        to
                            HC2's claim; review e-mails exchanged with
                            discuss with DAG

            05/27/21 ALL                                                                                                    0.20        32.00

                            and attach to the case record same




               SPECTOR & EHRENWORTH, P.C. 30 Columbia Turnpike, Florham Park, New Jersey 07932-2261
                                                 [(973) 593-4800/FAX (973) 593-4848]
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL                 Document 1-1            Filed 07/10/24        Page 174 ofNYSCEF:
                                                                                                   RECEIVED   190    06/04/2024




         HC2, Inc. d/b/a Hire Counsel                                                                         June 4, 2021
                                                                                                                   Page     6


         Re: Andrew Delaney, Debtor                                                                   Invoice No. 20210183




                                                                                                           --
                                                                                                           Hours      Atnount

            05/27/21 DAG Receive and review                           re:

                                                   mail messages to and from
                                                                                              ·
                            wi                              ration of ad               lain
                           research   (briefly


            05/28/21 ALL   Review service of Subpoenas on Wells Fargo, E-Trade, and                        0.40        64.00
                           Bank of America; note that E-Trade and Bank of America
                           would not accept service as it has to be served on CT
                           Corporation; office conference with DAG; e-mail message
                           to Guaranteed Subpoena re: service of E-Trade and Bank of
                           America Subpoenas on CT Corporation; e-mail message
                           from Guaranteed Subpoena re: they were unable to serve
                           the Subpoena on Charles Schwab; e-mail to Guaranteed
                           Subpoena re: service of Charles Schwab Subpoena on CT
                           Corporation

                                                  -- complaint objecting to
                     DAG Preparation of pleadings --                                                       2.70     1,215.00
                         discharge; review reports from Guaranteed Subpoena re:
                         mattempted
                         attempted service of Rule 2004 subpoenas; instructions to
                         - r e : service of Rule 2004 sub oenas· le al research
                         (briefly)


                     SUBTOTAL:                                                                    [       40.00    l 6,86 l.50]




              SPECTOR & EHRENWORTH, P.C. 30 Columbia Turnpike, Florham Park, New Jersey 07932-2261
                                                 [(973) 593-4800/FAX (973) 593-4848]
FILED: NEWCase
           YORK1-20-44372-jmm Doc 61-5 Filed 06/16/21 Entered 06/16/21 20:30:39
                  COUNTY CLERK 06/04/2024 02:24 PM                      INDEX NO. 155158/2024
NYSCEF DOC. NO.Case
                3   1:24-cv-05211-LJL                Document 1-1      Filed 07/10/24   Page 175 of NYSCEF:
                                                                                          RECEIVED  190     06/04/2024




          HC2, Inc. d/b/a Hire Counsel                                                                 June 4, 2021
                                                                                                             Page       7
                        .                  ......... .   .   .   ...                    ...                  ...



          Re: And1·ew Delaney, Debtor                                                         Invoice No. 20210183




                                                                                                   I-lours         A1nount

                      For professional services rendered                                          40.00 $16,861.50

                      Disbursements:

                                                                                                Qty/Price

             05/28/21 DAG Research charges from 3rd party providers                                     1          100.50
                                                                                                 I 00.50


                      SUBTOTAL:                                                                          [         I 00.50]




               SPECTOR & EHRENWORTH, P.C. 30 Columbia Turnpike, Florham Park, New Jersey 07932-2261
                                           [(973) 593-4800/F AX (973) 593-4848]
FILED: NEWCase
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              Case
NYSCEF DOC. NO. 3 1:24-cv-05211-LJL              Document 1-1        Filed 07/10/24        Page 176 ofNYSCEF:
                                                                                            RECEIVED   190    06/04/2024




          HC2, Inc. d/b/a Hire Counsel                                                                June 4, 2021
                                                                                                         Page   8

          Re: Andrew Delaney, Debtor                                                        Invoice No. 20210183




                                                                                                            A1nount
                       Total disbursements                                                                 $100.50

                                                       User Summary
         Name                                                                      Hours       Rate         Amount
         Brian D. Spector, Esq.                                                     1.10     575.00        $632.50
         Douglas A. Goldstein, Esq.                                                34.50     450.00     $15,525.00
         Abigail L. Lynch (Paralegal)                                               4.40     160.00        $704.00




                                                                                                                      -...




                SPECTOR & EHRENWORTH, P.C. 30 Columbia Turnpike, Florham Park, New Jersey 07932-2261
                                             [(973) 593-4800/FAX (973) 593-4848]
FILED: NEW YORK COUNTY CLERK 06/04/2024 02:24 PM                                                                                    INDEX NO. 155158/2024
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                                                              The LawOffice of Christopher T. Beres
                                                                    1600 Sarno noon, iso. z
                                                                        Melbourne, FL 32935
                                                                         Tel. (321) 339-9301
                                                                  christopherberes8@qmail.com




                April   07, 2020




                Toyota Motor Corporation
                1 Toyoto-Cho
                Toyota City
                Aichi Prefecture         471-8571
                Japan
                                       tovota.co.io


                Dear Mr                                                           :




                I represent     Andrew Delaney against Toyota.




                                                                                                              staIg o 5ep mber 30, 2019.


                OnMarch 17, 2020, you had Mr. Delaney illegally                       fired   for raising cancerns obout unlawful and unsafe
                conditions      in    your workplace.



                Prior to this        date,   you lilegally   disclosed   Mr. Delaney's Identity,      involvement,    and work-product   to the
                other side.



                At first,   you did not inform him obout the subject matter of the case which w




         CONFIDENTIAL                                                                                                                    HC2-05000511
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                                                                                                                                       RECEIVED   190    06/04/2024

    From:                     Stephanos Zannikos <SZannikos@hirecounsel.com>
    Sent:                    Monday, March 30, 2020 12:42                     PM
    To:                       edavis@workingsolutionsnyc.com
    Subject:                 Andrew Delaney - Hire Counsel


    Dear Mr. Davis,


    I understand        that you are representing             Mr. Delaney and that        all    communications about Mr. Delaney should be directed to you.

    On Friday, March 27, we received     a series of emails from Mr. Delaney that appear to reflect a misunderstanding     about his
    employment situation and status, and we felt it was necessary to address a couple of points that he made in his emails to
    ensure we have a clear understanding.        In his email, he mentioned that he was not an employee of Hire Counsel While that

    may currently be  true, he certainly  was   an  employee of Hire Counsel while assigned to work on the Wilmer Hale project in New
    York. Hire Counsel hired him to service its client, Wilmer Hale, and he was paid by Hire Counsel as a W-2 employee.        He
    worked onsite at a Hire Counsel facility    using   a Hire Counsel computer. His direct supervisor during the project was also a Hire
    Counsel employee.     He was also subject to a Hire Counsel employment agreement, which he had signed, and an employee
    handbook that he acknowledged.

    Moreover, Mr. Delaney was not illegally terminated.   ire Counsel lawfully terminated his employmen and the employment
    of the two other reviewers - when the services performed by Hire Counsel at its NewYork facility were legitimately suspended
    by Wilmer Hale due to health concerns over the COVID-19 outbreak.

    Wehope that this email clarifies               the nature of the services he provided              to Wilmer Hale as a Hire Counsel employee and the
    circumstances        around Hire Counsel's decision to terminate                   his      employment. Moving forward, please direct any and all
    communication addressed to Hire Counsel to my attention.

    Best,



    Stephanos Zannikos
    General Counsel


                   ire Couqs                            tel    & Company
    360 Lexington Avenue, Suite 1100
    NewYork, NY 10017
    646.356.0500 Main
    646.356.0528 Direct
    httgsfwww.linkedin.comfinfstephanos-zannikos



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                                                                   Best of Legal Recruiters
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    Additional    Industry   Awards 2018
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    "   Best Staffing    Providers for Legal/Litigation         Staffing   | The Recorder
    "   Best Professional     Recruiting    Firms | Forbes
    e   Best Executive Recruiting Firms | Forbes
    "   100 Leading Legal Consultants & Strategists               | Lawdragon


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    please reply to the sender, so that Hire counsel/Mestel    & companycan arrange for proper delivery and then please delete the messagefrom your inbox. Thank you.




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    UNITED STATES BANKRUPTCY COURT
    EASTERN DISTRICT OF NEW YORK

    BRIAN D. SPECTOR, ESQ.
    DOUGLAS A. GOLDSTEIN, ESQ.
    SPECTOR & EHRENWORTH, P.C.
    30 Columbia Turnpike, Suite 202
    Florham Park, New Jersey 07932-2261
    Tel.: (973) 845-6526
    Fax: (973) 593-4848
    e-mail: dgoldstein@selawfirm.com
    Attorneys for Movant, HC2, Inc. d/b/a Hire Counsel
    In re:                                                        Case No.:        1-20-44372-jmm

          ANDREW JOHN DELANEY,                                    Chapter:                7

                                        Debtor.                   Hearing Date: August 10, 2021 at 10:00 a.m.




                           NOTICE OF MOTION OF HC2, INC. D/B/A HIRE COUNSEL
                          TO WITHDRAW CLAIM 2 OF HC2, INC. D/B/A HIRE COUNSEL

             PLEASE TAKE NOTICE that on the 10th day of August, 2021 at 10:00 a.m. or as soon thereafter as

   counsel may be heard, HC2, Inc. d/b/a Hire Counsel, by and through its attorneys, Spector & Ehrenworth, P.C., shall

   move before the Honorable Jil Mazer-Marino, United States Bankruptcy Judge, at the United States Bankruptcy

   Court at Conrad B. Duberstein Courthouse, 271-C Cadman Plaza East, Suite 1595, Brooklyn, New York

   11201-1800, for the entry of an Order withdrawing Claim 2 of HC2, Inc. d/b/a Hire Counsel substantially in the

   form of the proposed order accompanying this Notice of Motion, and awarding such other and further relief as this

   Court may deem just and equitable.

             PLEASE TAKE FURTHER NOTICE that the Hearing will be conducted telephonically unless the Court

   directs otherwise. Parties wishing to participate in the Hearing should consult Judge Mazer-Marino’s procedures

   (https://www.nyeb.uscourts.gov/content/judge-jil-mazer-marino), or contact the undersigned counsel to HC2, Inc.

             PLEASE TAKE FURTHER NOTICE that a proposed form of Order is also included.

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            PLEASE TAKE FURTHER NOTICE that opposition to this Motion must be filed at least seven (7) calendar

   days before the return date.

            PLEASE TAKE FURTHER NOTICE that objections, if any, to the Motion must be in writing, conform with

   the Bankruptcy Code and the Bankruptcy Rules, state with particularity the grounds therefor and be filed with the

   Bankruptcy Court at least 7 days before the hearing date as follows: (I) through the Court's CM/ECF system, which

   may be accessed through the internet at the Court's website at https://www.nyeb.uscourts.gov/ and in portable

   document format (PDF) using Adobe Exchange Software for conversion; or (II) if a party is unavailable to file

   electronically, such party shall submit the objection in PDF format on portable media in an envelope with the case

   name, case number, type and title of document, document number to which the objection refers and the file name

   on the outside of the envelope.

            PLEASE TAKE FURTHER NOTICE that if no objections are timely filed and served with respect to

   Motion, HC2, Inc. may submit to the Bankruptcy Court an order substantially in the form of the proposed order

   annexed to the Motion, which order may be entered with no further notice or opportunity to be heard.

            PLEASE TAKE FURTHER NOTICE that the hearing on the Motion may be adjourned from time to time

   without any other announcement other than that set forth in open Court.

            PLEASE TAKE FURTHER NOTICE that oral argument is requested if opposition is filed to this motion.


                                                     SPECTOR & EHRENWORTH, P.C.
                                                     Attorneys for Movant, HC2, Inc. d/b/a Hire Counsel

                                                     By:   /s/ Douglas A. Goldstein
                                                             Douglas A. Goldstein
   DATED: July 19, 2021




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          UNITED STATES BANKRUPTCY COURT
          EASTERN DISTRICT OF NEW YORK

          BRIAN D. SPECTOR, ESQ.
          DOUGLAS A. GOLDSTEIN, ESQ.
          SPECTOR & EHRENWORTH, P.C.
          30 Columbia Turnpike, Suite 202
          Florham Park, New Jersey 07932-2261
          Tel.: (973) 845-6526
          e-mail: dgoldstein@selawfirm.com
          Attorneys for Movant, HC2, Inc. d/b/a Hire
          Counsel
          In re:                                                    Case No.:      1-20-44372-jmm

                ANDREW JOHN DELANEY,                                Chapter:                7

                                               Debtor.              Judge:        Jil Mazer-Marino

                                                                    Hearing Date: August 10, 2021 at 10:00 a.m.

                     MOTION OF HC2, INC. D/B/A HIRE COUNSEL FOR ENTRY OF AN
                   ORDER TO WITHDRAW CLAIM 2 OF HC2, INC. D/B/A HIRE COUNSEL

                   HC2, Inc. d/b/a Hire Counsel (“HC2”), a creditor and interested party, by and through its

         counsel, Spector & Ehrenworth, P.C., hereby brings this motion for entry of an order to withdraw

         Claim 2 of HC2 (the “Motion to Withdraw”), and respectfully represents as follows:

                                                PRELIMINARY STATEMENT

                   1.      By its Motion to Withdraw, HC2 seeks the withdrawal of its proof of claim, filed as

         Claim 2. This Court should grant the Motion to Withdraw because the debtor and the bankruptcy

         estate will benefit from the withdrawal of HC2’s claim and they will not be prejudiced in any

         material way. In particular, the Motion to Withdraw seeks relief analogous to the relief that the

         debtor seeks in his pending objection to HC2’s claim and, if granted, would avoid the unnecessary

         cost and delay of litigation to achieve that end.


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                  2.       In addition, upon granting the Motion to Withdraw, this Court will retain jurisdiction

         over HC2 and the pending adversary proceeding involving HC2 and Delaney. Also, the withdrawal

         of HC2’s claim will reduce the pool of claims that may share in a distribution from the bankruptcy

         estate. For the foregoing reasons and as discussed in more detail below, the Motion to Withdraw

         should be granted in its entirety.

                                                             BACKGROUND

                  3.       On December 23, 2021, Andrew John Delaney, the captioned debtor (“Delaney”),

         filed a voluntary petition under Chapter 7 of Title 11 of the United States Code (the “Bankruptcy

         Code”), which initiated this bankruptcy case.

                  4.       On April 6, 2021, HC2 filed Claim 2.

                  5.       On May 25, 2021, Delaney filed Debtor’s Objection to Proof of Claim 2 Filed by

         HC2, Inc. (Doc. 52) (the “Objection”). In the Objection, Delaney requests that this Court enter an

         order “disallowing and expunging Proof of Claim Number 2....”

                  6.       On June 4, 2021, HC2 initiated an adversary proceeding under Adv. Pro. No. 21-

         1047-JMM by filing a complaint against Delaney (the “Adversary Proceeding”).

                  7.       On June 16, 2021, HC2 filed its cross-motion for leave to amend Claim 2 (Doc. 61),

         which on June 17, 2021 upon the Court Clerk’s instruction, it re-filed (Doc. 63) (the “Cross-

         Motion”).

                  8.       On June 24, 2021, this Court conducted a hearing on the Objection. At that time, this

         Court ruled that Delaney and HC2 may take discovery regarding the Objection and set a discovery

         end date of September 24, 2021.

                  9.       After the June 24, 2021 hearing, Delaney propounded written discovery requests on

         HC2 and requested the depositions of certain HC2 personnel.
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                  10.      On July 15, 2021, in response to a request made by HC2 pursuant to E.D.N.Y. LBR

         7007-1, this Court conducted a conference regarding certain discovery-related matters.

                  11.      After the July 15, 2021 conference, HC2 determined that it no longer wishes to

         prosecute Claim 2 or the Cross-Motion, or defend against the Objection, or otherwise seek allowance

         of a pre-petition claim against Delaney or the bankruptcy estate.

                  12.      On July 19, 2021, HC2 notified this Court of its withdrawal of the Cross-Motion and

         of its intention to file this Motion to Withdraw.

                  13.      The Chapter 7 Trustee has not indicated that he intends to pursue or assert any claim

         against HC2.

                  14.      HC2 seeks to withdraw Claim 2 because the likely cost to defend against the

         Objection, including legal fees and expenses and expected interruptions to HC2’s business, far

         exceeds the value of any potential benefit to it.

                                                      RELIEF REQUESTED

                  15.      HC2 seeks entry of an order for the withdrawal of Claim 2 in the form submitted

         herewith.

                                          GROUNDS FOR RELIEF REQUESTED

                  16.       Fed. R. Bankr. P. 3006 provides, in part:

                                     ... If after a creditor has filed a proof of claim an
                                     objection is filed thereto or a complaint is filed
                                     against that creditor in an adversary proceeding, ... or
                                     otherwise has participated significantly in the case, the
                                     creditor may not withdraw the claim except on order
                                     of the court after a hearing on notice to the trustee....
                                     The order of the court shall contain such terms and
                                     conditions as the court deems proper. ...

                  17.       In In re Kaiser Group Intern., Inc., 272 B.R. 852, 855 (Bankr. D. Del. 2002), the court


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         considered creditors’ requests for withdrawal of their proofs of claims. In evaluating the requests,

         the Court explained:

                                     In those instances where withdrawal [of a claim] is
                                     not a matter of right, the Code is silent as to the
                                     considerations to be taken by the court in deciding
                                     whether to grant leave. Before the enactment of
                                     Federal Bankruptcy Rule 3006 the courts looked to
                                     Federal Rule of Civil Procedure 41 as governing.
                                     Advisory Committee Note to Bankruptcy Rule 3006.
                                     Rule 3006 “recognizes the applicability of the
                                     considerations underlying Rule 41(a) F R Civ P to the
                                     withdrawal of a claim after it has been put in issue by
                                     an objection.” Advisory Committee Note to
                                     Bankruptcy Rule 3006. Courts have taken this
                                     statement to mean that the same considerations used
                                     by courts analyzing voluntary dismissal under Federal
                                     Rule 41 should be used in determining the question of
                                     withdrawal under Bankruptcy Rule 3006. [citations
                                     omitted.]

                                     The standard used by the courts in determining
                                     whether to allow voluntary dismissal of an action
                                     under Federal Rule 41 is whether the defendant will
                                     suffer some actual legal prejudice as a result of the
                                     dismissal. [citations omitted.] Case law has not
                                     developed a precise definition of “legal prejudice.”
                                     [citation omitted.] Cases focus on the “the rights and
                                     defenses available to the defendant in future
                                     litigation.” [citation omitted.]

         In re Kaiser Group Intern., Inc., 272 B.R. at 855; see In re Varona, 388 B.R. 705, 726 (Bankr.

         E.D.Va. 2008) (“As with a Rule 41(a)(2) motion, a motion to withdraw a proof of claim is left to the

         court’s discretion, which is ‘to be exercised with due regard to the legitimate interests of both

         [parties].’ In general, withdrawal should be granted unless the party opposing the motion can

         demonstrate that it would be legally prejudiced by the withdrawal.”).

                  18.      In arguendo, even if a claimant may gain a tactical advantage by the withdrawal of

         its claim, that, alone, is insufficient grounds for denial of a motion for withdrawal unless “substantial
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          prejudice” would result. In re 20/20 Sport, Inc., 200 B.R. 972, 980 (Bankr. S.D.N.Y. 1996).

                   19.      In Zagano v. Fordham University, 900 F.2d 12, 14 (2d Cir. 1990), the Second Circuit

          Court of Appeals explained that factors relevant to a motion under Federal Rule 41(a)(2) include:

                                      ... the plaintiff’s diligence in bringing the motion; any
                                      “undue vexatiousness” on plaintiff's part; the extent to
                                      which the suit has progressed, including the
                                      defendant’s effort and expense in preparation for trial;
                                      the duplicative expense of relitigation; and the
                                      adequacy of plaintiff's explanation for the need to
                                      dismiss.

                   20.      In Zagano, the Second Circuit upheld the District Court’s denial of the plaintiff’s Rule

          41(a)(2) motion because the plaintiff filed the motion more than four (4) years into the lawsuit, the

          parties had conducted extensive discovery, the action was contested vigorously, and the trial was less

          than ten (10) days away when the plaintiff sought dismissal. Zagano, 900 F.2d at 14.

                   21.      Less than a month ago at the first hearing on the Objection, this Court permitted the

          parties to pursue discovery concerning the Objection. The parties have not engaged in any motion

          practice on the Objection aside from the filing of the Objection, itself, and the Cross-Motion. This

          Court has not scheduled a trial or evidentiary hearing of this matter. At most, Delaney has served

          an initial set of written discovery requests, responses to which have not yet come due (as of the filing

          of this Motion to Withdraw), and he served notices for depositions scheduled for July 20, 2021.1

          Based on the foregoing, HC2 filed this Motion to Withdraw diligently and before the parties invested

          substantial additional resources in the pending claim litigation.

                   22.      The reasons for HC2’s decision to withdraw Claim 2 primarily involve the cost and



             1
               In an effort to mitigate any potential expenses that Delaney may incur in this litigation, on July
      19, 2021, HC2’s counsel notified Delaney’s counsel that HC2’s personnel do not intend to appear at their
      July 20, 2021 depositions.
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          burden of the continued litigation of the Objection and the associated interruption to HC2’s business

          as weighed against the limited benefit, if any, of a successful outcome. HC2 does not intend to use

          the withdrawal of Claim 2 for any improper or tactical purpose, such as, for example, the pursuit of

          Claim 2 in another forum, and HC2 does not seek to escape this Court’s jurisdiction over it. As a

          result, HC2’s request for the withdrawal of Claim 2 does not involve any “vexatiousness” on HC2’s

          part.

                   23.      The Motion to Withdraw does not threaten to prejudice any legal right or interest of

          Delaney or the bankruptcy estate. Instead, the withdrawal of Claim 2 would expedite the result that

          Delaney seeks through the Objection, and without the continued burden of litigation on this Court

          or the needless additional cost to the parties.2

                   24.      If Claim 2 is withdrawn and if the Chapter 7 Trustee makes a distribution to creditors,

          the subsequent reduction in the pool of claims will increase each creditor’s distribution for the

          benefit of the bankruptcy estate.

                   25.      Conversely, if Claim 2 is not withdrawn, the ongoing litigation of the Objection will

          delay the administration of the bankruptcy estate and, because the Chapter 7 Trustee will need to

          monitor its progress, the Trustee likely will incur needless additional administrative expenses, to the

          detriment of the bankruptcy estate.

                   WHEREFORE, HC2 respectfully requests that this Court enter an order for the withdrawal

          of Claim 2 in the form submitted herewith, without prejudice to the jurisdiction of this Court over

          HC2 and over the Adversary Proceeding, and for such other and further relief as this Court may

          deem just and proper.


             2
              In several filings made with this Court, Delaney has argued that HC2 is not a creditor. If this
      Court grants the Motion to Withdraw, Delaney no longer will need to argue that HC2 is not a creditor.
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                                                                       SPECTOR & EHRENWORTH, P.C.
                                                                       Attorneys for Movant, HC2, Inc.

                                                                       By: /s/ Douglas A. Goldstein
                                                                              Douglas A. Goldstein
         Dated: July 19, 2021
                Florham Park, New Jersey




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         UNITED STATES BANKRUPTCY COURT
         EASTERN DISTRICT OF NEW YORK
         --------------------------------------------------------x
         In re:                                                      Case No.:      1-20-44372-jmm

                  ANDREW JOHN DELANEY,                               Chapter:                  7

                                     Debtor.
         --------------------------------------------------------x

                 ORDER WITHDRAWING CLAIM 2 OF HC2, INC. D/B/A HIRE COUNSEL

                 Upon the motion dated July 19, 2021 (the “Motion”) of HC2, Inc. d/b/a Hire Counsel
         (“HC2”), a party in interest of the bankruptcy estate of Andrew John Delaney (the “Debtor”),
         seeking the entry of an Order withdrawing Claim 2 of HC2 and for such other, further and different
         relief as this Court may deem just and proper; and upon the Certificate of Service of the Motion;
         the Motion is granted as follows and it is hereby
                 ORDERED that:
                          1. Claim 2 of HC2 is hereby withdrawn.
                          2. Discovery concerning Claim 2 and concerning the objection filed by the Debtor
                               against Claim 2 in this case is hereby terminated.
                          3. The hearing scheduled for September 28, 2021 at 11:00 a.m. concerning the
                               objection filed by the Debtor against Claim 2 in this case is hereby cancelled.
                          4. The entry of this Order does not limit or affect the jurisdiction of this Court over
                               HC2 or over any adversary proceeding currently pending before this Court that
                               involves HC2.
                 IT IS SO ORDERED.
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    UNITED STATES BANKRUPTCY COURT
    EASTERN DISTRICT OF NEW YORK

    BRIAN D. SPECTOR, ESQ.
    DOUGLAS A. GOLDSTEIN, ESQ.
    SPECTOR & EHRENWORTH, P.C.
    30 Columbia Turnpike, Suite 202
    Florham Park, New Jersey 07932-2261
    Tel.: (973) 845-6526
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    e-mail: dgoldstein@selawfirm.com
    Attorneys for Creditor, HC2, Inc. d/b/a Hire Counsel
    In re:                                                                        Case No.:       1-20-44372-jmm

           ANDREW JOHN DELANEY,                                                   Chapter:             7

                                           Debtor.



                                                       CERTIFICATE OF SERVICE

             DOUGLAS A. GOLDSTEIN, of full age, hereby certifies as follows:

             1.       I am an attorney-at-law of the State of New York and am a shareholder of the law firm of Spector

   & Ehrenworth, P.C., 30 Columbia Turnpike, Suite 202, Florham Park, New Jersey 07932.

             2.       On this day I caused the following papers to be served as follows:

   DOCUMENTS:                                                    Notice of Motion of HC2, Inc. d/b/a Hire Counsel to Withdraw Claim
                                                                 2 of HC2, Inc. d/b/a Hire Counsel;

                                                                 Motion of HC2, Inc. d/b/a Hire Counsel to Withdraw Claim 2 of
                                                                 HC2, Inc. d/b/a Hire Counsel; and

                                                                 Proposed form of Order.

   COPIES SERVED UPON:                                           Christopher T. Beres, Esq., Attorney for Debtor
   (Method of Service)                                           1600 Sarno Road, Ste. 1
                                                                 Melbourne, Florida 32940
                                                                 (CMECF and First-Class Mail)




                                                                        Page 1 of 2
   K:\H143.0001\PLDG\Withdraw Claim 2.Cert. of Service.001.wpd
FILED: NEWCase
           YORK1-20-44372-jmm Doc 76-3 Filed 07/19/21 Entered 07/19/21 14:31:44
                   COUNTY CLERK 06/04/2024 02:24 PM                    INDEX NO. 155158/2024
              Case
NYSCEF DOC. NO. 6 1:24-cv-05211-LJL                         Document 1-1              Filed 07/10/24   Page 190 ofNYSCEF:
                                                                                                        RECEIVED   190    06/04/2024




                                                                 Cristina Lipan, Esq., Attorney for the Chapter 7 Trustee
                                                                 LaMonica Herbst & Maniscalco, LLP
                                                                 3305 Jerusalem Avenue
                                                                 Wantagh, New York 11793
                                                                 (CMECF and First-Class Mail)

                                                                 Gregory Messer, Esq., Chapter 7 Trustee
                                                                 (CMECF and First-Class Mail)

            I certify that the foregoing statements made by me are true. I am aware that if any of the foregoing

   statements made by me are wilfully false, I am subject to punishment.


                                                                                         /s/ Douglas A. Goldstein
                                                                                          Douglas A. Goldstein

   Dated: July 19, 2021
          Florham Park, New Jersey




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